            E-SERVED Baltimore County Circuit Court 6/17/2024 3:41 PM System SystemEnvelope:16870699
             Case 1:24-cv-03744-BAH Document 16-15 Filed 01/03/25 Page 1 of 151
                                                                             E-FILED; Baltimore County Circuit Court
                   CIRCUIT COURT FOR BALTIMOREooEWISil7\tJ2024 3:4+1PM;4~ifilt~lon: 6/17/2024 3:41 PM
                   MARYLAND                                                                     Envelope: 16870699
                   401 Bosley Avenue, P.O. Box 6754, Towson, MD, 21285-6754




               To:    ROBERT SCOTT BRENNEN
                      MILES & STOCKBRIDGE, P.C.
                      100 LIGHT STREET
                      BALTIMORE, MD 21202-1487

                                                                       Case Number:                      C-03-CV-24-002264
                                                          Other Reference Number(s):

   OHANA GROWTH PARTNERS, LLC VS. RYAN DILLON-CAPPS
                                                                                                              Date: 6/ 17/2024

                                              NOTICE OF HEARING/TRIAL
   Please be advised that the following events have been scheduled in this case:

                  Date                 Time                      Type of Proceeding
                  June 26, 2024        09:00AM                   Hearing - Injunction

   Remarks :   2 HOURS PRELIMTNARY INJUNCTION

   Any postponement request must be filed in accordance with MD Rule 2-508 and addressed to the court address above.

   Attorneys/parties shall notify this court immediately when a case settles before a scheduled event.




   CC-008 (Rev. 08/2012)                                 Page 1 of 1                                     6/17/2024 3 :36 PM


M&S Attachments                                            Page# 1 of 1                                      Exhibit 165-0618
  Case 1:24-cv-03744-BAH                       Document 16-15     Filed 01/03/25   Page 2 of 151




 OHAN A GROWTH PARTNERS, LLC                             IN THE

                               Plah1tif.f,               CIRCUIT COURT

 vs.                                                     FOR

 RY AN DILLON-CAPPS                                      BALTIMORE COUNTY

                               Defe11da111.              FILE NO.: C-03-CV-24-002264


       PETITION TO SHOW CAUSE AND FOR CONSTRUCTIVE CIVIL CONTEMPT

         Plaintiff, Ohana Growth Partners, LLC. ("Plaintiff' or the "Ohana"), by its undersigned

attorneys , and pursuant to Maryland Rule 15-206, hereby moves this Honorable Cow1 to require

Ryan Dillon-Capps ("Dillon-Capps" or "Defendant") (they/them) to appear before this Court and

show cause why they should not be held in constructive civil contempt for knowingly violating

this Court's Temporary Restraining Order entered June 17, 2024. In support of its Petition , Ohana

states as follows :

          I.       At 12 : 18 p.m . on June 14, 2024, Ohana filed a Complaint alleging that Defendant

breached their duties as Ohana 's employee, specifically refusing to provide Global Administrator

rights to Ohana's software systems and Internet domain name registrations to Ohana's officers and

designees. Instead, Defendant eliminated all Global Administrator rights other than those they

possessed.

         2.        Contemporaneousl y with the filing of the Complaint, Ohana filed a Motion for a

Temporary            Restraining             Order   ("TRO")    requmng      Defendant     to     (I)

provide Global Administrative Rights for Ohana 's Microsoft 365 Account to Phil Leadore of

Hartman Executive Advisors and cease and desist the use of any of access to or use of Ohana's

Microsoft 365 Account and related applications, including Ohana 's email systems; and (2) Provide

Administrative Rights for Ohana ' s GoDaddy Account to Phil Leadore of Hartman Executive



1l9447\000004\4867-4205-10 17.v2
  Case 1:24-cv-03744-BAH                   Document 16-15         Filed 01/03/25       Page 3 of 151




Advisors and cease and desist of the use of any of access to or use of Ohana' s GoDaddy Account

and related Internet domain name registrations .

           3.         At 11 :49 a.m. on June 14, 2024 Ohana ' s counsel transmitted copies of the

subsequently filed Complaint, Motion for TRO and other papers to Defendant. The email advised

of Ohana' s intention to seek Court action on the Motion for TRO as soon as possible.

           4.         On June 17, 2024 at 10:50 a.m. , the Court (De Simone, J.) granted the Motion for

a TRO. A hearing on a Preliminary Injunction was set for June 26, 2024 at 9:00 a.m.

           5.         At 11 :06 a.m. the TRO was docketed.

           6.          At 11 :24 a.m. , Defendant was personally served with hard copies of the Complaint,

Summons, and Motion for TRO.

           7.         At 11 :51 a.m. , Ohana ' s counsel emailed Defendant with a copy of the TRO si gned

by the Court and docketed.

           8.         At 2:45 p.m., Ohana posted the $1 bond required to effectuate the TRO.

           9.         At 6:41 p.m. , Defendant emailed Phil Leadore asking him to confirm that he was

still interested in receiving administrative access, even though the TRO expressly directed th em to

provide Leadore access .

           I 0.       At 9:59 p.m. , Defendant emailed Ohana ' s counsel requesting guidance for how th ey

should comply with the TRO.

           11.        On June 18, 2024, at 8:39 a.m ., Ohana ' s counsel forwarded the Court ' s Order

setting the June 26, 2024 hearing for Preliminary Injunction and providing detailed directions on

what Defendant must do to comply with the TRO, and further advising Defendant that their failure

to comply by 12 P.M . will result in Ohana pursuing a finding of contempt.




                                                        2
I I 944 7\000004\4867-420 5- IO 17.v2
  Case 1:24-cv-03744-BAH                    Document 16-15        Filed 01/03/25    Page 4 of 151




          12.        At I: 12 p.m. Plaintiffs counsel emailed Defendant that, in light of their non-

compliance, Ohana is proceeding with efforts to hold Defendant in contempt.

          13.        At l :26 p.m., Defendant emailed Ohana 's counsel asserting that the TRO asks them

take "illegal action."

          14.        Specifically, they allege that the TRO contemplates a violation of the "PCI Data

Security Standard" ("PCI DSS"). PCI DSS was developed to encourage and enhance payment

account data security and facilitate the broad adoption of consistent data security measures

globally. PCI DSS provides a baseline of technical and operational requirements designed to

protect account data.                However, PCI   is   not a federal , state, or local   law .   See

https ://www.pcisecuritystandards.org/about us/. The PCI DSS is maintained by the Payment card

Industry Security Standards Council, an independent entity established by the major card brands

in 2006. The U.S. government is not involved, is not responsible, nor maintains enforcement

mechanism associated with PCI. Rather, this is payment card industry self-regulation that is

enforced via contracted services between merchants and acquiring banks and processors. Failure

to meet PCI obligations imposes contract-based penalties that can include fines , penalties, and

suspension or termination of payment card processing services. Thus, the PCT DSS provides no

legal basis for Defendant's refusal to comply with the TRO .

          15.       Notably, Defendant does not dispute that:

                a. On May 20, 2024, without authorization from Norris or other senior executives ,

                    Defendant severed and discontinued all administrative access to the Ohana MS 365

                     Account that had been held by other Ohana employees, as well as the Global Admin

                     rights provided to Ryan Brooks, Ohana ' s contractor;




                                                         3
I 19447\000004\4867-4205-I 017 .v2
  Case 1:24-cv-03744-BAH                  Document 16-15           Filed 01/03/25    Page 5 of 151




                b. Ohana management immediately and strongly objected to Defendant ' s unilateral

                     action, and starting the next day, May 21 , 2024 , and in at least six subsequent

                     separate written directives from May 21 to May 29, 2024, management ordered

                     Defendant to instate Ohana officers and Brooks with administrative rights for

                     Ohana's account. These directives were being sent to Defendant weeks before their

                     most recent request on June 13 , 2024 for leave under the Family and Medical Leave

                     Act ("FMLA"). Defendant has utilized FMLA leave, which is their right,

                     periodically since January 2024 ;

                c.   For weeks, they have been directed in writing to provide full administrative rights

                     to Justin Drummond, Ohana's President, to Victor Brick, Ohana ' s CEO, and to

                     Norris, the CFO, in addition to Mr. Brooks;

                d. They have been directed in writing to provide full administrative rights to Phi I

                     Leadore, which Ohana engaged to assist with IT matters ; and

                e. They took action to lock Richard Hartman, Ohana 's Vice President of Human

                     Resources, out of his Ohana company email account and his Microsoft Teams

                     account, right after Defendant received the notice from Mr. Hartman that they were

                     suspended from employment.

          16.        Defendant's use of FMLA is not a legal basis for their failure to comply with the

Company's previous directives or this Court' s Order. In fact, Defendant fails to identify any legal

basis for their refusal to comply with the TRO .

          17.        Moreover, Defendant's conduct is a violation of criminal law. Ohana is prepared to

seek prosecution under MD. COD E ANN., CRJM. LAW., §7-302(C) should Defendant continue to act in

direct dereliction of the TRO and their duties as an employee of Ohana.



                                                         4
119447\000004\4867-4205-l 0 I 7.v2
  Case 1:24-cv-03744-BAH                    Document 16-15              Filed 01/03/25           Page 6 of 151




          18.      Pursuant to Rule 15-206(c)(l), Ohana, through its counsel, expressly states that it

does not request incarceration of Defendant at this time.

         WHEREFORE, for the foregoing reasons, Ohana requests entry of an Order:

         A.        Directing Defendant to personally appear in open court to show cause as to why

they should not be held in contempt of this Court's June 17, 2024 TRO.

         B.        Requiring that, pursuant to Rule l 5-206(d), a copy of this Petition for Civil

Contempt and the Court's Order regarding the same be served on Defendant via email and first-

class mail, postage prepaid to their addresses of record in this matter;

         C.        Directing that, pursuant to Rule I 5-206(c)(2)(A), the alleged contemnor, Ryan

Dillon-Capps, file an answer to this Petition for Constrnctive Civil Contempt within ten ( I 0) days 1

of the service of the Court's Order;

         D.        Requiring Defendant to immediately comply with the TRO ;

         E.        Awarding Ohana its reasonable attorneys ' fees and costs incurred in preparing and

prosecuting this Petition in an amount to be determined after the Court's rnling on entitlement to

costs and attorney's fees ; and

         F.        Any such other relief as justice and the nature of its cause may require.



June 20 , 2024                                                  Respectfully submitted,


                                                                Isl Robert S. Brennen
                                                                Robe11 S . Brennen (AIS # 8712010068)
                                                                e-mail: RBrennen (a}rnilestockbridge.com
                                                                Stephen D. Frenkil (AIS # 7712010110)
                                                                e-mail: Sfrenkil~!milesstockbridge.com
                                                                Victoria K. Hoffberger (AIS # 1912170195)
                                                                e-mail: VHoftberger(a1mi lesstockbridge .com
                                                                MILES & STOCKBRIDGE P.C.

1
  There is a Preliminary Injw1etion hearing scheduled for June 26 , 2024. While less than ten ( I 0) days from the date
of this filing , in order to promote judicial efficiency, Ohana requests that Dillon-Capps show cause as lo why they
should not be held in contempt at this hearing.

                                                           5
1194471000004\4867-4205-101 7.v2
  Case 1:24-cv-03744-BAH                  Document 16-15         Filed 01/03/25         Page 7 of 151




                                                           I 00 Light Street
                                                           Baltimore, Maryland 2 1202
                                                           Telephone:        (4 10) 727-6464
                                                           Facsimile:        (4 10) 385-3700

                                                           Counsel.for Plaintiff' Ohana Growth Partners,
                                                           LLC



                                       CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that on June 20, 2024, a copy of the Petition to Show Cause and for

Constructive Civil Contempt was sent via email to ryan@mxt3 .com and served on via first-

class mail, postage prepaid on:

                               Ryan Dillon-Capps
                               1334 Maple Avenue
                               Essex, Maryland 21221
                                                           Isl Robert S. Brennen
                                                           Robert S. Brennen (A IS # 87 120 I 0068)




                                                       6
I 19447\000004\4867-4205-I OI 7.v2
  Case 1:24-cv-03744-BAH                         Document 16-15        Filed 01/03/25     Page 8 of 151




 OHANA GROWTH PARTNERS, LLC                                   IN THE

                                  Plaintiff,                  CIRCUIT COURT

 vs.                                                          FOR

 RY AN DILLON-CAPPS                                           BAL TI MORE CO UN TY

                                   Def endant.                FILE NO.: C-03-CV-24-002264


                                       ORDER TO APPEAR AND SHOW CAUSE

          Upon consideration of Ohana 's Petition for Show Cause Order and Constructi ve C ivil

Contempt, and for good cause shown, it is this _ _ day of _ _ _ _ _ , 2024, hereby:

          ORDERED that the Petition be, and hereby is, GRAN TED; and it is furth er

          ORDERED that Ohana shall appear before the Circuit Court fo r Baltimore County,

Maryland on the _ _ day of June, 2024, at _                   a.m ./p.m. for a hearing at whi ch Ryan Dill on-

Capps shall show cause why they should not be held in contempt of thi s Co urt 's Jun e 17, 2024

Temporary Restraining Order.




                                                       Judge, Circuit Court for Baltimore Co unty




                                                          7
I I 9447\000004\4867-4205- IO I 7.v2
               Case 1:24-cv-03744-BAH                      Document   16-15 Filed 01/03/25
                                                                Odyssey File & Serve - Envelope Receipt
                                                                                                                   Page 9 of 151
6/20/24, 12:32 PM




 Case # C-03-CV-24-002264 - Ohana Growth Partners, LLC vs. Ryan I
 Envelope Information
                                         ------------------
 Envelope Id                                       Submitted Date                                     Submitted User Name
 16909122                                          6/20/2024 12:24 PM EST                             rbrennen@milesstockbridge .com


 Case Information
 Location                                          Category                                           Case Type
 Baltimore County Circuit Court                    Civil                                              Injunction

 Case Initiation Date                              Case#
 6/14/2024                                         C-03-CV-24-002264


 Filings
 Filing Type                                       Filing Code
 EFileAndServe                                     Petition for ContempUEnforcement

 Filing Description
 Petition to Show Cause and For
 Constructive Civil Contempt

 Client Reference Number
 119447-4

 Courtesy Copies
 kjedwards@milesstockbridge.com

 Filing Status
 Submitted



 Lead Document

    File Name                                       Description                          Security                          Download
    Petition to Show Cause and for                  Petition for                                                           Original File
    Contempt.pdf                                    ContempUEnforcement



 eService Details

  Status            Name                                   Firm                                     Served          Date Opened

                           S. Brennen                      Miles & Stockbridge P.C.                 Yes             Not Opened
     D Support
           ____ ..:n D. Frenkil                            Miles & Stockbridge P.C.                 Yes             6/20/2024 12:27 PM EST



https://maryland. tylertech.cloud/OfsWeb/FileAndServeModule/EnvelopeNiewPrintableEnvelope? Id= 16909122                                    1/3
              Case 1:24-cv-03744-BAH
6/20/24, 12 32 PM
                                                           Document  16-15 Filed 01/03/25
                                                                Od yssey File & Serve - Envelope Receipt
                                                                                                                   Page 10 of 151



  Status            Name                                     Firm                                         Served    Date Opened

  Sent              Victoria Klein                           Miles & Stockbridge P.C.                     Yes       Not Opened

  Sent              Kim Edwards                              Miles & Stockbridge P.C.                     Yes       Not Opened




 Filing Type                                          Filing Code
 EFileAndServe                                        Proposed Order / Decree

 Fjling Description
 Proposed Order

 Client Reference Number
 119447-4

 Courtesy Copies
 kjedwards@milesstockbridge.com

 Filing Status
 Submitted



 Lead Document

    File Name                                           Description                           Security                     Download
    Proposed Order.pdf                                  Proposed Order / Decree                                            Original File


 eService Details

  Status            Name                                     Firm                                         Served    Date Opened

  Sent              Steven D. Frenkil                        Miles & Stockbridge P.C .                    Yes       6/20/2024 12:27 PM EST

  Sent              Victoria Klein                           Miles & Stockbridge P.C.                     Yes       Not Opened

  Sent              Robert S. Brennen                        Miles & Stockbridge P.C.                     Yes       Not Opened

  Sent              Kim Edwards                              Miles & Stockbridge P.C.                     Yes       Not Opened




 Parties with No eService
 Name                                                 Address
 Ryan Dillon-Capps                                     1334 Maple Avenue Essex Maryland
                                                      21221


 Fees



https ://maryland. tylertech .cloud/OfsWeb/FileAndServe Modu le/EnvelopeN iewPrintableEnvelope? Id = 16909122                                2/3
              Case 1:24-cv-03744-BAH
6/20/24. 12 32 PM
                                                           Document 16-15 Filed 01/03/25
                                                                Odyssey File & Serve - Envelope Receipt
                                                                                                                    Page 11 of 151


 Petition for Contempt/Enforcement
 Description                                                                                            Amount
 Filing Fee                                                                                               $31 .00

                                                                                        Filing Total: $31 .00


 Proposed Order I Decree
 Description                                                                                            Amount
 Filing Fee                                                                                                $0 .00

                                                                                         Filing Total: $0.00




 Total Filing Fee                                                                                         $31 .00
 Payment Service Fee                                                                                       $108

                                                                                   Envelope Total : $32 .08
          Transaction Amount                 $32 08
          Transaction Id                     23341839

          Filing Attorney                    Robert Brennen                     Order Id                            016909122-0
          Transaction Response               Authorized


 © 2024 Tyle r Technologies
 Version : 2022 .0.3.9946




https://maryland .tylertech.cloud/OfsWeb/Fil eAndServeModule/EnvelopeNiewPri nta bl eE nvelope? Id= 16909122                         3/3
            Case 1:24-cv-03744-BAH             Document 16-15           Filed 01/03/25       Page 12 of 151




                                                                                                          I      J
             Re: Case No. C-03-CV-244-002264                                                               .,-
                                                                                                                     ...........
             Baltimore County Circuit Court
             TRO and Preliminary Injunction
             Ohana Growth Partners                                                                         (.,)

                                                                                                                     ',, I


                                                                                                                        . .. -1



             Dear Judge,
                       ~ Tt"U~..[~(
             I am ~:riting to bring to your attention urgent matters concerning my current legal situation and
             request immediate judicial intervention regarding a Temporary Restraining Order (TRO) and
             Preliminary Injunction that conflicts with legal and compliance obligations.

            I have been dealing with significant issues related to my employment with Ohana Growth
            Partners, which have been exacerbated by recent events. I had secured three strong referrals for
            legal assistance, but they conflicted. I was starting the process to work with the fourth referral,
            but I found out at midnight that they couldn't help me due to a family bereavement and a pre-
            scheduled conference. Consequently, they refm1ded my retainer, leaving me without legal
            representation at a critical time.

                                                                                                  lDj~&ll
                                                                                          fn a posiuon     re I
                                                                                              in CQDJcmpt of
                                             1 dl"rtle me a       must comply by noon today, June 18, 2024.
              read this demand at about a quarter to 11 , which eventually led me to write this letter and rush
            to the courthouse.

            On June 13 , 2024, at 7:12 AM, I notified the CFO, Head of HR, and President ofOhana Growth
            Partners that I was commencing my FMLA leave due to PTSD. My FMLA status was last
            confirmed and validated by the HR Generalist on May 23, 2024. Despite this, at 9:01 AM on the
            same day, I .received a demand letter requiring me to return to work and l had 6 hours to do it---
            or else. [n response, I issued a cease and desist letter, which is included in petitioner Exhibit B,
            clarifying that the cease and desist pertained to my right to FMLA leave.

            The basis for my suspension, as claimed by my employer. consists of two parts:

                  1. They misconstrued my cease and desist letter as a refusal to comply with work demands,
                     despite its clear reference to FMLA leave.
                  2. They demanded that I grant Global Administrator access, which would be a violation of
                     PCI compliance. The company failed to inform the court of this crucial compliance issue
                     and the proactive measures I had taken to grant access to the President under PCI
                     compliance guidelines.

            I have over 25 years of experience in IT and am responsible for ensuring PCI compliance within
            the organization. Granting Global Administrator access without ensuring compliance would be a
            serious violation of these standards. Despite providing several alternatives and options to my




M&S Attachments                                         Page # I of3                                      Exhibit 165-0624
             Case 1:24-cv-03744-BAH              Document 16-15                 Filed 01/03/25   Page 13 of 151




              employer, they have persisted in demandfug actions that would compromise d mpliance and
              security.

              Furthermore, the company has engaged in retaliatory actions, including placJ g my I~
              Coordinator on administrative leave shortly aft~r receiving the cease and des· '. i letter. This
              retaliation appears to be in direct response to my assertion ofFMLA rights. :
                                                                                                 i
                                                                                                 '
             ..iQ_ue to these pressing issues and the sudden unavailability of my legal counse I am seelcing
                immediate judicial relief to address the following.                           ·!
                                                                                                 I
                  1. Clarification and potential modification of the TRO and Preliminary . ·unction to ensure
                     compliance with PCI standards without subjecting me to contempt of '. ourt
                  2. Protection against retaliation for exercising,,my FMLA rights.       !
                  3. Adequate time to secure new legal representation to address these urg nt matters.
                                                                                                 l
              All supporting documentation and communications are available to substanti~ my claims. I
              printed out as many as I could before rushing over here today.             i
              Thank you for your prompt attention to this matter.



                                                                    .....
                             l


              Ryan Wagner
                             .
              With gratitude and
                                                                       .,   :
              ryan@mxt3.com
              1334 Maple Ave
              Essex MD
              21221




    • DENIED
    The court has reviewed the Defendant's correspondence and will view it as a
    request, pursuant to Md. Rule 15-504(f) to dissolve or modify the 6.17.2014 TRO .
    The correspondence does not provide sufficient specificity to permit the court to
    modify the TRO at this time. The court will consider the Defendant's requests at
    the hearing scheduled for 6.26.2024.


     l    \.._ ~~A._ 06/21/2024 11 :40: 18 AM
         J u d ~ R.-Tru~r ~




M&S Attachments                                          Page# 2 of3                                         Exhibit 165-0624
             Case 1:24-cv-03744-BAH                           Document 16-15       Filed 01/03/25      Page 14 of 151
                                                                                               E-FILED; Baltimore County Circuit Court
                                                                            Docket: 6/20/202412:24 PM; Submission: 6/20/202412:24 PM
                                                                                                                  Envelope: 16909122


                  OHAN A GROWTH PARTNERS, LLC                               IN THE

                                                 Plaintiff,                 CIRCUIT COURT

                  vs.                                                       FOR

                  RYAN DILLON-CAPPS                                         BALTIMORE COUNTY

                                                 Defendant.                 FILE NO.: C-03-CV-24-002264


                                                  ORDER TO APPEAR AND SHOW CAUSE

                        Upon consideration of Ohana's Petition for Show Cause Order and Constructive Civil

             Contempt, and for good cause shown, it is this                 21st of June, 2024

                        ORDERED that the Petition be, and hereby is, GRANTED; and it is further

                        ORDERED that Ohana shall appear before the Circuit Court for Baltimore County,

             Maryland on the -
                             26th
                               - day of June, 2024, at -9 - a.m.1                     for a hearing at which Ryan Dillon-

             Capps shall show cause why they should not be held in contempt of this Court's June 17 1 2024

             Temporary Restraining Order.




                                                                       Judge Keith R. ~~,




                                                                        7
             I I 9447\000004\4867-4205-1017,v2




M&S Attachments                                                    Page# 3 of3                                    Exhibit 165-0624
            Case 1:24-cv-03744-BAH            Document 16-15       Filed 01/03/25       Page 15 of 151




           OHANA GROWTH PARTNERS, LLC                      IN THE

                                 Plaintiff,                CIRCUIT COURT

           vs.                                             FOR

           RYAN DILLON-CAPPS                               BALTIMORE COUNTY

                                 Defendant.                FILE NO.: C-03-CV-24-002264


                       LlNE REGARDING AFFIDAVIT OF RANDALL J. ROMES
             FILED IN SUPPORT OF PLAINTIFF'S PENDING MOTION FOR PRELIMINARY
                INJUNCTION AND PETITION FOR CONSTRUCTIVE CIVIL CONTEMPT

                  Plaintiff, Ohana Growth Partners, LLC, through its attorneys, hereby submits the attached

          Affidavit of Randall J. Romes in further support of Plaintiff's Motion for Preliminary Injunction

          and Plaintiff's Petition to Show Cause and for Constructive Civil Contempt.

          June 25, 2024                                       Respectfully submitted,

                                                              Isl Robert S. Brennen
                                                              Robert S. Brennen (AIS # 8712010068)
                                                              e-mail: RBrennen@milestockbridge.com
                                                              Stephen D. Frenkil (AIS # 7712010110)
                                                              e-mail: SFrenkil@milesstockbridge .com
                                                              Victoria K. Hoffberger (AIS # 1912170195)
                                                              e-mail: VHoffberger@milesstockbridge.com
                                                              MILES & STOCKBRIDGE P.C.
                                                               I 00 Light Street
                                                              Baltimore, Maryland 21202
                                                              Telephone:       (4 10) 727-6464
                                                              Facsimile:       (410) 385-3 700

                                                              Counsel for Plaintiff Ohan a Growth
                                                              Partners, LLC'




M&S Attachments                                     Page# 1 of24                                    Exhibit 165-0625
            Case 1:24-cv-03744-BAH            Document 16-15       Filed 01/03/25     Page 16 of 151




                                           CERTIFICATE OF SERVICE
                  I HEREBY CERTIFY that on June 25 , 2024, a copy of the foregoing Line and the

          attached Affidavit of Randall J. Romes was sent via email to rvan@mxt3.com and serv ed on via

          first-class mail, postage prepaid on:

                                 Ryan Dillon-Capps
                                 1334 Maple Avenue
                                 Essex, Mary land 21221
                                                              Isl Robert S. Brennen
                                                              Robert S. Brennen (AIS # 8712010068)




                                                          2


M&S Attachments                                     Page# 2 of24                                  Exhibit 165-0625
            Case 1:24-cv-03744-BAH                           Document 16-15      Filed 01/03/25   Page 17 of 151




          OHANA GROWTH PARTNERS, LLC                                   INTHE

                                               Plaintiff,              CIRCUIT COURT

          vs.                                                          FOR

          RY AN DILLON-CAPPS                                           BALTIMORE COUNTY

                                               Def endant.             FILE NO.: C-03-CV-24-002264

                                                     AFFIDAVIT OF RANDALL ROMES

                      I, RANDALL ROMES , being over the age of eighteen ( 18) and competent to testi fy, and

          having personal knowledge of the facts contained herein, state as follows :

                       1.          I am a Principal with Clifton Larson Allen LLP ("CLA"), a consulting firm with

           120 locations across the United States.                  CLA is a network member of CLA Global , an

          international organization of independent accounting and advisory finns .

                      2.           Since 1999 I have led the cybersecurity consulting practice at CLA performing

          and leading cybersecurity risk assessments and penetration testing, assisting clients in responding

          to intrusions and breaches, and advising clients on mitigating cybersecurity risks and improving

          IT operations. Attached as Exhibit A hereto is a copy of biographical information describing my

          education history, experience and certifications.

                      3.           One of my areas of training, experience and expertise is of the "PCI Data Security

          Standard" ("PCI DSS"). In 20 I 0, after completing the mandatory training and exam, I obtained

          certification as a PCI-QSA (Payment Card Industry - Qualified Security Assessor) . Every year

          since then I have completed mandatory training completed an exam to maintain that certification.

                      4.           The PCI DSS is maintained by the Payment card Industry Security Standards

          Council , an independent entity established by the major card brands in 2006. PCI DSS was

          developed by the credit card industry to encourage and enhance the security payment and



           11 9447\000004\48 59-9.'l98-88 1 I .v I




M&S Attachments                                                   Page# 3 of24                               Exhibit 165-0625
            Case 1:24-cv-03744-BAH                Document 16-15         Filed 01/03/25    Page 18 of 151




          account data generated in connection with credit card transactions and to facilitate the broad

          adoption of consistent data security measures globally. The standards are enforced via contracted

          services between merchants and acquiring banks and processors. Failure to meet PCI obli gations

          can result in credit card companies imposing contract-based penalties that can include fin es,

          penalties, and suspension or termination of payment card processing services.

                     5.         I have read the Motion for Temporary Restraining Order and Preliminary

          Injunction filed by Plaintiff Ohana Growth Partners, LLC ("Ohana") in the above-captioned

          matter, as well as the Memorandum of Law filed in support of that Motion and the exhibits

          thereto. Based upon those documents it is my understanding that Defendant Dillon-Capps has

          refused direct instructions from his supervisor and senior management of Ohana to grant Global

          Admin rights for Ohana' Microsoft 365 Account to Ryan Brooks and Phil Leadore, two IT

          consultants retained by Ohana. I further understand that the stated basis for Defendant Dillon-

          Capps refusal has been that (a) Messrs. Brooks and Leadore lack PCI DSS qualifications,

          including certification as a PCI-QSA; and (b) Defendant Dillon-Capps would violate the PSI

          DSS if Defendant Dillon-Capps granted such admin rights to either Mr. Brooks or Mr. Leadore.

                     6.         I have also reviewed the Court ' s Temporary Restraining Order entered on June

           17, 2024 (the "TRO"). The TRO ordered Defendant Dillon-Capps to:

                A. Provide Global Administrative Rights for Ghana ' s Microsoft 365 Account to Phil
                   Leadore of Hartman Executive Advisors and cease and desist the use of any of access to
                   or use of Ghana's Microsoft 365 Account and related applications, including Ghana 's
                   email systems.

                B. Provide Administrative Rights for Ghana's GoDaddy Account to Phil Leadore of
                   Hartman Executive Advisors and cease and desist the use of any of access to or use of
                   Ghana 's GoDaddy Account and related Internet domain name registrations.




                                                               2
           I I9447\000004\4859-9'98-88 I I.v I




M&S Attachments                                           Page# 4 of24                                 Exhibit 165-0625
            Case 1:24-cv-03744-BAH                  Document 16-15          Filed 01/03/25    Page 19 of 151




                     7.          I further understand that Defendant Dillon-Capps has refused to comply with the

          TRO. l have reviewed Defendant Ryan Dillon-Capps letter to the Court dated June 18, 2024. ln

          the letter Defendant Dillon-Capps states, among other things:

                            •    "[C]ompliance with the TRO and Preliminary Injunction would require me to
                                 violate PCI compliance standards, thereby putting me in a position in which I
                                 must choose between violating federal compliance requirements or being held in
                                 contempt of court."

                            •    "They [Ohana] demanded that I grant Global Administrator access, which would
                                 be a violation of PCI compliance."

                            •    "Granting Global Administrator access without ensuring compliance would be a
                                 serious violation of the standards."


                     8.          Defendant Dillon-Capps has not identified any specific PCI DSS requirement that

          would be violated in the event that either Mr. Brooks or Mr. Leadore were granted Global Admin

          access to Ohana's Microsoft 365 Account and there is no such requirement. Thus, Defendant

          Dillon-Capps could have provided Global Admin access to Ohana' s Microsoft 365 Account to

          either Mr. Brooks or Mr. Leadore without violating the PCI DSS .

                     9.          Defendant Dillon-Capps has not identified any specific PCI DSS requirement that

          would be violated in the event that either Mr, Brooks or Mr. Leadore was provided

          Administrative Rights for Ohana' s GoDaddy Account and there is no such requirement. Thus,

          Defendant Dillon-Capps could have provided Administrative Rights to Ghana 's GoDaddy

          Account to either Mr. Brooks or Mr. Leadore without violating the PCI DSS .

                      10.        Neither the U.S. government nor any state or local government is involved in, is

          responsible for , or maintains enforcement mechanism associated with PCI. DSS . The PCI DSS is

          not a federal, state, or local law or regulation.               Thus, there is no "federal compliance

          requirement" associated with the PCI DSS as asserted by Defendant Dillon-Capps.


                                                                 3
           I I9447\000004\4859-9198-88 I I. v I




M&S Attachments                                            Page# 5 of24                                  Exhibit 165-0625
            Case 1:24-cv-03744-BAH                Document 16-15         Filed 01/03/25    Page 20 of 151




                     l l.       "Global Ad.min" rights to an MS 365 Account allows "almost unlimited access to

          [an] organization's settings and most of its data." Because "[a] Global Admin may inadvertently

          lock their account and require a password reset, . .. [Microsoft] recommend[s] [Ohana] have at

          least either one more Global Admin ." See https://learn.microsoft.com/en-us/microsoft-

          365/admin/add-users/about-admin-roles?view=o365-worldwide Additionally, in order to reduce

          the risk of a denial of service it is important that more than one person have full administrative

          right in case one person holding them is unavailable, that person 's account is hacked or

          compromised by outside actors, or as in this case, refuses to cooperate with company directives

          regarding the IT system owned by the company.

                     12.        Without administrative rights to the Ohana Microsoft 365 account, Ohana is

          unable to manage any of its Microsoft 365 software applications and related data. So long as

          Dillon-Capps continues to hold exclusive Global Admin rights to the Ohana MS 365 Account,

          and by extension Ohana ' s employee email accounts and data, those accounts and data are

          vulnerable to disruption, corruption, or destruction by Dillon-Capps. So long as Dillon-Capps

          continues to hold exclusive administrative control over the Ohana GoDaddy Account, the

          direction of Ohana's registered domain names to Ohana' s company email and websites are at

          risk.

                     13 .       I have reviewed Defendant Dillon-Capps' email to attorney Robert Brennen on

          Monday, June 17, 2024 at 9:590 PM in which Defendant asks: "Can someone elaborate on how

          to comply with the order to give access to Mr. Leadore. Logistically speaking, with sincerity, can

          someone provide a breakdown of how this would occur?" I have also reviewed attorney

          Brennen's email to Defendant Dillon-Capps on Tuesday, June 18, 2024 at 8:39 AM in which

          attorney Brennen outlined the following steps:



                                                               4
           119447\000004\4859-9398-88 l l .v 1




M&S Attachments                                           Page# 6 of24                                 Exhibit 165-0625
            Case 1:24-cv-03744-BAH               Document 16-15           Filed 01/03/25        Page 21 of 151




                I.   Create an account in Ohana 's Microsoft 365 tenant, pleadore@ohanagp.com. Add the account
                     into the Global Administrators group and send the password to pleadore@hartmanadvisors.com
                     via a secure email. If you do not have access to send a secure email , you should send the
                     password to me via text at 443-956-6458.

               2. Provide pleadore@ohanagp.com with owner level rights to all Azure subscription plans.

               3. Provide the root level administrator account password in GoDaddy to
                   pleadore@hartmanadvisors.com via a secure email. If you do not have access co send a secure
                   email, you should send the password to me via text at 443-956-6458 . You should remo ve all
                   multi-factor authentication apps , phone numbers, and/or email addresses associated with the root
                   account.
               4 . Once accounts have been created in Ohana' s Microsoft 365 tenant and the root level password
                   provided for the GoDaddy account, refrain from accessing or making configuration changes to
                   their Microsoft 365 and GoDaddy accounts .


          It is my opinion to a reasonable degree of professional certainty that a knowledgeable and

          experienced system administrator that is in and out of those different systems regularly could

          accomplish all four of those steps within an hour, give or take a few minutes, and that a system

          administrator who is not routinely in these systems performing administrative level activities,

          and/or routinely changing the administrative user rights/changing multifactor settings regularly

          could accomplish all four of those steps within two hours, give or take a few minutes .

                     14.       For the reasons set forth above it is my opinion to a reasonable degree of

          professional certainty that there is no basis for Defendant Dillon-Capps assertions that the PCI

          DSS prevented him from complying with Ohana's directives to grant to Mr. Brooks and Mr.

          Leadore Global Admin rights to the Ohana' s Microsoft 365 Account.

                     15.       For the reasons set forth above it is my opinion to a reasonable degree of

          professional certainty that there is no basis for Defendant Dillon-Capps assertions that his

          compliance with the TRO by granting Mr. Leadore Global Admin rights to Ohana 's Microsoft

          365 Account and Administrative Rights to Ohana' s GoDaddy Account would violate the PCT

          DSS or any "federal compliance requirement" associated with the PCT DSS .



                                                               5
           I 194471000004\4859-9398-8811.v l




M&S Attachments                                          Page# 7 of24                                        Exhibit 165-0625
             Case 1:24-cv-03744-BAH               Document 16-15         Filed 01/03/25    Page 22 of 151




                      16.       I have reviewed the proposed Order Granting Preliminary Injunction prepared by

          Ohana and for the reasons set forth above it is my opinion to a reasonable degree of professional

          certainty that Defendant Dillon-Capps compliance with that Order, if entered by the Court, will

           not result in the violation of the PCl DSS .

              I SOLEMNLY DECLARE AND AFFIRM UNDER PENALTIES OF PERJURY
          AND UPON PERSONAL KNOWLEDGE THAT THE CONTENTS OF THE
          FOREGOING PAPER AND EXHIBITS THERETO ARE TRUE.



          Date: June 25 , 2024
                                                            Randall Romes




                                                               6
           I 19447\000004\4859-9398-881 I. v i




M&S Attachments                                           Page# 8 of24                                Exhibit 165-0625
            Case 1:24-cv-03744-BAH                Document 16-15             Filed 01/03/25            Page 23 of 151
                                                         EXHIBIT A




          Randy Romes, CISSP, CRISC, CISA, MCP, PCI-QSA

          Principal, CliftonlarsonAllen LLP


          Randy is a Principal and founding member of the Cybersecurity Consulting team at
          CLA. Randy leads a team of technology and industry specialists providing IT audits
          and security assessments for clients in a wide range of industries and diverse
          operating environments and has provided independent security assessments and IT
          audits for financial institutions, retail, health care and life sciences, non-profits, and
          state and local government for over 25 years. He is responsible for the continuing development of the
          open-source, *nix, and Windows applications used in all the security audits, and he leads the firms PCI-
          QSA audit practice.

          Randy has been an instructor of IT and Cybersecurity Risk Management at the CUNA Management School
          at the University of Wisconsin - Madison, the Graduate School of Banking at the University of Colorado in
          Boulder, ACUIA national and regional meetings, a variety of State Government Finance Officers
          Associations, numerous Leading Age national and state conferences, and the Minnesota Government IT
          Symposium . Randy is frequent speaker at national conferences and training events.

          Randy has been a consultant at CLA for twenty-seven years and brings a strong background in computer
          technology, physics and education. He is a Certified Information Systems Security Professional (CISSP), a
          Certified in Risk and Information System Controls (CRISC) professional, a Certified Information Systems
          Auditor {CISA), a PCI-Qualified Security Assessor {PCI-QSA), and he has multiple Microsoft Certified
          Professional (MCP) certifications. He has a master's degree in educational technology from the University
          of Saint Thomas, and a Bachelor of Science degree in education from the University of Wisconsin -
          Madison.




           I I 9447\000004\4883-4620-6923.v I



M&S Attachments                                            Page# 9 of24                                         Exhibit 165-0625
               Case 1:24-cv-03744-BAH
6/25/24, 11 :33 AM
                                                            Document  16-15 Filed 01/03/25
                                                                 Odyssey File & Serve - Envelope Receipt
                                                                                                             Page 24 of 151




  Case # C-03-CV-24-002264 - Chana Growth Partners, LLC vs. Ryan I
  Envelope Information
  Envelope Id                                       Submitted Date                                   Submitted User Name
  16968860                                          6/25/2024 11 :33 AM EST                          rbrennen@milesstockbridge .com


  Case Information
  Location                                          Category                                         Case Type
  Baltimore County Circuit Court                    Civil                                            Injunction

  Case Initiation Date                              Case#
  6/14/2024                                         C-03-CV-24-002264


  Filings
  Filing Type                                       Filing Code
  EFileAndServe                                     Line

  Filing Description
  Line Regarding Affidavit of Randall J.
  Romes Filed in Support of Plaintiff's
  Pending Motion for Preliminary Injunction
  and Petition for Constructive Civil
  Contempt

  Client Reference Number
  119447-4

  Courtesy Copies
  kjedwards@milesstockbridge .com

  Filing Status
  Submitting



  Lead Document

      File Name                                      Description                         Security                        Download
      Line re Filing Romes Affidavit.pdf             Line                                                                Original File


  eService Details

      0 Support


 https://maryland .tylertech.cloud/OfsWeb/FileAndServeModule/EnvelopeNiewPrintableEnvelope?ld=16968860                                       1/3
M&S Attachments                                                     Page # 10 of24                                        Exhibit 165-0625
                Case 1:24-cv-03744-BAH
 6/25/24, 11 :33 AM
                                                          Document 16-15 Filed 01/03/25
                                                               Odyssey File & Serve - Envelope Receipt
                                                                                                            Page 25 of 151



    Status             Name                                         Firm                                     Served     Date Opened

    Not Sent           Robert S. Brennen                            Miles & Stockbridge P.C .                No         Not Opened

    Not Sent           Steven D. Frenkil                            Miles & Stockbridge P.C .                No         Not Opened

    Not Sent           Victoria Klein                               Miles & Stockbridge P.C.                 No         Not Opened

    Not Sent           Kim Edwards                                  Miles & Stockbridge P.C.                 No         Not Opened
    ◄                                                                                                                                 ►




   Filing Type                                       Filing Code
   EFileAndServe                                     Affidavit

   Filing Description
   Affidavit of Randall J. Romes

   Client Reference Number
   119447-4

   Courtesy Copies
   kjedwards@milesstockbridge.com

   Filing Status
   Submitting



   Lead Document

        File Name                                      Description                         Security                   Download
        2024-06-25 Affidavit of Randall Romes          Affidavit of Randall J.                                        Original File
        with Exh A- signed .pdf                        Romes



   eService Details

    Status             Name                                          Firm                                    Served     Date Opened

    Not Sent           Steven D. Frenkil                             Miles & Stockbridge P.C .               No         Not Opened

    Not Sent           Victoria Klein                                Miles & Stockbridge P.C.                No         Not Opened

    Not Sent           Robert S. Brennen                             Miles & Stockbridge P.C.                No         Not Opened

    Not Sent           Kim Edwards                                   Miles & Stockbridge P.C.                No         Not Opened
    ◄                                                                                                                                 ►




   Parties with No eService
   Name                                               Address




 https://maryland .tylertech .cloud/OfsWeb/FileAndServeModu le/EnvelopeNiewPrintableEnvelope?ld=1 6968860                                 2/3
M&S Attachments                                                     Page# 11 of24                                     Exhibit 165-0625
                Case 1:24-cv-03744-BAH
 6/25/24, 11:33 AM
                                                          Document 16-15               Filed 01/03/25              Page 26 of 151
                                                                    Odyssey File & Serve - Envelope Receipt




   Ryan Dillon-Capps                                 1334 Maple Avenue Essex Maryland
                                                     21221

   Name                                              Address
   Ryan Wagner                                       1334 Maple Ave Essex Maryland 21221

   Fees

   Line
   Description                                                                                       Amount
   Filing Fee                                                                                              $0.00

                                                                                       Filing Total: $0.00


   Affidavit
   Description                                                                                       Amount
   Filing Fee                                                                                              $0.00
                                                                                       Filing Total: $0 .00




   Total Filing Fee                                                                                        $0.00

                                                                                  Envelope Total: $0 .00

           Transaction Amount                $0.00
           Transaction Id                    23424720

            Filing Attorney                  Robert Brennen                   Order Id
           Transaction Response              Authorized


  © 2024 Tyler Technologies
   Version : 2022 .0.3.9946




 https://maryland .tylertech .cloud/OfsWeb/FileAndServeModule/EnvelopeNiewPrintableEnvelope?Id= 16968860                                       3/3
M&S Attachments                                                    Page# 12 of24                                            Exhibit 165-0625
           Case 1:24-cv-03744-BAH             Document 16-15          Filed 01/03/25     Page 27 of 151




           OHANA GROWTH PARTNERS, LLC                       IN THE

                                 Plaintiff,                 CIRCUIT COURT

           vs.                                              FOR

           RYAN DILLON-CAPPS                                BALTIMORE COUNTY

                                 Defendant.                 FILE NO.: C-03-CV-24-002264


                       LINE REGARDING AFFIDAVIT OF RANDALL J. ROMES
             FILED IN SUPPORT OF PLAINTIFF'S PENDING MOTION FOR PRELIMINARY
                INJUNCTION AND PETITION FOR CONSTRUCTIVE CIVIL CONTEMPT

                  Plaintiff, Ohana Growth Partners, LLC, through its attorneys, hereby submits the attached

          Affidavit of Randall J. Romes in further support of Plaintiff's Motion for Preliminary Injunction

          and Plaintiff's Petition to Show Cause and for Constructive Civil Contempt.

          June 25, 2024                                        Respectfully submitted,

                                                               Isl Robert S. Brennen
                                                               Robert S. Brennen (AIS # 8712010068)
                                                               e-mail: RBrennen@milestockbridge.com
                                                               Stephen D. Frenkil (AIS # 7712010110)
                                                               e-mail: SFrenkil@milesstockbridge.com
                                                               Victoria K. Hoffberger (AIS # 1912170195)
                                                               e-mail: VHoffberger@milesstockbri dge.com
                                                               MILES & STOCKBRIDGE P.C.
                                                                I 00 Light Street
                                                               Baltimore, Maryland 21202
                                                               Telephone:       (410) 727-6464
                                                               Facsimile:       (410) 385-3 700

                                                               Counsel for Plaint?ffOhana Growth
                                                               Partners, LLC




M&S Attachments                                     Page # 13 of 24                                Exhibit 165-0625
            Case 1:24-cv-03744-BAH            Document 16-15       Filed 01/03/25     Page 28 of 151




                                            CERTIFICATE OF SERVICE
                  I HEREBY CERTIFY that on June 25 , 2024, a copy of the foregoing Line and the

          attached Affidavit of Randall J. Romes was sent via email to 1y an@mxt3.co m and served on via

          first-class mail, postage prepaid on:

                                 Ryan Dillon-Capps
                                 1334 Maple Avenue
                                 Essex, Maryland 21221
                                                             Isl Robert S. Brennen
                                                             Robert S. Brennen (AIS # 8712010068)




                                                         2


M&S Attachments                                    Page# 14 of24                                  Exhibit 165-0625
            Case 1:24-cv-03744-BAH                       Document 16-15       Filed 01/03/25   Page 29 of 151




          OHANA GROWTH PARTNERS, LLC                                IN THE

                                            Plaintiff,              CIRCUIT COURT

          vs.                                                       FOR

          RYAN DILLON-CAPPS                                         BALTIMORE COUNTY

                                            Defendant.              FILE NO.: C-03-CV-24-002264

                                                  AFFIDAVIT OF RANDALL ROMES

                     I, RANDALL ROMES , being over the age of eighteen ( 18) and competent to testify, and

          having personal knowledge of the facts contained herein, state as follows :

                      1.         I am a Principal with Clifton Larson Allen LLP ("CLA"), a consulting firm with

           120 locations across the United States.               CLA is a network member of CLA Global , an

          international organization of independent accounting and advisory firms.

                     2.          Since 1999 I have led the cybersecurity consulting practice at CLA performing

          and leading cybersecurity risk assessments and penetration testing, assisting clients in responding

          to intrusions and breaches, and advising clients on mitigating cybersecurity risks and improving

          IT operations. Attached as Exhibit A hereto is a copy of biographical information describing my

          education history, experience and certifications.

                     3.          One of my areas of training, experience and expertise is of the "PCI Data Security

          Standard" ("PCI DSS"). In 2010, after completing the mandatory training and exam, I obtained

          certification as a PCI-QSA (Payment Card Industry - Qualified Security Assessor). Every year

          since then I have completed mandatory training completed an exam to maintain that certification.

                     4.          The PCI DSS is maintained by the Payment card Industry Security Standards

          Council, an independent entity established by the major card brands in 2006. PCI DSS was

          developed by the credit card industry to encourage and enhance the security payment and



           I I 9447\000004\4859-9398-88 I I.v I




M&S Attachments                                               Page# 15 of24                                Exhibit 165-0625
            Case 1:24-cv-03744-BAH                 Document 16-15         Filed 01/03/25    Page 30 of 151




          account data generated in connection with credit card transactions and to facilitate the broad

          adoption of consistent data security measures globally. The standards are enforced via contracted

          services between merchants and acquiring banks and processors. Failure to meet PCI obli gations

          can result in credit card companies imposing contract-based penalties that can include fines ,

          penalties, and suspension or termination of payment card processing services.

                      5.         I have read the Motion for Temporary Restraining Order and Preliminary

          Injunction filed by Plaintiff Ohana Growth Partners, LLC ("Ohana") in the above-captioned

          matter, as well as the Memorandum of Law filed in support of that Motion and the exhibits

          thereto. Based upon those documents it is my understanding that Defendant Dillon-Capps has

          refused direct instructions from his supervisor and senior management of Ohana to grant Global

          Admin rights for Ohana' Microsoft 365 Account to Ryan Brooks and Phil Leadore, two IT

          consultants retained by Ohana. I further understand that the stated basis for Defendant Dillon-

          Capps refusal has been that (a) Messrs. Brooks and Leadore lack PCI DSS qualifications,

          including certification as a PCI-QSA; and (b) Defendant Dillon-Capps would violate the PSI

          DSS if Defendant Dillon-Capps granted such admin rights to either Mr. Brooks or Mr. Leadore.

                      6.         I have also reviewed the Court ' s Temporary Restraining Order entered on June

           17, 2024 (the ''TRO"). The TRO ordered Defendant Dillon-Capps to :

                A. Provide Global Administrative Rights for Ghana's Microsoft 365 Account to Phil
                   Leadore of Hartman Executive Advisors and cease and desist the use of any of access to
                   or use of Ghana ' s Microsoft 365 Account and related applications, including Ghana's
                   email systems.

                B. Provide Administrative Rights for Ghana' s GoDaddy Account to Phil Leadore of
                   Hartman Executive Advisors and cease and desist the use of any of access to or use of
                   Ghana' s GoDaddy Account and related Internet domain name registrations .




                                                                2
           I I 9447\000004\4859-9398-88 I I. v I




M&S Attachments                                           Page# 16 of24                                 Exhibit 165-0625
             Case 1:24-cv-03744-BAH                 Document 16-15           Filed 01/03/25    Page 31 of 151




                     7.          I further understand that Defendant Dillon-Capps has refused to comply with the

          TRO. l have reviewed Defendant Ryan Dillon-Capps letter to the Court dated June 18, 2024. ln

          the letter Defendant Dillon-Capps states, among other things:

                            •    "[C]ompliance with the TRO and Preliminary Injunction would require me to
                                 violate PCI compliance standards, thereby putting me in a position in which I
                                 must choose between violating federal compliance requirements or being held in
                                 contempt of court."

                            •    "They [Ohana] demanded that I grant Global Administrator access , which would
                                 be a violation of PCI compliance."

                            •    "Granting Global Administrator access without ensuring compliance would be a
                                 serious violation of the standards."


                     8.          Defendant Dillon-Capps has not identified any specific PCI DSS requirement that

          would be violated in the event that either Mr. Brooks or Mr. Leadore were granted Global Admin

          access to Ohana's Microsoft 365 Account and there is no such requirement. Thus, Defendant

          Dillon-Capps could have provided Global Admin access to Ohana's Microsoft 365 Account to

          either Mr. Brooks or Mr. Leadore without violating the PCI DSS .

                     9.          Defendant Dillon-Capps has not identified any specific PCI DSS requirement that

          would be violated in the event that either Mr, Brooks or Mr. Leadore was provided

          Administrative Rights for Ohana 's GoDaddy Account and there is no such requirement. Thus ,

          Defendant Dillon-Capps could have provided Administrative Rights to Ohana 's GoDaddy

          Account to either Mr. Brooks or Mr. Leadore without violating the PCl DSS .

                      10.        Neither the U.S. government nor any state or local government is involved in, is

          responsible for, or maintains enforcement mechanism associated with PCI. DSS . The PCI DSS is

          not a federal, state, or local law or regulation.                Thus, there is no "federal compliance

          requirement" associated with the PCI DSS as asserted by Defendant Dillon-Capps.


                                                                 3
           I I 9447\000004\4859-9398-88 I I.v I




M&S Attachments                                            Page# 17 of24                                 Exhibit 165-0625
            Case 1:24-cv-03744-BAH                 Document 16-15          Filed 01/03/25   Page 32 of 151




                      11.        "Global Admin" rights to an MS 365 Account allows "almost unlimited access to

           [an] organization ' s settings and most of its data." Because " [a] Global Admin may inadvertently

          lock their account and require a password reset, .. .[Microsoft] recommend[s] [Ohana] have at

           least either one more Global Admin." See https ://leam.microsoft.com/en-us/microsoft-

          365/admin/add-users/about-admin-roles?view=o365-worldwide Additionally, in order to reduce

          the risk of a denial of service it is important that more than one person have full administrative

          right in case one person holding them is unavailable, that person ' s account is hacked or

          compromised by outside actors, or as in this case, refuses to cooperate with company directi ves

          regarding the IT system owned by the company.

                      12.        Without administrative rights to the Ohana Microsoft 365 account, Ohana is

          unable to manage any of its Microsoft 365 software applications and related data. So long as

          Dillon-Capps continues to hold exclusive Global Admin rights to the Ohana MS 365 Account,

          and by extension Ohana' s employee email accounts and data, those accounts and data are

          vulnerable to disruption, corruption, or destruction by Dillon-Capps. So long as Dillon-Capps

          continues to hold exclusive administrative control over the Ohana GoDaddy Account, the

          direction of Ohana' s registered domain names to Ohana' s company email and websites are at

          risk.

                      13.        I have reviewed Defendant Dillon-Capps ' email to attorney Robert Brennen on

          Monday, June 17, 2024 at 9:590 PM in which Defendant asks: "Can someone elaborate on ho w

          to comply with the order to give access to Mr. Leadore. Logistically speaking, with sincerity, can

          someone provide a breakdown of how this would occur?" I have also reviewed attorney

          Brennen' s email to Defendant Dillon-Capps on Tuesday, June 18, 2024 at 8:39 AM in which

          attorney Brennen outlined the following steps:



                                                                4
           l l 94471000004\4859-9398-88 l l .v 1




M&S Attachments                                           Page # 18 of24                               Exhibit 165-0625
            Case 1:24-cv-03744-BAH                Document 16-15          Filed 01/03/25        Page 33 of 151




                I.   Create an account in Ohana' s Microsoft 365 tenant, plcadorc@ohanagp.com. Add the account
                     into the Global Administrators group and send the password to pleadore@hartmanadvisors.com
                     via a secure email. If you do not have access to send a secure email , you should send the
                     password to me via text at 443-956-6458.

                2. Provide pleadore@ohanagp.com with owner level rights to all Azure subscription plans .

                3. Provide the root level administrator account password in GoDaddy to
                   pleadore@hartmanadvisors.com via a secure email. If you do not have access to send a secure
                   email, you should send the password to me via text at 443-956-6458. You should remove all
                   multi-factor authentication apps , phone numbers, and/or email addresses associated with the root
                   account.
                4. Once accounts have been created in Ohana's Microsoft 365 tenant and the root level password
                   provided for the GoDaddy account, refrain from accessing or making configuration changes to
                   their Microsoft 365 and GoDaddy accounts.                     •


          It is my opm1on to a reasonable degree of professional certainty that a knowledgeable and

          experienced system administrator that is in and out of those different systems regularly could

          accomplish all four of those steps within an hour, give or take a few minutes, and that a system

          administrator who is not routinely in these systems performing administrative level activities,

          and/or routinely changing the administrative user rights/changing multifactor settings regularly

          could accomplish all four of those steps within two hours, give or take a few minutes.

                      14.        For the reasons set forth above it is my opinion to a reasonable degree of

          professional certainty that there is no basis for Defendant Dillon-Capps assertions that the PCI

          DSS prevented him from complying with Ohana's directives to grant to Mr. Brooks and Mr.

          Leadore Global Admin rights to the Ohana ' s Microsoft 365 Account .

                      15.        For the reasons set forth above it is my opinion to a reasonable degree of

          professional certainty that there is no basis for Defendant Dillon-Capps assertions that his

          compliance with the TRG by granting Mr. Leadore Global Admin rights to Ghana 's Microsoft

          365 Account and Administrative Rights to Ghana's GoDaddy Account would violate the PCI

          DSS or any "federal compliance requirement" associated with the PCT DSS .



                                                                5
           1194471000004\4859- 9398-88 l l .v 1




M&S Attachments                                          Page# 19 of24                                       Exhibit 165-0625
            Case 1:24-cv-03744-BAH                Document 16-15         Filed 01/03/25    Page 34 of 151




                     16.        I have reviewed the proposed Order Granting Preliminary Injunction prepared by

          Ohana and for the reasons set forth above it is my opinion to a reasonable degree of professional

          certainty that Defendant Dillon-Capps compliance with that Order, if entered by the Court, will

          not result in the violation of the PCI DSS.

              I SOLEMNLY DECLARE AND AFFIRM UNDER PENALTIES OF PERJURY
          AND UPON PERSONAL KNOWLEDGE THAT THE CONTENTS OF THE
          FOREGOING PAPER AND EXHIBITS THERETO ARE TRUE.
                                                                                       Digitally signed by Randall J.
                                                         Randall J. Romes Romes
                                                                                       Date: 2024.06.25 09:59:53 -05'00'
          Date: June 25 , 2024
                                                            Randall Romes




                                                               6
           I 194471000004\4859-9398-881 I .vi




M&S Attachments                                          Page# 20 of24                                    Exhibit 165-0625
            Case 1:24-cv-03744-BAH                 Document 16-15           Filed 01/03/25             Page 35 of 151
                                                         EXHIBIT A




          Randy Romes, CISSP, CRISC, CISA, MCP, PCI-QSA

          Principal, CliftonlarsonAllen LLP


          Randy is a Principal and founding member of the Cybersecurity Consulting team at
          CLA. Randy leads a team of technology and industry specialists providing IT audits
          and security assessments for clients in a wide range of industries and diverse
          operating environments and has provided independent security assessments and IT
          audits for financial institutions, retail, health care and life sciences, non-profits, and
          state and local government for over 25 years. He is responsible for the continuing development of the
          open-source, *nix, and Windows applications used in all the security audits, and he leads the firms PCI -
          QSA audit practice.

           Randy has been an instructor of IT and Cybersecurity Risk Management at the CUNA Management School
          at the University of Wisconsin - Madison, the Graduate School of Banking at the University of Colorado in
           Boulder, ACUIA national and regional meetings, a variety of State Government Finance Officers
          Associations, numerous Leading Age national and state conferences, and the Minnesota Government IT
          Symposium. Randy is frequent speaker at national conferences and training events.

           Randy has been a consultant at CLA for twenty-seven years and brings a strong background in computer
          technology, physics and education. He is a Certified Information Systems Security Professional (CISSP), a
          Certified in Risk and Information System Controls (CRISC) professional, a Certified Information Systems
          Auditor (CISA), a Pel -Qualified Security Assessor (PCI -QSA), and he has multiple Microsoft Certified
          Professional (MCP) certifications. He has a master's degree in educational technology from the University
          of Saint Thomas, and a Bachelor of Science degree in education from the University of Wisconsin -
           Madison .




           I I 944 7\ 000004\4883-4620-6923 .v I



M&S Attachments                                           Page# 21 of24                                         Exhibit 165-0625
                Case 1:24-cv-03744-BAH
 6/25/24, 11 :33 AM
                                                              Document 16-15            Filed 01/03/25           Page 36 of 151
                                                                     Odyssey File & Serve - Envelope Receipt




   Case # C-03-CV-24-002264 - Ohana Growth Partners, LLC vs. Ryan I
   Envelope Information
   Envelope Id                                        Submitted Date                                     Submitted User Name
   16968860                                           6/25/2024 11 :33 AM EST                            rbrennen@milesstockbridge .com


   Case Information
   Location                                           Category                                           Case Type
   Baltimore County Circuit Court                     Civil                                              Injunction

   Case Initiation Date                               Case#
   6/14/2024                                          C-03-CV-24-002264


   Filin_,,,g__s_ _ _ _ _ _ _ _ _ _ _ _ _ __
   Filing Type                                        Filing Code
   EFileAndServe                                      Line

   Filing Description
   Line Regarding Affidavit of Randall J.
   Romes Filed in Support of Plaintiff's
   Pending Motion for Preliminary Injunction
   and Petition for Constructive Civil
   Contempt

   Client Reference Number
   119447-4

   Courtesy Copies
   kjedwards@milesstockbridge .com

   Filing Status
   Submitting



   Lead Document

      File Name                                        Description                          Security                         Download
      Line re Filing Romes Affidavit.pdf               Line                                                                  Original File


   eService Details

       0 Support


 https://maryland .tylertech .cloud/OfsWeb/FileAndServeModule/EnvelopeNiewPrintableEnvelope 71 d= 16968860                                       1/3
M&S Attachments                                                     Page# 22 of24                                             Exhibit 165-0625
                Case 1:24-cv-03744-BAH                      Document 16-15                Filed 01/03/25        Page 37 of 151
 6/25/24, 11 :33 AM                                                   Odyssey File & Serve - Envelope Receipt




    Status             Name                                           Firm                                       Served     Date Opened

    Not Sent           Robert S. Brennen                              Miles & Stockbridge P.C.                   No         Not Opened

    Not Sent          Steven D. Frenkil                               Miles & Stockbridge P.C .                  No         Not Opened

    Not Sent          Victoria Klein                                  Miles & Stockbridge P.C .                  No         Not Opened

    Not Sent           Kim Edwards                                    Miles & Stockbridge P.C.                   No         Not Opened
    ◄                                                                                                                                     ►




   Filing Type                                         Filing Code
   EFileAndServe                                      Affidavit

   Filing Description
   Affidavit of Randall J. Romes

   Client Reference Number
   119447-4

   Courtesy Copies
   kjedwards@milesstockbridge .com

   Filing Status
   Submitting



   Lead Document

        File Name                                       Description                          Security                     Download
        2024-06-25 Affidavit of Randall Romes           Affidavit of Randall J.                                           Original File
        with Exh A- signed .pdf                         Romes



   eService Details
                ---
    Status             Name                                           Firm                                       Served     Date Opened

    Not Sent          Steven D. Frenkil                               Miles & Stockbridge P.C.                   No         Not Opened

    Not Sent          Victoria Klein                                  Miles & Stockbridge P.C.                   No         Not Opened

    Not Sent           Robert S. Brennen                              Miles & Stockbridge P.C.                   No         Not Opened

    Not Sent           Kim Edwards                                    Miles & Stockbridge P.C.                   No         Not Opened
    ◄                                                                                                                                     ►




   Parties with No eService
   Name                                                Address




 https://maryla nd. tylertech.cloud/Ofs Web/FileAndServeModule/EnvelopeNiewPrintableEnvelope 71 d= 16968860                                   2/3
M&S Attachments                                                      Page# 23 of24                                        Exhibit 165-0625
                Case 1:24-cv-03744-BAH                   Document 16-15              Filed 01/03/25              Page 38 of 151
 6/25/24, 11 :33 AM                                                Odyssey File & Serve - Envelope Receipt




   Ryan Dillon-Capps                                 1334 Maple Avenue Essex Maryland
                                                     21221

   Name                                              Address
   Ryan Wagner                                       1334 Maple Ave Essex Maryland 21221

   Fees

   Line
   Description                                                                                      Amount
   Filing Fee                                                                                            $0.00

                                                                                      Filing Total: $0 .00


   Affidavit
   Description                                                                                      Amount
   Filing Fee                                                                                            $0.00
                                                                                      Filing Total: $0.00




   Total Filing Fee                                                                                      $0.00

                                                                                 Envelope Total: $0 .00

            Transaction Amount              $0 .00
            Transaction Id                  23424720

            Filing Attorney                 Robert Brennen                   Order Id
            Transaction Response            Authorized


   © 2024 Tyler Technologies
   Version : 2022 .0.3.9946




 https://maryland .tylertech.cloud/OfsWeb/FileAndServeModule/EnvelopeNiewPrintableEnvelope?ld=16968860                                       3/3
M&S Attachments                                                   Page# 24 of24                                           Exhibit 165-0625
            Case 1:24-cv-03744-BAH                       Document 16-15      Filed 01/03/25     Page 39 of 151




           OHANA GROWTH PARTNERS, LLC                                IN THE

                                            Plaintifj;               CIRCUIT COURT

           vs .                                                      FOR

           RYAN DILLON-CAPPS                                         BALTIMORE COUNTY

                                            Defendant.               FILE NO.: C-03-CV-24-002264


                            (PROPOSED] ORDER GRANTING PRELIMIARY INJUNCTION

                     Upon consideration of the Motion for Preliminary Injunction and the Memorandum in

          Support thereof, along with any opposition filed thereto, it is this 26 th day of June, 2024, at _ _

          p.m. , by the Circuit Court for Baltimore County, hereby determined that Plaintiff has shown a

          likelihood that it will succeed on its claims that are pertinent to the relief granted in this Preliminary

          Injunction.

                     It is further determined that Plaintiff has shown that the balance of harms to it as compared

          to the harms to Defendant if this Preliminary Injunction were or were not issued favors the issuance

          of this Preliminary Injunction.

                     It is further determined that Plaintiff has shown that it will suffer irreparable harm if this

          Preliminary Injunction is not issued.

                     It is further determined that Plaintiff has shown that issuance of this Preliminary Injunction

          is in the public interest.

                     It is therefore determined that Plaintiff, following a full adversary hearing, has satisfied the

          requirements for entry of this Preliminary Injunction on the relief sought; and it is therefore

                     ORDERED that the Motion for Preliminary Injunction filed by Plaintiff is GRANTED ;

          and it is further




           I I 9447\000004\4864-6030-6380.v I



M&S Attachments                                                Page# I of4                                   Exhibit 165-0626
            Case 1:24-cv-03744-BAH                       Document 16-15          Filed 01/03/25   Page 40 of 151




                     ORDERED that Defendant create an account in Ghana 's Microsoft 365 tenant (Tenant ID:

           12be282d-af65-44c5-9b03-ca46dc2f46ee) for rromes l@ohanagp.com; and that Microsoft

          Corporation create an account in Ghana's Microsoft 365 tenant (Tenant ID: 12be282d-af65-44c5-

          9b03-ca46dc2f46ee) for rromes2@ohanagp.com; and it is further

                     ORDERED that Defendant grant the rromes l@ohanagp.com account the role of Global

          Administrator in Ghana's Microsoft 365 tenant (Tenant ID : 12be282d-af65-44c5-9b03-

          ca46dc2f46ee)            and      send   the    password   for   the    rromes l @ohanagp.com   account   to

          randy.romes@claconnect.com via a secure email. If Defendant does not have access to send a

          secure email , Defendant shall send the password for the rromes l@ohanagp.com account to Robert

          Brennen, counsel for Ghana, via text message at 443-956-6458 ; and that Microsoft Corporation

          grant the rromes2@ohanagp.com account the role of Global Administrator in Ghana 's Microsoft

          365 tenant (Tenant ID: 12be282d-af65-44c5-9b03-ca46dc2f46ee) and send the password for the

          rromes2@ohanagp.com account to randy.romes@claconnect.com via a secure email ; and it is

          further

                     ORDERED that Defendant grant the rromes l@ohanagp.com account the role of Global

          Administrator for all Azure subscription plans associated with Ghana 's Microsoft 365 tenant

          (Tenant ID: 12be282d-af65-44c5-9b03-ca46dc2f46ee); and that Microsoft Corporation grant the

          rromes2@ohanagp.com account the role of Global Administrator for all Azure subscription plans

          associated with Ghana's Microsoft 365 tenant (Tenant ID: 12be282d-af65-44c5-9b03-

          ca46dc2f46ee); and it is further

                     ORDERED that Defendant deliver to Robert Brennen, counsel for Ghana, any key fob ,

          token, or equivalent device required for multifactor authentication for the

          rromes l@ohanagp.com account; and it is further



                                                                     2
           I I 944 7\000004\4864-6030-6380.v I



M&S Attachments                                                 Page# 2 of4                                   Exhibit 165-0626
            Case 1:24-cv-03744-BAH               Document 16-15       Filed 01/03/25       Page 41 of 151




                     ORDERED that Defendant provide the root level administrator account password to the

          Ohana GoDaddy Account to randy.romes@claconnect.com via a secure email. If Defendant does

          not have access to send a secure email, Defendant shall send the password to Robert Brennen,

          counsel for Ohana, via text message at 443-956-6458; and it is further

                     ORDERED that once Defendant has (i) created the rromes l @ohanagp.com account in

          Ohana's Microsoft 365 tenant (Tenant ID: 12be282d-af65-44c5-9b03-ca46dc2f46ee); (ii) granted

          the rromes l@ohanagp.com account the role of Global Administrator in Ohana 's Microsoft 365

          tenant (Tenant ID: 12be282d-af65-44c5-9b03-ca46dc2f46ee); (iii) transmitted the password for

          the rromes l@ohanagp.com account to either randy.romes@claconnect.com or to Mr. Brennen ;

          (iv) granted the rromes l@ohanagp.com account the role of Global Administrator for rail Azure

          subscription plans associated ranwith Ohana's Microsoft 365 tenant (Tenant ID : 12be282d-af65-

          44c5-9b03-ca46dc2f46ee); (v) delivered the key fob , token, or equivalent device required for

          multifactor authentication for the rromes l@ohanagp.com account to Mr. Brennen and (vi)

          provided the root level administrator account password to the Ohana GoDaddy Account to

          randy.romes@claconnect.com or Mr. Brennen, Defendant must refrain from accessing and/or

          making configuration changes to the Ohana Microsoft 365 Account and/or the Ohana GoDaddy

          Account; and it is further

                     ORDERED that the bond requirement of Maryland Rule l 5-503(c) is waived based upon

          the particular circumstances of this Preliminary Injunction; and it is further

                     ORDERED that this Preliminary Injunction shall be binding on Defendant and Microsoft

          Corporation immediately upon their receipt of actual notice of this Preliminary Injunction by any

          means.




                                                            3
           l l 9447\000004\4864-6030-6380 .v 1



M&S Attachments                                        Page# 3 of4                                  Exhibit 165-0626
            Case 1:24-cv-03744-BAH              Document 16-15     Filed 01/03/25     Page 42 of 151




                                                       Hon. Michael S. Barranco, JUDGE,
                                                       Circuit Court for Baltimore County, Maryland

          Copies to :

          Ryan Dillon-Capps (via email to ryan@mxt3 .com)
          Robert S. Brennen (via MDEC and email to rbrennen@milesstockbridge .com)




                                                          4
           l l 9447\000004\4864-6030-63 80.vl



M&S Attachments                                      Page# 4 of4                                 Exhibit 165-0626
             Case 1:24-cv-03744-BAH                         Document 16-15     Filed 01/03/25   Page 43 of 151




            OHANA GROWTH PARTNERS, LLC                                 IN THE

                                              Plaintiff,               CIRCUIT COURT

            vs.                                                        FOR

            RYAN DILLON-CAPPS                                          BALTIMORE COUNTY

                                              Def endant.              FILE NO.: C-03-CV-24-002264


                                         [PROPOSED]
                    ORDER HOLDING DEFENDANT IN CONSTRUCTIVE CIVIL CONTEMPT

                      Upon consideration of Plaintiff Ohana Growth Partners, LLC ' s ("Ohana") Petition for

          Civil Contempt (no incarceration sought), and any Opposition thereto ; and having provided the

          parties an opportunity to be heard in open Court on June 26 and 27, 2024, the Court finds that:

                      I.   Defendant Ryan Dillon-Capps received actual notice of the Court ' s June 17, 2024
                           Temporary Restraining Order (the "TRO") on the evening of June 17, 2024;

                      2. In Defendant's June 18, 2024 correspondence to the Court Defendant acknowledged
                         receipt and actual notice of the TRO, as well as the fact that Defendant had not
                         complied with the TRO as of the submission of that correspondence;

                      3. The Court' s June 21 , 2024 Order to Appear and Show Cause, directing Defendant to
                         appear before the Court on June 26, 2024 at 9 a.m. and show cause why Defendant
                         should not be held in Contempt of the TRO was transmitted by Lauren Prinkey, Judicial
                         Assistant to the Hon. Keith R. Truffer, to Defendant at ryan@mxt3 .com at 12:04 p.m.
                         on June 21 , 2024, and again by Plaintiff's counsel to Defendant at ryan@mxt3 .com
                         vhat 6:59 p.m. on June 24, 2024;

                     4. Defendant acknowledged under oath in open Court during a hearing held June 26, 2024
                        that Defendant was aware of the terms of the TRO and had not complied with the TRO ;

                      5. On June 26, 2024 at 2: 15 p.m. the Court entered an Order Granting Preliminary
                         Injunction ("Preliminary Injunction") in which Defendant was Ordered to take
                         substantially the same action as Ordered by the TRO;

                      6. Defendant acknowledged under oath and in open Court during a hearing held June 27,
                         2024 that Defendant had not complied with the TRO or the Preliminary Injunction;

                      7. Defendant' s failure to comply with and contempt of the TRO has been knowing and
                         willful ;


           I I 944 7\000004\4863-7039-09 88.v I



M&S Attachments                                                  Page# 1 of2                             Exhibit 165-0627
            Case 1:24-cv-03744-BAH             Document 16-15           Filed 01/03/25   Page 44 of 151




                     8. Imposition of appropriate sanctions is necessary to coerce Defendant to cure
                        Defendant's contempt by complying with the TRO


                     THEREFORE, it is this 27 th day of June, 2024, at _ p.m. hereby:

                     ORDERED, that Plaintiffs Petition for Constructive Civil Contempt 1s hereby

          GRANTED ; and it is further

                     ORDERED, that Defendant Ryan Dillon-Capps be and the same hereby is found to be in

          constructive civil contempt of the Court' s June 17, 2024 Temporary Restraining Order; and it is

          further

                     ORDERED, that for every 24 hour period that passes after the date and time of this Order

          without Defendants' full compliance with the Preliminary Injunction Defendant shall pay $2 ,500

          to Plaintiff; and it is further

                     ORDERED, that Defendant may purge Defendant's contempt by complying with the

          directions of the Preliminary Injunction; and it is further

                     ORDERED, that nothing herein shall prejudice Plaintiffs right to seek Defendant ' s

          incarceration pursuant to MD Rule 15-206 based upon Defendant ' s continued constructive civil

          contempt, nor the authority of the Court or the State's Attorney for Baltimore County to initiate

          constructive criminal contempt proceedings pursuant to MD Rule 15-205.



                                                         Hon. Michael S. Barranco, JUDGE,
                                                         Circuit Court for Baltimore County, Maryland

          Copies to:

          Ryan Dillon-Capps (via email to ryan@mxt3 .com)
          Robert S. Brennen (via MDEC and email to rbrennen@milesstockbridge .com)




                                                            2
           11944 7\000004\4863-7039-0988. VI



M&S Attachments                                        Page # 2 of 2                                 Exhibit 165-0627
            Case 1:24-cv-03744-BAH                         Document 16-15                  Filed 01/03/25              Page 45 of 151

           - ~ MILES &
           ~,'~ STOCKBRIDGE P.c.
          Robert S. Brennen
          (410) 385-3653
          rbrennen@milesstockbridge.com

                                                                       July 3, 2024

          VIA ELECTRONIC MAIL AND FIRST CLASS MAIL
          Ryan Dillon-Capps
          1334 Maple Avenue
          Essex, Maryland 21221
          ryan@mxt3.com

          Re:        Ohana Growth Partners, LLC v. Ryan Dillon-Capps, Case No. C-03-CV-24-002264
                     Litigation Hold

          Dear Ryan Dillon-Capps:

          As you know, we represent Ohana Growth Partners, LLC ("Ohana") in connection with the above-
          referenced lawsuit. We are writing today regarding your obligation to hold and preserve any and all
          documents and electronic files relating to the matter pending a final and un-appealable order resol ving all
          claims. This would include any information relating to the Ohana Microsoft 365 Tenant, the Ohana
          GoDaddy Account, your employment agreement with Ohana, your breaches of that agreement and your
          duty of loyalty to Ohana, and any defenses you intend to assert to Ohana 's claims (collectively, the
          "Matter"), in whatever form , including e-mail , correspondence, notes, spreadsheets, charts, appraisals,
          drafts, and other documents, and whether stored as hard copies or electronically on system servers,
          databases, networks, computer systems, including legacy systems (hardware and software), servers,
          archives, backup or disaster recovery systems, tapes , discs , drives, portable storage (like thumb drives),
          cartridges and other storage media, laptops, personal computers, Internet data, personal digital assistants,
          handheld wireless devices, mobile telephones, paging devices, and audio systems (including voicemail).
          This will also include information that may have been deleted at some prior time. Sources of relevant
          information may also include personal computers used by you and/or your wife, whether used in the office,
          at home, or at other locations that might contain such infonnation. Failure to preserve all copies and vers ions
          of such information could result in severe sanctions under the Maryland Rules of Civil Procedure.

          For the avoidance of all doubt, by this letter, you are hereby on express notice not to delete any
          information stored in hard copy or on any electronic device, or on any cloud-based platforms related
          to the Matter. This obligation extends to all of your agents, employees or persons acting on your behalf
          who may have documents or other evidence that is potentially related to the Matter.

          Until further notice, you must take all reasonable steps to preserve all records and data that may be related
          to the subject matter described above. If you believe that you have Records and Data that relate to the
          subject matter, but that are not specifically described above, you must err on the side of caution and preserve
          those records and data.

          All information must be preserved in its original electronic form so that all information contained within it,
          whether visible or not, is also available for inspection; it is not sufficient to make a hard copy of electronic
          communication. You must also preserve any new emails and other electronic information related or
          pertaining to the subject matters listed above that are generated after you receive this notice. This should


                         100 Light Street        I Baltimore, MD 21202 I 410.727.6464 I milesstockbridge.com
                           EASTON, MD • FREDERICK. MD • RICHMOND, VA • ROCKVILLE. MD • TYSONS CORNER. VA • WASHINGTON, D.C.

           l 19447100000414889- I 705-7998 .vl



M&S Attachments                                                       Page# 1 of20                                              Exhibit 165-0703
            Case 1:24-cv-03744-BAH                         Document 16-15                 Filed 01/03/25              Page 46 of 151

          Ryan Dillon-Capps
          July 3, 2024
          Page 12

          be done by creating a separate electronic folder for all future communications, if any, concerning the subject
          matters listed above and by storing all such communications and documents in those segregated folders .

          You should also take immediate action to identify any individuals that arc likely to have information
          relevant to this matter ("custodians") so that they can be advised of these obligations . Please have a copy
          of this Notice generated and hand-delivered to each identified custodian. In addition ,

          The foregoing paragraphs do not constitute a complete statement of Ohana' s rights to the preservation of
          Documents, Electronically Stored Information, Hardware and Software, all of which are expressly reserved.

          This litigation hold should remain in effect until the Matter is completely resolved, including any appeals.

          Regards,




          Robert S. Brennen




                         100 Light Street I Baltimore, MD 21202 I 410 .727 .6464 I mil esstockbridge.com
                           EASTON, MD • FREDERICK. MD • RICHMOND, VA • ROCKVILLE, MD • lYSONS CORNER. VA • WASHINGTO N, D.C

           l l 9447\000004\4889-l 705-7998.v I



M&S Attachments                                                       Page# 2 of2 0                                            Exhibit 165-0703
 7/3/24, 3:14 PM
                 Case 1:24-cv-03744-BAH                   Document  16-15 Filed 01/03/25
                                                               Odyssey File & Serve - Envelope Receipt
                                                                                                                Page 47 of 151




   Case # C-03-CV-24-002264 - Chana Growth Partners, LLC vs. Ryan I
   Envelope Information
   Envelope Id                                       Submitted Date                                     Submitted User Name
   17091979                                          7/3/2024 3:13 PM EST                               rbrennen@milesstockbridge .com


   Case Information
   Location                                          Category                                           Case Type
   Baltimore County Circuit Court                    Civil                                              Injunction

   Case Initiation Date                              Case#
   6/14/2024                                         C-03-CV-24-002264


   Filin s
   Filing Type                                       Filing Code
   EFileAndServe                                     Petition for Contempt/Enforcement

   Filing Description
   Petition to Show Cause and For
   Constructive Civil Contempt

   Client Reference Number
   119447-4

   Filing Status
   Submitting



   Lead Document

      File Name                                        Description                         Security                           Download
      2024-07-03 Petition to Show Cause and            Petition for                                                           Original File
      for Contempt (lncarceration).pdf                 Contempt/Enforcement



   eService Detai Is

    Status            Name                                          Firm                                             Served     Date Opened

    Not Sent          Robert S. Brennen                             Miles & Stockbridge P.C.                         No         Not Opened

    Nnt ~,:,nt        ~t"'ven D. Frenkil                            Miles & Stockbridge P.C.                         No         Not Opened
      0 Support             ria Klein                               Miles & Stockbridge P.C.                         No         Not Opened




 https://maryland .tylertech .cloud/OfsWeb/FileAndServeModule/EnvelopeNiewPrintableEnvelope ?Id= 17091979                                        1/4
M&S Attachments                                                     Page# 3 of20                                              Exhibit 165-0703
                Case 1:24-cv-03744-BAH                    Document 16-15               Filed 01/03/25         Page 48 of 151
 7/3/24, 3:14 PM                                                    Odyssey File & Serve - Envelope Receipt




    Status             Name                                         Firm                                       Served     Date Opened

    Not Sent           Kim Edwards                                  Miles & Stockbridge P.C.                   No         Not Opened

    Not Sent           Ryan Wagner                                                                             No         Not Opened




   Filing Type                                        Filing Code
   EFileAndServe                                      Supporting Exhibit

   Filing Description
   Exhibit 1 - Affidavit of Daniel J. Levett

   ~ient Reference Number                                                                                                               ►

   119447-4

   Filing Status
   Submitting



   Lead Document

        File Name                                      Description                         Security                     Download
        EX 1 - 2024-07-                                Supporting Exhibit - Levett                                      Original File
        03_Affidavit_of_Daniel_ Levett_w_Ex ...        Affidavit



   eService Detai Is

    Status             Name                                         Firm                                       Served     Date Opened

    Not Sent           Robert S. Brennen                            Miles & Stockbridge P.C.                   No         Not Opened

    Not Sent           Victoria Klein                               Miles & Stockbridge P.C.                   No         Not Opened

    Not Sent           Kim Edwards                                  Miles & Stockbridge P.C.                   No         Not Opened

    Not Sent           Steven D. Frenkil                            Miles & Stockbridge P.C.                   No         Not Opened

    Not Sent           Ryan Wagner                                                                             No         Not Opened
    ◄                                                                                                                                   ►




   Filing Type                                        Filing Code
   EFileAndServe                                      Proposed Order / Decree

   Filing Description
   Proposed Order

   Client Reference Number
   119447-4




 https://maryland .tylertech .cloud/OfsWeb/FileAndServeModu le/EnvelopeNiewPrintableEnvelope?ld= 17091979                                   2/4
M&S Attachments                                                     Page# 4 of20                                        Exhibit 165-0703
                    Case 1:24-cv-03744-BAH                  Document 16-15                Filed 01/03/25               Page 49 of 151
 7/3/24 , 3:14 PM                                                     Odyssey File & Serve - Envelope Receipt




   Filing Status
   Submitting



   Lead Document

        File Name                                       Description                           Security                           Download
        2024-07-03 Show Cause Order re                  Proposed Order / Decree                                                  Original File
        Incarceration for Contempt.pdf



   eService Details

    Status             Name                                           Firm                                              Served     Date Opened

    Not Sent           Victoria Klein                                 Miles & Stockbridge P.C.                          No         Not Opened

    Not Sent           Kim Edwards                                    Miles & Stockbridge P.C .                         No         Not Opened

    Not Sent           Ryan Wagner                                                                                      No         Not Opened

    Not Sent           Steven D. Frenkil                              Miles & Stockbridge P.C.                          No         Not Opened

    Not Sent           Robert S. Brennen                              Miles & Stockbridge P.C .                         No         Not Opened
    ◄                                                                                                                                            ►



   Parties with No eService
   Name                                                Address
   Ryan Dillon-Capps                                   1334 Maple Avenue Essex Maryland
                                                       21221

   Name                                                Address
   Ryan Wagner                                         1334 Maple Ave Essex Maryland 21221

   Fees

   Petition for Contempt/Enforcement
   Description                                                                                           Amount
   Filing Fee                                                                                              $31 .00
                                                                                         Filing Total: $31.00


   Supporting Exhibit
   Description                                                                                           Amount
   Filing Fee                                                                                                  $0.00
                                                                                          Filing Total: $0 .00




 https://maryland .tylertech .cloud/OfsWeb/F ileAndServeModu le/EnvelopeNiewPrinta bleEnvelope ?Id= 17091979                                         3/4
M&S Attachments                                                       Page# 5 of20                                                Exhibit 165-0703
                   Case 1:24-cv-03744-BAH                 Document 16-15                Filed 01/03/25              Page 50 of 151
 7/3/24, 3:14 PM                                                   Odyssey File & Serve - Envelope Receipt




   Proposed Order I Decree
   Description                                                                                        Amount

   Filing Fee                                                                                               $0.00
                                                                                       Filing Total: $0 .00




   Total Filing Fee                                                                                     $31.00

   Payment Service Fee                                                                                      $1.08

                                                                                 Envelope Total: $32 .08

            Transaction Amount               $32 .08
            Transaction Id                   23597122

            Filing Attorney                  Robert Brennen                    Order Id                             017091979-0
            Transaction Response             Authorized


   © 2024 Tyler Technologies
   Version : 2022 .0.3.9946




 https://maryland. tylertech .cloud/OfsWeb/FileAndServeModule/EnvelopeNiewPrintableEnvelope ?Id= 17091979                                            4/4
M&S Attachments                                                     Page # 6 of 20                                                Exhibit 165-0703
            Case 1:24-cv-03744-BAH             Document 16-15        Filed 01/03/25      Page 51 of 151




           OHAN A GROWTH PARTNERS, LLC                      IN THE

                                  Plaintiff;                CIRCUIT COURT

           vs.                                              FOR

           RY AN DILLON-CAPPS                               BALTIMORE COUNTY

                                  Defendant.                CASE NO.: C-03-CV-24-002264


                 PETITION TO SHOW CAUSE AND FOR CONSTRUCTIVE CIVIL CONTEMPT

                   Plaintiff, Ohana Growth Partners, LLC. ("Plaintiff' or the "Ohana"), by its undersigned

          attorneys, and pursuant to Maryland Rule 15-206, hereby moves this Honorable Court to require

          Ryan Dillon-Capps ("Dillon-Capps" or "Defendant") (they/them) to appear before this Court and

          show cause why they should not be held in constructive civil contempt for knowingly violating

          this Court's Preliminary Injunction entered June 26, 2024. In support of its Petition, Ohana states

          as follows :

                   I.     On June 17, 2024, the Court (De Simone, J.) granted Ohana a Temporary

          Restraining Order. The Court set a hearing on Preliminary Injunction for June 26, 2024 at 9 a.m.

                   2.     On June 19, 2024, Ohana moved for Defendant to show cause as to why they should

          not be held in contempt of the Court for willfully refusing to comply with the TRO .

                   3.     On June 21 , 2024, the Court ordered Defendant to appear on June 26, 2024 at 9

          a.m. and show cause as to why Defendant should not be held in Contempt of the TRO.

                   4.     The parties were heard in open Court on June 26, 2024 and the Court (Ba1Tanco,

          J.) entered a Preliminary Injunction ordering Defendant to take substantially similar actions to

          what was required under the TRO .

                   5.     Additionally, the Court held Plaintiff's Motion for Defendant to Appear and Show

          Cause in sub curia.




M&S Attachments                                      Page# 7 of20                                     Exhibit 165-0703
            Case 1:24-cv-03744-BAH           Document 16-15          Filed 01/03/25       Page 52 of 151




                  6.     The Court set a hearing on Plaintiffs Motion for Defendant to Appear and Show

          Cause for June 27, 2024 at 1:00 p.m. and directed Defendant to comply with the Preliminary

          Injunction by that time.

                  7.     At the June 27, 2024 hearing, Defendant acknowledged under oath and in open

          Court that they had not complied with the TRO or the Preliminary Injunction . Defendant stated,

          under oath, that they could not comply with the Preliminary Injunction because ( 1) they did not

          know the location of a multi-factor authentication key fob ; and (2) without the key fob , they did

          not have access to (i) their Global Administrative Rights they needed to perform the actions

          ordered by the Preliminary Injunction with regard to the Ohana Microsoft 365 Tenant; or (ii) the

          Ohana GoDaddy Account they needed to perform the actions ordered by the Preliminary

          Injunction with regard to that account.

                  8.     The Court found Defendant in constructive civil contempt of the Preliminary

          Injunction and ordered Defendant to comply with the Preliminary Injunction and that Defendant

          pay $2,500 to Ohana for every 24 hours that passed without Defendant complying with the

          Preliminary Injunction.

                  9.     Subsequent to the June 27, 2024, hearing, Ohana learned information

          demonstrating that Defendant perjured themselves with respect to their testimony regarding their

          access and their ability to access the Ohana Microsoft 365 Tenant. In fact, Defendant Dillon-Capps

          can access multiple Global Admin accounts in the Ohana Microsoft 365 Tenant and can access

          Ghana's GoDaddy Account without the use of the mysteriously disappeared key fobs . See

          Affidavit of Daniel J. Levett, filed herewith as Exhibit 1 hereto.

                  10.    Thus, in addition to the fees ordered on June 27, 2024, Plaintiff now is seeking

          incarceration to compel compliance with the Court's June 26, 2024 Preliminary Injunction.



                                                           2


M&S Attachments                                       Page# 8 of20                                     Exhibit 165-0703
            Case 1:24-cv-03744-BAH           Document 16-15         Filed 01/03/25      Page 53 of 151




                  WHEREFORE, for the foregoing reasons, Ohana requests entry of an Order:

                  A.     Directing Defendant to personally appear in open Court to show cause as to why

          they should not be held in further contempt of the Preliminary Injunction and incarcerated, in

          addition to being subject to a $2,500 fine for every 24-hour period that they do not comply with

          the Preliminary Injunction; and

                  B.     Directing that, pursuant to Rule 15-206(c)(2)(A), the alleged contemnor, Ryan

          Dillon-Capps, file an answer to this Petition for Constructive Civil Contempt within ten (10) days

          of the service of the Court's Order and this Petition in accordance with Rule 15-206(d).

          July 3, 2024                                        Respectfully submitted,


                                                              Isl Robert S. Brennen
                                                              Robert S. Brennen (AIS # 8712010068)
                                                              e-mail: RBrennen@milesstockbridge.com
                                                              Stephen D. Frenkil (AIS # 7712010110)
                                                              e-mail: SFrenkil@milesstockbridge.com
                                                              Victoria K. Hoftberger (AIS # 1912170195)
                                                              e-mail: VHoffberger@milesstockbridge.com
                                                              MILES & STOCKBRIDGE P.C.
                                                              100 Light Street
                                                              Baltimore, Maryland 21202
                                                              Telephone:      (410) 72 7-6464
                                                              Facsimile:      (410) 385-3 700

                                                              Counsel for PlaintiffOhana Growth
                                                              Partners, LLC

                                            CERTIFICATE OF SERVICE
                  I HEREBY CERTIFY that on July 3, 2024, a copy of the Petition to Show Cause and for

          Constructive Civil Contempt was sent via email to ryan@mxt3 .com and served on via first-

          class mail, postage prepaid on:

                                Ryan Dillon-Capps
                                1334 Maple Avenue
                                Essex, Maryland 21221
                                                              Isl Robert S. Brennen


                                                          3


M&S Attachments                                      Page# 9 of20                                    Exhibit 165-0703
            Case 1:24-cv-03744-BAH              Document 16-15        Filed 01/03/25     Page 54 of 151




           OHANA GROWTH PARTNERS, LLC                        IN THE

                                   Plaintif];                CIRCUIT COURT

           vs.                                               FOR

           RYAN DILLON-CAPPS                                 BALTIMORE COUNTY

                                   Defendant.                CASE NO.: C-03-CV-24-002264


                                    ORDER TO APPEAR AND SHOW CAUSE

                    Upon consideration of Ohana' s Petition for Show Cause Order and Constructive Civil

          Contempt (the "Petition"), and for good cause shown, it is this __ day of _ _ _ _ _ , 2024,

          hereby:

                    ORDERED that the Petition be, and hereby is, GRANTED ; and it is further

                    ORDERED that any Answer that Defendant Ryan Dillon-Capps intends to submit in

          response to the Petition shall be filed within ten ( 10) days of the service upon Defendant of this

          Order and the Petition in accordance with Rule 15-206(d); and it is further

                    ORDERED that Defendant Ryan Dillon-Capps shall appear before the Circuit Court for

          Baltimore County, Maryland on the __ day of July, 2024, at _       a.m./p.m. for a hearing at which

          Defendant Ryan Dillon-Capps shall show cause why they should not be held in contempt of this

          Court' s June 26, 2024 Preliminary Injunction and incarcerated until such time as Defendant

          complies with the Preliminary Injunction.




                                                                Judge, Circuit Court for Baltimore County




M&S Attachments                                       Page# 10 of20                                  Exhibit 165-0703
            Case 1:24-cv-03744-BAH          Document 16-15           Filed 01/03/25   Page 55 of 151




          TO THE PERSON ALLEGED TO BE IN CONTEMPT OF COURT:

          1. It is alleged that you have disobeyed a court order, are in contempt of court, and should

          go to jail until you obey the court's order.

          2. You have the right to have a lawyer. If you already have a lawyer, you should consult the

          lawyer at once. If you do not now have a lawyer, please note:

                         (a) A lawyer can be helpful to you by:

                                (1) explaining the allegations against you;

                                (2) helping you determine and present any defense to those allegations;

                                (3) explaining to you the possible outcomes; and

                                (4) helping you at the hearing.

                         (b) Even if you do not plan to contest that you are in contempt of court, a

                         lawyer can be helpful.

                         (c) If you want a lawyer but do not have the money to hire one, the Public

                         Defender may provide a lawyer for you.

                  •   To find out if the Public Defender will provide a lawyer for you, you must contact

                      the Public Defender after any prehearing conference or magistrate' s hearing and

                      at least 10 business days before the date of a hearing before a judge.

                  •   If no prehearing conference or magistrate's hearing is scheduled, you should

                      contact the Public Defender as soon as possible, at least 10 business days before

                      the date of the hearing before the judge.

                  •   The court clerk will tell you how to contact the Public Defender.

                  (d) If you want a lawyer but you cannot get one and the Public Defender will not

                  provide one for you, contact the court clerk as soon as possible.




M&S Attachments                                     Page# 11 of2 0                               Exhibit 165-0703
            Case 1:24-cv-03744-BAH         Document 16-15           Filed 01/03/25   Page 56 of 151




                  (e) DO NOT WAIT UNTIL THE DATE OF YOUR COURT HEARING TO GET A

                  LA WYER. If you do not have a lawyer before the court hearing date, the judge may

                  find that you have waived your right to a lawyer, and the hearing may be held with

                  you unrepresented by a lawyer.

          3. IF YOU DO NOT APPEAR FOR A SCHEDULED PREHEARING CONFERENCE,

          MAGISTRATE'S HEARING, OR COURT HEARING BEFORE THE JUDGE, YOU

          WILL BE SUBJECT TO ARREST.




M&S Attachments                                    Page# 12 of2 0                             Exhibit 165-0703
              Case 1:24-cv-03744-BAH                   Document 16-15
DocuSign Envelope ID: 26101CE4-EA96-434E-822B-B268A3995703                     Filed 01/03/25   Page 57 of 151


                                                                                                   Exhibit 1
             OHANA GROWTH PARTNERS, LLC                             IN THE

                                          Plaintiff,                CIRCUIT COURT

             vs.                                                    FOR

             RYAN DILLON-CAPPS                                      BALTIMORE COUNTY

                                          Defendant.                CASE NO.: C-03-CV-24-002264

                                                AFFIDAVIT OF DANIEL J. LEVETT

                      I, DANIEL J. LEVETT, being over the age of eighteen ( 18) and competent to testify, and

             having personal knowledge of the facts contained herein, state as follows :

                       l.       I am the Managing Director for Workforce Collaboration with Hartman Executi ve

             Advisors ("HEA"), a technology leadership and advisory firm based in Timonium, Maryland.

                      2.        I have been managing or administering Microsoft systems for more than 22 years ,

             with the most recent 6 in a senior executive role. I have successfully developed Offi ce365 /

             M365 tenants for numerous organizations similar in size and scope to the Ohana Growth Partners

             M365 environment. Attached as Exhibit A hereto is a copy of biographical information

             describing my education history, experience and certifications.

                      3.        One June 12 2024 HEA was retained by Ohana Growth Partners, LLC

             ("Ohana"), the Plaintiff in the above-captioned matter, to provide IT leadership and technical

             support to Ohana, including Microsoft 365 Security Assessment and Remediation . Since that

             time I have been involved in HEA ' s efforts to regain Ohana' s access to Global Admin rights in

             Ohana' s Microsoft 365 Tenant.

                      4.        Ohana could regain Global Admin rights in its Microsoft 365 Tenant if the

             Defendant, Ryan Dillon-Capps accessed the account and used his Global Admin rights to grant

             Global Admin rights to Ohana ' s senior executives or to an HEA representative.



             l 19447\000004\4889-7839-6622.v2




M&S Attachments                                              Page # 13 of 20                             Exhibit 165-0703
              Case 1:24-cv-03744-BAH                Document 16-15
DocuSign Envelope ID: 261D1CE4-EA96-434E-822B-B268A3995703                   Filed 01/03/25   Page 58 of 151




                       5.        I have reviewed the Court's Temporary Restraining Order entered on June 17,

            2024 (the "TRO") and Preliminary Injunction entered on June 26, 2024, both of which ordered

            Defendant Dillon-Capps to take steps to grant my HEA colleague Phil Leadore Global Admin

            rights to Ghana 's Microsoft 365 Tenant.

                       6.        I am advised that during a hearing on June 27, 2024 to determine whether

            Defendant Dillon-Capps should be found in contempt of the TRO and Preliminary Injunction,

            and which resulted in a finding of contempt, Defendant Dillon-Capps testified under oath to the

             effect that (a) he had not accessed the Ohana Microsoft 365 Tenant since June 13, 2024; and (b)

            that he could not access the Ohana Microsoft 365 Tenant as necessary to grant the admin rights

             as directed by the TRO and the Preliminary Injunction because a collection of key fobs , which

             he needed to complete multifactor authentication to access the Ohana Microsoft 365 Tenant, had

             mysteriously disappeared from Defendant Dillon-Capps ' home office.

                       7.        I am further advised that during the June 27, 2024 hearing Defendant Dillon-

            Capps further testified that he likewise could not comply with the TRO and Preliminary

             Injunction's directive to provide the root level administrator account password for the Ohana

             GoDaddy Account because that access to that account also required use of the key fobs for

             multifactor authentication.

                       8.        Since June 27 , 2024 I have been in contact with Dante Martinez of Cielo IT,

            which provides helpdesk services to Ohana. Mr. Martinez serves as Helpdesk Manager for

            Ohana. In that capacity Mr. Martinez has limited administrative access to the Ohana Microsoft

             365 Tenant. On July 2, 2024 I asked Mr. Martinez to access the Ohana Microsoft 365 Tenant and

             to use his administrative rights to create for me a dan.levett@ohanagp.com account. He then

            used his Exchange Admin rights to provide my dan.levett@ohanagp.com account the ability to



                                                                  2
             I J9447I000004\4889-7839-6622 .v2




M&S Attachments                                              Page# 14 of20                             Exhibit 165-0703
               Case 1:24-cv-03744-BAH
DocuSign Envelope ID : 261 D1 CE4-EA96-434E-822B-B268A3995703  Document 16-15        Filed 01/03/25   Page 59 of 151




             access and search the Defendant Ryan Dillon-Capps ryan.wagner@ohanagp.com email mailbox.

             Mr. Martinez also granted my dan.levett@ohanagp.com account access to the IT Team's internal

             documentation.

                        9.         A search that I conducted of the ryan.wagner@ohanagp.com mailbox and/or IT

             documentation revealed a document identifying the Customer Number for the GoDaddy account

             associated with ryan.wagner@ohanagp.com as 20171927, which is the Customer Number

             associated with the Ohana GoDaddy Account, along with the Customer Support PIN.

                         I 0.      On July 2, 2024 I went on the GoDaddy.com website and initiated a password

             reset for any account associated with Defendant Dillon-Capps Ohana email account,

             ryan.wagner@ohanagp.com, That request resulted in my being sent a link for resetting the

             password for such an account and a request that I verify my identity as owner of the account

             through multifactor authentication either through use of an Authenticator app, which had been

             downloaded to an "RDC" smart phone or tablet (See https://www.microsoft.com/en-

             uslsecuritylmobile-authenticator-app ) or by receiving a text to a cell phone with a number

             ending with 1113 :




                   Try another way
                   Please choose a method to verify your identity:
                   0 RDC Microsoft Authenticator App
                   0 ···-··· -1113
                                                    Continue

                   T[Y. another way_




             Defendant Dillon-Capp's cell phone number is 703-303-1113 .

                                                                          3
              I l 9447\000004\4889- 7839-6622 .v2




M&S Attachments                                                      Page# 15 of20                             Exhibit 165-0703
              Case 1:24-cv-03744-BAH
DocuSign Envelope ID: 26101CE4-EA96-434E-822B-B268A3995703         Document 16-15            Filed 01/03/25   Page 60 of 151




                         11.              Thus, contrary to Defendant n Dillon-Capps testimony, Defendant Dillon-Capps

             could access the Ohana GoDaddy Account and could comply with the TRO and Preliminary

             Injunction without using one of the purportedly missing key fobs , as Defendant Dillon-Capps

             could have performed any required multifactor authentication using his cell phone.

                         12.              On June 27, 2024, I asked Mr. Martinez to access the Ohana Microsoft 365

             Tenant during a Microsoft Teams meeting video conference, to share his computer screen

             showing the Tenant, and to review policies imposed on the Tenant regarding requirements for

             multifactor authentication. That review, which I witnessed, revealed that there are currently three

             Global Admin Accounts in the Ohana Microsoft 365 Tenant: (i) that assigned to Defendant

             Dillon-Capps at rdc@ohanagp.com; (ii) a "For Emergency Use Only" "BreakGlass" account at

             GA.breakglass@ohanagp.omnicrosoft.com;                           and        a     "Null   Backup"    account    at

             null.backup@ohanagp.omnicrosoft.com:

               Home > Aclrw ustf'I


              Active users




                D     --1

                D ,.. Eme'll""')IU.. O"Y
                D     Null lladcup

                0     Ry~n Ollon..capps               lltlC   ........




             Contrary to Defendant Dillon-Capps ' testimony, all of the existing Global Admin accounts set

             up in the system are expressly excluded from multifactor authentication Conditional Access

             polices.

                          13.             The following is a June 27, 2024 screenshot showing the current authentication

             methods available for Defendant Dillon-Capps ' s account:




                                                                              4
             l 194471000004\4889-7839-6622 .v2




M&S Attachments                                                          Page# 16 of20                                 Exhibit 165-0703
                   Case 1:24-cv-03744-BAH
DocuSign Envelope ID : 261 D1 CE4-EA96-434E-822B-B268A3995703                Document 16-15                                      Filed 01/03/25                                Page 61 of 151



                  _     , a....-.-1u       >         , ,.._,
                       Ryan Dillon-Capps I Authentication methods

                                                          X,,.,_,        P -.....- 0


                                             AUVllJllicltb, ~ 1R       ~)QI'.,_, 19' intD MicrolDtt lrlb1 ID. r1tJt. )'OIi c."I .Ml tht phont nwmbffl Ind ffl\l~ ICfdrffl4'l lNI VSffl UM to perform ITIVllf«tor
                                             IUINnb(.ltjOftlnQ srtl'~ Pll'MOfd NMtlnOtMftlUW°lpenwotd.


                                             Authcnllcotion contllct Info




                                             Alttmlltphofii




             Thus, Defendant Dillon-Capps could access his account and complete required multifactor

             authentication using either his cell phone or his private email address, ryan@mxt3 .com. He

             would not need a key fob.

                              14.    The following is a June 27, 2024 screenshot showing the current authentication

             methods available for the For Emergency Use Only account:
                       ' °"'"" _ _ ,_,     I/MIi )   ..   ~u.
                       For Emergency Use Only I Authentication methods

                                                                                                                                                                                      R   Got~d11




              ·       -logs
                                          ~mtehodswetht.a,,."fO',II\IMl1'9"11'1tOMIIOOtli1fllMrtO                   ,OU    Mttht        flt,lfflbtr'JNenwi~INIWM"SUM'lOPetbmm1.11trt~

                   . _..., _ _
                      -logs               ~ a n d self"lffib ptHlllOIG      lndrt:sttlus.tr'lpwworG.




                                          -
              ~---
               f      Anlre role ~




             Thus, Defendant Dillon-Capps, or anyone else, could access the For Emergency Use Only

             account potentially without any multifactor authentication, and may only need the password for



                                                                                                           5
              I 19447\000004\4889- 78 39-6622 .v2




M&S Attachments                                                                              Page# 17 of20                                                                                               Exhibit 165-0703
               Case 1:24-cv-03744-BAH
DocuSign Envelope ID: 261 D1 CE4-EA96-434E-822B-B268A3995703                Document 16-15                             Filed 01/03/25                           Page 62 of 151




             the account. A key fob may not be required, or rather simply an MF A code retrieved from an

             Authentication App.

                                15.       The following is a June 27, 2024 screenshot showing the current authentication

             methods available for the Null Backup account:
              Homt > O...Grclwd,~fUMn > UNn > Null


                     ...
                     Null Backup I Authentication methods

              ~IP___ _ ___,I •
              ,. _                          lil- X

              . .........
                                            ~mmads1Mft~)OurUSfflll!ill'J._Mktoiait&t:A:D.Hlf9,)Cmmtlltthe~..-btnlf'IO' . . . ildlhllitsM.m'5t-fDptl1cwnl"""'~
              e, ...,,....,..               MnlnlliCMIOnandltf•Sllf"ta PHWIIOfdmlt.andflMtl ut#'IPffl'ID"l
              j( _         ... _ _




              II ann            «trb1tK     "--




                                            """

                 -
             Thus, Defendant Dillon-Capps, or anyone else, could likely access the Null Backup account

             without any multifactor authentication whatsoever and would only need the password for the

             account. No key fob appears to be required.

                                16.       For the reasons stated in Paragraphs 12 through 15 above, contrary to Defendant

             Ryan Dillon-Capps testimony, Defendant Dillon-Capps could access Global Admin rights for the

             Ohana Microsoft 365 Tenant and could comply with the TRO and Preliminary Injunction

             without using one of the purportedly missing key fobs .

             I SOLEMNLY DECLARE AND AFFIRM UNDER PENALTIES OF PERJURY AND
             UPON PERSONAL KNOWLEDGE THAT THE CONTENTS OF THE FOREGOING
             PAPER AND EXHIBITS THERETO ARE TRUE.

                                                                                                    OocuS1gned by:


             Date: July 3, 2024                                                                   Do.wJ, J lJ»Jf
                                                                                               DaJfcl'l'Y~~---
                                                                                                            et_t_ _ _ _ _ _ __


                                                                                                     6
             l l 94471000004\4889-7839-6622 .v2




M&S Attachments                                                                           Page# 18 of20                                                                  Exhibit 165-0703
                       Case 1:24-cv-03744-BAH                            Document 16-15                         Filed 01/03/25                   Page 63 of 151
DocuSign Envelope ID: 261D1CE4-EA9~34E-822B-B268A3995703
 • ,..,,,.... , , . •u r •••                                                     lt~Jitflfr             'l_rtman Executive Advisors

       a ' H/\RTM/\N                                                                                                                                              \.iiio>612-3011
   ◄
       • ► C.KCCUTIYC
           -
                      A.rYt,/1■0"■
                      20-




                                          +. BACK TO OUR TEAM




                                      Daniel J. Levett
                                      Managing Director, Workforce Collaboration
                                      \. Phone
                                      ml Llnkedln Profile

                                         With a background in engineering and nearly two decades of experience in business and rr. Dan knows that
                                         strategic thinking around technology can transform business operations and help organizations thrive in a
                                     competitive landscape. Highly analytica~ Dan chaUenges his clients lo consider the "why" questions before jumping
                                     lo the "how " answers. Once he has had the chance to observe the people. processes and technology in place al an
                                          organization, Dan analyzes the situation In order to make appropriate recommendations for Improvement,


                                     Dan sharpened his technical skills performing challenging tier Ill/lier IV network engineering and architecture work
                                         for PNC Bank. Brown Advisory and All Covered (formerly America's Remote Help Desk), His background also
                                     includes strategic IT road mapping, project management and budget planning to reduce on-premise Infrastructure,
                                     decentraUze critical data and reduce overall support costs. In his role at Hartman, Dan knows that communication is

                                      key to any successful technology implementation. As such, he's adept at breaking down highly technical concepts
                                                            Into terms and goals that resonate across all levels of an organization,


                                      Out of the office, Dan uses his engineering know-how to complete various DIV projects around the house. He also
                                         enjoys spending time at the gym, riding his motorcycle with his wife, and supporting the animal community.




                                                                          Education & Certifications
                                                                          ➔ Cisco CCNA. carroll Community College

                                                     ➔   SkyUne Advanced Technology Services - Building Scalable Cisco lnternetworks

                                                                 ➔   New Horizons - lnter<:onnectlng Cisco Network Devices

                                                                     ➔   /Training/Etc- Red Hat Enterprise Linux RH-133

                                                                                 ➔ A• Certification, CompTIA




                                                                 Are You Ready for Unbiased IT Leadership?




 https://hartmanadvisors.com/team/daniel-j-levett/                                                                                                                              1/2
M&S Attachments                                                                     Page# 19 of20                                                           Exhibit 165-0703
                 Case 1:24-cv-03744-BAH
D~~~,~~.nL~~i~l~pe ID : 261 D1 CE4-EA96-434E-822B-B268A3995703                      lt~11trn~
                                                                               Document 16-15trtman
                                                                                                 Filed  01/03/25
                                                                                                    Executive Advisors
                                                                                                                                      Page 64 of 151

                                                                                     GET A FREE CONSULTATION   I



                                 1954 Greenspring Drive

                                 Suite 320




                                  Industries                                    Services                       Resources



                                                                                                                   ,OIN OUR TEA!\;\




                                 Czo24 Hartman Advisors AU Right.I: Reserved


                                 I Wabsrte Pnvacy Poucy and T8fm!i of Use




 https://hartmanadvisors.com/team/daniel-j-levett/                                                                                                                2/2
M&S Attachments                                                                       Page # 20 of 20                                          Exhibit 165-0703
            Case 1:24-cv-03744-BAH              Document 16-15       Filed 01/03/25      Page 65 of 151




           OHANA GROWTH PARTNERS, LLC                       IN THE

                                   Plaintiff,               CIRCUIT COURT

           vs.                                              FOR

           RY AN DILLON-CAPPS                               BALTIMORE COUNTY

                                   Defendant.               CASE NO.: C-03-CV-24-002264


                                        NOTICE OF WITHDRAWAL
                                                  OF
                              PETITION FOR CONSTRUCTIVE CIVIL CONTEMPT


                    Plaintiff, Ohana Growth Partners, LLC. ("Plaintiff' or the "Ohana"), by its undersigned

          attorneys, hereby gives notice to the Court that Ohana is withdrawing the Petition for Constructive

          Civil Contempt (seeking incarceration) Ohana filed on July 3, 2024, and in connection therewith

          states:

                    1.     On July 12, 2024, Ohana, without any cooperation from or action by Defendant

          Dillon-Capps, and with the assistance of representatives of Microsoft Corporation, succeeded in

          securing Global Administrative rights and administrative control over Ghana ' s Microsoft 365

          Tenant. However, Defendant Dillon-Capps remained in contempt of the Court's June 26, 2024

          Preliminary Injunction as it pertains to transferring control of Ohana' s Go Daddy Account back to

          Ohana.

                    2.     On July 17, 2024, at approximately 8:20 a.m. , Ohana, with the assistance and

          cooperation of Defendant Dillon-Capps, regained administrative control over the Ohan a Go Daddy

          Account. Thus, while the Preliminary Injunction should remain in full force and effect with regard

          to enjoining Defendant Dillon-Capps from accessing and/or making configuration changes to the

          Ohana Microsoft 365 Account and/or the Ohana GoDaddy Account, and notwithstanding




M&S Attachments                                       Page# l of4                                    Exhibit 165-0717
            Case 1:24-cv-03744-BAH               Document 16-15      Filed 01/03/25      Page 66 of 151




          Defendant Dillon-Capps' failure to ever take required action to transfer administrative control of

          Ohana's Microsoft 365 Tenant to Ohana, Defendant Dillon-Capps ' contempt of the Court ' s

          Preliminary Injunction, and any need to further coerce Defendant Dillon-Capps to cure their

          contempt, ended as of 8:20 a.m., July 17, 2024.

                  3.     As it is no longer necessary or appropriate for Defendant Dillon-Capps to be

          incarcerated as a means of coercing them to cure their contempt, Plaintiff Ohana withdraws its

          July 3, 2024 Petition for Constructive Civil Contempt.

                  4.     Ohana reserves all rights with respect to seeking entry of a judgment in Ohana ' s

          favor and against Defendant Dillon-Capps in an amount equal to the fines that accrued, pursuant

          to the Court' s June 27, 2024 Order Holding Defendant in Constructive Civil Contempt, through

           1:57 p.m. on July 16, 2024, and all rights with respect to the claims pending pursuant to Ohana 's

          Complaint.

                  WHEREFORE, for the foregoing reasons, Ohana requests entry of an Order:

                  A.     Directing the Clerk make an appropriate entry on the docket for this matter

          reflecting that Plaintiff Ohana's July 3, 2024 Petition for Constructive Civil Contempt (seeking

           incarceration) has been withdrawn ;

                  B.     Striking the Court' s July 8, 2024 Order to Appear and Show Cause;

                  C.     Cancelling the Show Cause Hearing currently set for August 7, 2024 at I p.m.; and

                  D.     Confirming that the Court ' s June 26, 2024 Preliminary Injunction remains in full

          force and effect with regard to enjoining Defendant Dillon-Capps from accessing and/or making

          configuration changes to the Ohana Microsoft 365 Account and/or the Ohana GoDaddy Account.




                                                            2

M&S Attachments                                       Page# 2 of4                                    Exhibit 165-0717
            Case 1:24-cv-03744-BAH          Document 16-15         Filed 01/03/25      Page 67 of 151




          July I 7, 2024                                     Respectfully submitted,


                                                             Isl Robert S. Brennen
                                                             Robert S. Brennen (AIS # 8712010068)
                                                             e-mail: RBrennen@milesstockbridge.com
                                                             Stephen D. Frenkil (AIS # 7712010110)
                                                             e-mail: SFrenkil@milesstockbridge.com
                                                             Victoria K. Hoffberger (AIS # 1912170195)
                                                             e-mail: VHoffberger@milesstockbridge.com
                                                             MILES & STOCKBRIDGE P.C.
                                                              100 Light Street
                                                             Baltimore, Maryland 21202
                                                             Telephone:      (410) 727-6464
                                                             Facsimile:      (410) 385-3700

                                                             Counsel for Plaint{ffOhana Growth
                                                             Partners, LL('

                                          CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on July 17, 2024, a copy of the foregoing Notice of Withdrawal of

          Petition for Constructive Civil Contempt and accompanying Proposed Order were sent via

          email to ryan@mxt3 .com and served on via first-class mail, postage prepaid on:

                                Ryan Dillon-Capps
                                1334 Maple Avenue
                                Essex, Mary land 21221
                                                             Isl Robert S. Brennen




                                                         3

M&S Attachments                                     Page# 3 of4                                  Exhibit 165-0717
            Case 1:24-cv-03744-BAH              Document 16-15        Filed 01/03/25     Page 68 of 151




           OHANA GROWTH PARTNERS, LLC                       IN THE

                                  Plaintiff,                CIRCUIT COURT

            vs .                                            FOR

           RY AN DILLON-CAPPS                               BALTIMORE COUNTY

                                  Def endant.               CASE NO.: C-03-CV-24-002264


                                           [PROPOSED]
                         ORDER STRIKING ORDER TO APPEAR AND SHOW CAUSE

                   Upon consideration of Plaintiff Ohana Growth Partners, LLC 's Notice of Withdrawal of

          Petition for Constructive Civil Contempt, it is this __ day of - - - - ~ 2024, hereby:

                   ORDERED that the Clerk make an appropriate entry on the docket for this matter reflecting

          that Plaintiff Ohana' s July 3, 2024 Petition for Constructive Civil Contempt (seeking

          incarceration) has been withdrawn; and it is further

                   ORDERED that the Court's July 8, 2024 Order to Appear and Show Cause be, and hereby

           is STRICKEN; and it is further

                   ORDERED that Show Cause Hearing currently set for August 7, 2024 at 1 p.m. be, and

          hereby is CANCELLED; and it is further:

                   A.     ORDERED that the Court 's June 26, 2024 Preliminary Injunction remains in full

          force and effect with regard to enjoining Defendant Dillon-Capps from accessing and/or making

          configuration changes to the Ohana Microsoft 365 Account and/or the Ohana GoDaddy Account.




                                                                 Judge, Circuit Court for Baltimore County




M&S Attachments                                       Page# 4 of4                                    Exhibit 165-0717
            Case 1:24-cv-03744-BAH             Document 16-15          Filed 01/03/25       Page 69 of 151




           OHANA GROWTH PARTNERS, LLC                         IN THE

                                  Plaintiff,                  CIRCUIT COURT

           vs.                                                FOR

           RY AN DILLON-CAPPS                                 BALTIMORE COUNTY

                                  Defendant.                  FILE NO.: C-03-CV-24-002264


                               REQUEST FOR ENTRY OF ORDER OF DEFAULT
                                AGAINST DEFENDANT RY AN DILLON-CAPPS

                  Plaintiff, Ohana Growth Partners, LLC ("Plaintiff'), by and through its undersigned

          attorneys, pursuant to Maryland Rule 2-613 , hereby files this Request for Entry of Order of Default

          against Defendant Ryan Dillon-Capps ("Defendant"). In support thereof, Plaintiff states as

          follows:

                  1.     Plaintiff filed its complaint against Defendant on June 14, 2024.

                  2.     Defendant was personally served with the Summons, Complaint, and all related

          exhibits and papers on June 17, 2024. See Exhibit 1.

                  3.     Defendant was required to file a written response to the Complaint within thirty

          (30) days of service, on or before Wednesday, July 17, 2024. See Md. Rule 2-321(a) ("A party

          shall file an answer to an original complaint . . . within 30 days after being served .... ").

                  4.     Defendant has failed to file a responsive pleading.

                  5.     As a result of Defendant's failure to file an Answer to the Complaint or other

          responsive pleading within thirty (30) days of service as required by the Maryland Rules, Plaintiff

          respectfully requests that an Order of Default be entered against Defendant.

                  6.     Defendant is not a member of the Military. An Affidavit of Non-Military Status of

          Ryan Dillon-Capps is attached hereto as Exhibit 2.




M&S Attachments                                        Page# I of 12                                       Exhibit 165-0820
            Case 1:24-cv-03744-BAH            Document 16-15         Filed 01/03/25       Page 70 of 151




                  7.     The last known address for Defendant Ryan Dillon-Capps is 1334 Maple Avenue,

          Essex, Maryland 21221.

                  WHEREFORE, based on the foregoing , Plaintiff Ohana Growth Partners, LLC respectfully

          requests that the Court enter an Order of Default against Defendant Ryan Dillon-Capps and direct

          the Clerk to issue a notice informing Ryan Dillon-Capps that an Order of Default was entered and

          providing that if Ryan Dillon-Capps fails to file a Motion to Vacate the Order of Default, a default

          judgment may be entered against them.

          Dated: August 20, 2024

                                                               Isl Robert S. Brennen
                                                               Robert S. Brennen (AIS # 8712010068)
                                                               e-mail : RBrennen@milesstockbridge.com
                                                               Stephen D. Frenkil (AIS # 7712010110)
                                                               e-mail: SFrenkil@milesstockbridge.com
                                                               Victoria K. Hoffberger (AIS # 1912170195)
                                                               e-mail : vhoffberger@milesstockbridge.com
                                                               Jessica L. Duvall (AIS # 1812110110)
                                                               e-mail: jduvall@milesstockbridge.com
                                                               MILES & STOCKBRIDGE P.C.
                                                               I 00 Light Street
                                                               Baltimore, Maryland 21202
                                                               Telephone:      (410) 727-6464
                                                               Facsimile:      (410) 385-3700

                                                               Counsel for PlaintiffOhana Growth
                                                               Partners, LLC




M&S Attachments                                      Page# 2 of 12                                    Exhibit 165-0820
            Case 1:24-cv-03744-BAH          Document 16-15         Filed 01/03/25      Page 71 of 151




                                         CERTIFICATE OF SERVICE

                  I HEREBY CERTIFY that on August 20, 2024, a copy of the foregoing was sent via

          email to ryan@mxt3 .com and served on via first-class mail, postage prepaid on:

                                Ryan Dillon-Capps
                                1334 Maple Avenue
                                Essex, Maryland 21221
                                                               /<;/ Robert S. Brennen
                                                              Robert S. Brennen (AIS # 8712010068)




M&S Attachments                                     Page# 3 ofl2                                Exhibit 165-0820
            Case 1:24-cv-03744-BAH   Document 16-15        Filed 01/03/25   Page 72 of 151




                                           EXHIBIT 1
                               Request For Entry of Order of Default




M&S Attachments                             Page# 4 ofl2                             Exhibit 165-0820
             Case 1:24-cv-03744-BAH                   Document 16-15             Filed 01/03/25
                                                                                           E-FILED;Page   73 of
                                                                                                    Baltimore   151 Circuit Court
                                                                                                              County
                                                                          Docket: 6/18/2024 3:08 PM; Submission: 6/18/2024 3:08 PM
                                                                                                              Envelope: 16887656
                                             AFFIDAVIT OF PROCESS SERVER
                                            Circuit Court for Baltimore County, Maryland



       Ohana Growth Partners, LLC                                     Attorney: *******
                        Plaintiff(s),                                 Miles & Stockbridge P.C.
                                                                      I 00 Light Street
       vs.                                                            Baltimore MD 21202



                                                                         IIIII II Ill II Ill II Ill II Ill II Ill II Ill IIIII
       Ryan Dillon-Capps
                        Defendant( s).



       Case Number: C-03-CV-24-002264

       Legal documents received by Same Day Process Service, Inc. on 06/14/2024 at 1:54 PM to be served upon Ryan
       Dillon-Capps at 1334 Maple Avenue, Essex, MD 21221

       I, Rodney Getlan, swear and affirm that on June 17, 2024 at 11:24 AM, I did the following :

       Personally Served Ryan Dillon-Capps the person listed as the intended recipient of the legal document with this Writ
       of Summons (issued on 06/14/2024); Civil - Non-Domestic Case Information Sheet; Complaint; Plaintiff's Motion
       for Temporary Restraining Order and Preliminary Injunction; Memorandum in Support of Ohana Growth
       Partners' Motion for Temporary Restraining Order and Preliminary Injunction; Exhibits; Temporary
       Restraining Order; Certificate of Notice Regarding Motion for Temporary Restraining Order at 1334 Maple
       Avenue, Essex, MD 21221.

       Description of Person Accepting Service:
       Sex: Male Age: 43 Height: 5ft4in-5ft8in Weight: Over 200 lbs Skin Color: Caucasian Hair Color: Black

       Supplemental Data Appropriate to this Service:




       I declare under penalty of perjury that the foregoing information contained in thi s affidavit is true and correct and that I
       am a professional process server over the age of I 8 and have no interest in the above legal matter.




                                                                 Process Server
                                                                                            -----
                                                                 Same Day Process Service, Inc.
                                                                 1413 K St., NW, 7th Floor
                                                                                                                           Imernal Job
                                                                                                                           ID:318135



                                                                 Washington DC 20005
                                                                 (202)-398-4200
                                                                 info@samedayprocess.com




M&S Attachments                                                Page# 5 of 12                                            Exhibit 165-0820
            Case 1:24-cv-03744-BAH   Document 16-15        Filed 01/03/25   Page 74 of 151




                                           EXHIBIT 2
                               Request For Entry of Order of Default




M&S Attachments                             Page# 6 of12                             Exhibit 165-0820
             Case 1:24-cv-03744-BAH                      Document 16-15      Filed 01/03/25   Page 75 of 151




            OHANA GROWTH PARTNERS, LLC                               IN THE

                                            Plaintiff,               CIRCUIT COURT

            VS.                                                      FOR

            RYAN DILLON-CAPPS                                        BALTIMORE COUNTY

                                            D~fendant.               FILE NO.: C-03-CV-24-002264


                                AFFIDAVIT OF DEFENDANT'S NON-MILITARY STATUS

                     I, RICHARD HARTMAN, being over the age of eighteen (18) and competent to testify,

          and having personal knowledge of the facts contained herein, state as follows :

                     1.         I am the Vice President of People and Culture for Ohana Growth Partners, LLC

          ("Ohana"), the Plaintiff in the above-captioned matter. In that capacity I have responsibility over

          Ohana's human resources functions .

                     2.         I have made a careful investigation to ascertain whether Defendant Ryan Dillon-

          Capps ("Defendant") is in the military service of the United States of America (or in the military

          service of any nation allied with the United States of America) or a member of the military reserves

          who has been ordered to report for military service, as defined under the Servicemembers Civil

          Relief Act.

                     3.         The information data banks of the Department of Defense Manpower Data Center

          indicate that, as of August 19, 2024, no individuals with the first and last name and birthdate of

          the above Defendant is or has been on active duty with the Uniformed Services (Army, Navy,

          Marine Corps, Air Force, NOAA, Public Health, and Coast Guard) within the preceding 367 days.

          (See Exhibit A).

                     4.         The last known address of Defendant Ryan Dillon-Capps is 1334 Maple Avenue,

          Essex, Mary land 21221.


           I I 9447\000004\4858-2179-7334.v l




M&S Attachments                                               Page# 7 ofl2                             Exhibit 165-0820
            Case 1:24-cv-03744-BAH           Document 16-15       Filed 01/03/25   Page 76 of 151




                                                                  7
                    I SOLEMNLY DECLARE AND AFFIRM UNDER PENALTIES OF PERJURY
          AND       UPON PERSONAL KNOWLEDGE THAT THE CONTENTS OF THE

          FOREGOING PAPER AND EXHIBITS T~/RE~O                        ~

          Date: August 19, 2024                               (/      ~
                                                    Richard Hartman




                                                       2
          l 19447\000004\4858-2179-7334.vl




M&S Attachments                                   Page# 8 of 12                             Exhibit 165-0820
            Case 1:24-cv-03744-BAH   Document 16-15       Filed 01/03/25   Page 77 of 151




                                       Exhibit A




M&S Attachments                           Page# 9 of 12                             Exhibit 165-0820
               Case 1:24-cv-03744-BAH                                     Document 16-15                                Filed 01/03/25                             Page 78 of 151
                                                                                                                                                                      Results as of : Aug-19-2024 02:03:51 PM
     ,Department of Defense Manpower Data Center
                                                                                                                                                                                                   SCRA 5.21




                              Status Report
                              Purauant to Servicememhers Civil llelief Act


     SSN :                      XXX-XX-2585
     Birth Date :               Aug-XX-1980
     Last Name:                 DILLON-CAPPS
     First Name:                RYAN
     Middle Name:
     Status As Of:              Aug-19-2024
     Certificate ID:            68RQC4KZLNVLRDJ



                                                                                                                            -
                                                                                          0..


                                                                              On -       Duly On ldte Duly StalUa Dale
                -Duly-.tO.                    I               -DulyEndO..                           I                                                      I               5e/Vlce Component
                       NA                     I                        NA                           I                        No                            I                      NA
                                                    This response reftedl Ille ildlvlduals' active dufy status based on the Active Duly Slalus Date




                                                                     Left Adiwl Duly- 367 Days ot Activlt Duly S1aluo On

                -    Duly Start Dalo          I               -      Duly End Dale                   I                       S1atua                        I               5e/Vlce Component
                      NA                      I               I       NA I                          I ,..,.                  No                            I                      NA

                                       This response reflects ~      ht lndlVldual left active dlJly 11aty~',l'fthln 367 days preceding the Active Dufy Status Date




              Order-SlartOllle
                       NA
                                              I

                                              I
                                                           Order-Endo..
                                                                       NA
                                                                                                    I
                                                                                                     I
                                                                                                                            -
                                               The Menier ar HlalHer Unll W• Nalllled of• Futin C■II-Up to Adlve Duly on Adlve lluly St■tua Date


                                                                                                                             No
                                                                                                                                                           I

                                                                                                                                                           I
                                          This response reflects whether the inclvldual ar hia/hef"unlt haa recelwld eaty notlftcation to report 10< active dufy
                                                                                                                                                                           5elVlce Component
                                                                                                                                                                                  NA




     Upon searching the data banks of the Department of Defense Manpower Data Center, based on the information that you provided , the above is the status of
     the individual on the active duty status date as to all branches of the Uniformed Services (Army, Navy, Marine Corps, Air Force , Space Force, NOAA, Public
     Health , and Coast Guard). This status includes inform ation on a Servicemember or his/her unit receiving notification of future orders to report for Active Duty.




     Sam Yousefzadeh , Director
     Department of Defense - Manpower Data Center
     4800 Mark Center Drive, Suite 04E25
     Alexandria , VA 22350




M&S Attachments                                                                         Page# 10 of 12                                                                                 Exhibit 165-0820
               Case 1:24-cv-03744-BAH                             Document 16-15                    Filed 01/03/25                 Page 79 of 151
     ,:tie Defense Manpower Data Center (DMDC) is an organization of the Department of Defense (DoD) that maintains the Defense Enrollment and El igibility
     Reporting System (DEERS) database which is the official source of data on eligibility for military medical care and other eligibility systems.


     The DoD strongly supports the enforcement of the Servicemembers Civil Relief Act (SO USC App . § 3901 et seq , as amended } (SC RA) (formerly known as
     the Soldiers' and Sailors' Civil Relief Act of 1940). DMDC has issued hundreds of thousands of "does not possess any information indicating that the
     individual is currently on active duty" responses , and has experienced only a small error rate . In the event the individual referenced above , or any family
     member, friend , or representative asserts in any manner that the individual was on active duty for the active duty status date, or is otherwise entitled to the
     protections of the SCRA, you are strongly encouraged to obtain further verification of the person's status by contacting that person's Service. Service contact
     information can be found on the SCRA website's FAQ page (035) via th is URL: https://scra.dmdc.osd .mll/scra/#/faqs. If you have evidence the person
     was on active duty for the active duty status date and you fail to obtain this additional Service verification , pun itive provisions of the SCRA may be invoked
     against you . See 50 USC App . § 3921 (c).


     This response reflects the following information: (1) The individual's Active Duty status on the Active Duty Status Date (2) Whether the individual left Active
     Duty status within 367 days preceding the Active Duty Status Date (3) Whether the individual or his/her unit received early notification to report for active
     duty on the Active Duty Status Date.


     More information on "Active Duty Status"
     Active duty status as reported in this certificate is defined in accordance with 10 USC § 101 (d) (1 ). Prior to 2010 only some of the active duty periods less
     than 30 consecutive days in length were available. In the case of a member of the National Guard, this in cludes service under a call to active service
     authorized by the President or the Secretary of Defense under 32 USC § 502(1) for purposes of responding to a national emergency declared by the
     President and supported by Federal funds . All Active Guard Reserve (AGR) members must be assigned against an authorized mobilization position in the
     unit they support. This includes Navy Training and Administration of the Reserves (TARs), Marine Corps Active Reserve (ARs) and Coast Guard Reserve
     Program Administrator (RPAs). Active Duty status also applies to a Uniformed Service member who is an active duty commissioned officer of the U.S.
     Public Health Service or the National Oceanic and Atmospheric Administration (NOAA Commissioned Corps).


     Coverage Under the SCRA is Broader in Some Cases
     Coverage under the SCRA is broader in some cases and includes some categories of persons on active duty for purposes of the SCRA who would not be
     reported as on Active Duty under this certificate . SCRA protections are for Title 10 and Title 14 active duty records for all the Uniformed Services periods.
     Title 32 periods of Active Duty are not covered by SCRA, as defined in accordance with 10 USC§ 101(d)(1 ).


     Many times orders are amended to extend the period of active duty, which would extend SCRA protections. Persons seeking to rely on th is website
     certification should check to make sure the orders on which SCRA protections are based have not been amended to extend the inclusive dates of service .
     Furthermore, some protections of the SCRA may extend to persons who have received orders to report for active duty or to be inducted, but who have not
     actually begun active duty or actually reported for induction. The Last Date on Active Duty entry is important because a number of protections of the SCRA
     extend beyond the last dates of active duty .


     Those who could rely on this certificate are urged to seek qualified legal counsel to ensure that all rights guaranteed to Service members under the SCRA
     are protected


     WARNING : This certificate was provided based on a last name, SSN/date of birth , and active duty status date provided by the requester. Providing
     erroneous information will cause an erroneous certificate to be provided.




M&S Attachments                                                              Page # 11 of 12                                                          Exhibit 165-0820
            Case 1:24-cv-03744-BAH             Document 16-15          Filed 01/03/25     Page 80 of 151




           OHANA GROWTH PARTNERS, LLC                          IN THE

                                  Plaintiff,                   CIRCUIT COURT

           vs.                                                 FOR

           RY AN DILLON-CAPPS                                  BALTIMORE COUNTY

                                  Defendant.                   FILE NO.: C-03-CV-24-002264


                                                ORDER OF DEFAULT

                  Upon consideration of the Request for Entry of Order of Default Against Defendant Ryan

          Dillon-Capps ("Defendant") filed by the Plaintiff, Ohana Growth Partners, LLC ("Plaintiff'), it is

          by the Circuit Court for Baltimore County, hereby :

                  l.     ORDERED, that Plaintiffs' Request for Entry of Order of Default Against

          Defendant, Ryan Dillon-Capps is hereby GRANTED; and it is further

                  2.     ORDERED, that Defendant be, and hereby is declared to be in default with regard

          to the Complaint in this matter; and it is further

                  3.     ORDERED, that an Order of Default shall be and is hereby entered forthwith

          against Defendant, Ryan Dillon-Capps; and it is further

                  4.     ORDERED, that the Clerk of Court shall forthwith issue a Notice informing the

          Defendant, Ryan Dillon-Capps that an Order of Default has been entered against them, and that they

          may move to vacate the Order of Default within thirty (30) days after its entry, and the Clerk shall

          mail the required Notice to Ryan Dillon-Capps at the following address: 1334 Maple Avenue, Essex,

          Maryland 21221.


                                                                 Judge
                                                                 Circuit Court for Baltimore County




M&S Attachments                                       Page# 12 of 12                                  Exhibit 165-0820
            Case 1:24-cv-03744-BAH                        Document 16-15      Filed 01/03/25   Page 81 of 151




            OHANA GROWTH PARTNERS, LLC                                IN THE

                                             Plaintiff,               CIRCUIT COURT

            vs.                                                       FOR

            RY AN DILLON-CAPPS                                        BALTIMORE COUNTY

                                             Defendant.               FILE NO.: C-03-CV-24-002264


                                  OPPOSITION TO DEFENDANT'S MOTION TO DISMISS

                     Plaintiff, Ohana Growth Partners, LLC. ("Plaintiff' or the "Ohana"), by its undersigned

          attorneys , hereby responds in opposition to the Motion to Dismiss (the "Motion") filed by

          Defendant Ryan Dillon-Capps ("Defendant") and states as follows :

                                                             BACKGROUND

                     On Friday, June 14, 2024 , Ohana filed its Complaint alleging that Defendant had

          breached his Employment Agreement with Ohana and his duty of loyalty to Ohana, and had

          violated MD. CODE ANN., CRIM. LA w., §7-302(c)( 1) by seizing sole administrative control of

          Ghana's Microsoft 365 Tenant and Ghana's GoDaddy Account and refusing to comply with

          Ghana's directives to grant administrative control over those accounts to consultants designated

          by Ohana. That same day Ohana filed a Motion for a Temporary Restraining Order ("TRO") and

          a Preliminary Injunction seeking a TRO and Preliminary Injunction directing Defendant to

          comply with Ghana' s directives.

                     On Friday, June 14, 2024 at 11:49 a.m., in an effort to provide Defendant notice of the

          initiation of the litigation and Ohana'a pending motion for a TRO, counsel for Ohana transmitted

          copies of the Complaint, Case Information Sheet, Motion for TRO and Preliminary Injunction,

          and the Memorandum of Law and exhibits submitted in support of that motion to Defendant via

          Ryan.DillonCapps@ohanagp.com, an email address through which Defendant had



           I 19447100000414864- I 983-22 86.v3



M&S Attachments                                                 Page# I of8                             Exhibit 165-0909
            Case 1:24-cv-03744-BAH              Document 16-15          Filed 01/03/25      Page 82 of 151




          communicated with Ohana's management on the evening of July 13 , 2024. That email was

          intended solely to provide notice and was not and has never been characterized by Ohana as an

          effort to formally serve Defendant with the Complaint and Summons and, in fact, the Clerk had

          not yet issued the Summons by the time the email was transmitted. Moreover, the email stated,

          "Our transmitting these documents does not currently constitute service of process triggering

          your duty to file a response to the Complaint, but it does place you on notice of the Motion for a

          TRO." According to Defendant, he had terminated his access to his ohanagp.com email account

          and, as a result, did not receive the email.

                     The Clerk issued the Summons at approximately I p.m. on June 14, 2024. On Monday,

          June 17, 2024, at 11 :24 AM, Ohana's process server served the Defendant with copies of the

          Complaint, Summons, Civil Case Information Sheet, TRO, Memorandum in Support ofTRO,

          Exhibits, and Certificate of Notice Regarding the TRO via personal service. The affidavit of

          service filed with the Court on July 18, 2024, recites that the Defendant was personally served at

          his home address. The Summons issued by this Court states that the Defendant is "summoned to

          file a written response by pleading or motion, within 30 days after service of this summons upon

          you, in this court, to the attached complaint filed by [Ohana.]" The Summons further states that

          "[f]ailure to file a response within the time allowed may result in a judgment by default or the

          granting of the relief sought against you" and that "[i]t is your responsibility to ensure that the

          court has your current and correct mailing address in order to receive subsequent filings and

          notice in this case."

                     The Court (De Simone, J.) granted Ohana ' s Motion for a TRO on June 17, 2024 , and

          issued a TRO which directed Defendant to take action to grant administrative control over

          Ohana' s Microsoft 365 Tenant and GoDaddy Account to Ohana' s designees. By its terms the



                                                              2
           119447\000004\4864- i 983-22 86.v3



M&S Attachments                                          Page # 2 of8                                   Exhibit 165-0909
            Case 1:24-cv-03744-BAH              Document 16-15          Filed 01/03/25      Page 83 of 151




          TRO was to expire on June 27 , 2024, and stated that the Defendant could move to dissolve or

          modify the TRO on two days ' notice. Ohana's counsel attempted to transmit a copy of the TRO

          via the Ryan.DillonCapps@ohanagp.com at 11 :50 a.m. At 9:59 p.m. on June 17, 2024

          Defendant contacted Ohana 's counsel via email using the account ryan@mxt3.com, and

          requested that Ohana's counsel re-transmit his June 14, 2024 11 :49 a.m. email to the

          ryan@mxt3.com address . Ohana's counsel forwarded the June 14th email to ryan@mxt3 .com at

           10:28 p.m. on June 17, 2024, and proceeded to forward the earlier email with a copy of the TRO

          to ryan@mxt3 .com at 10:30 p.m.

                     On Tuesday, June 18, 2024, Defendant, pro se, submitted a two-page letter to the Court,

          accompanied by seventy (70) pages of exhibits. On June 21 , 2024, the Court (Truffer, J.) treated

          Defendant's letter as a request, pursuant to MD. Ruu: 14-504(f), to dissolve or modify the TRO,

          and issued an Order denying that request. Also on June 21 , 2024, the Court (Truffer, J.) issued an

          Order directing Defendant appear on June 26, 2024 and show cause why he should not be held in

          contempt for failing to comply with the TRO.

                     On June 26, 2024, Defendant appeared, p ro se, at a hearing on Ohana 's Motion for

          Preliminary Injunction. The Court granted the Preliminary Injunction and set another hearing in

          for the next day, June 27, 2024. Defendant again appeared prose and was held in constructive

          civil contempt for failure to comply with the Preliminary Injunction.

                     Over the next two months, Defendant filed or attempted to file no less than twelve (1 2)

          separate motions related to·the TRO or the preliminary injunction. None of those motions have

          responded to or attempted to raise and defense to the claims asserted in the Complaint.




                                                              3
           l 19447\000004\4864- l 983-2286.v3



M&S Attachments                                          Page# 3 of8                                    Exhibit 165-0909
            Case 1:24-cv-03744-BAH               Document 16-15        Filed 01/03/25       Page 84 of 151




                     On August 20, 2024, Ohana filed a Request for Entry of Default against Defendant,

          considering his failure to file a timely response to the Complaint. The Court entered an Order of

          Default against Defendant that same day.

                     On August 26, 2024, more than a month beyond the deadline for Defendant 's response to

          the Complaint, Defendant filed the instant Motion to Dismiss. The Motion to Dismiss is

          untimely, and, even had it been timely filed , the Motion fails to assert any bases for dismissal or

          any defenses to Ghana's claims. For these reasons, the Motion should be denied.

                                                       ARGUMENT

                     The Motion to Dismiss is untimely, and, even had it been timely filed, the Motion fails to

          assert any bases for dismissal or any defenses to Ghana 's claims. For these reasons, the Motion

          should be denied.

                A. Defendant's Motion is Untimely.

                     As explained to Defendant in Summons, as provided by Md. Rule 2-321(a), Defendant

          was required to file a written response to the Complaint within thirty (30) of being served on

          June 17, 2024, i.e. , on or before Wednesday, July 17, 2024. Defendant did not file a response to

          the Complaint by the July 17, 2024 deadline. In failing to file a response, Defendant has

          effectively admitted Ohana' s averments in the Complaint. Md . Rules 2-323(e) ("Averments in a

          pleading to which a responsive pleading is required ... are admitted unless denied in the

          responsive pleading or covered by a general denial.") . And under Md. Rules 2-322(a), defenses

          relating to "( 1) lack of jurisdiction over the person, (2) improper venue, (3) insufficiency of

          process, and (4) insufficiency of service of process" are required to be raised "by motion to

          dismiss filed before the answer ... If not so made and the answer is filed , these defenses are

          waived."



                                                             4
           I 19447\000004\4864- I 983-22 86.v3



M&S Attachments                                          Page# 4 of8                                    Exhibit 165-0909
             Case 1:24-cv-03744-BAH             Document 16-15         Filed 01/03/25      Page 85 of 151




                     The Motion, like Defendant's answer, was required to be filed on or before Wednesday,

          July 17, 2024. The Motion was not filed until August 26, 2024, a month and a half late and well

          after Ohana's averments in the Complaint were deemed admitted and a default order was

          entered. Thus, the Motion is untimely and should be denied as such.

               B. Defendant Was Properly Served With Personal Service By A Process Server.

                     Defendant claims that, because the July 15, 2024, email from Ohana 's counsel was not

          effective service, the Complaint should be dismissed for insufficient service of process. By

          Defendant's actions and failure to file the Motion prior to July 17, 2024, Defendant has waived

          any defense based upon insufficiency of service. Moreover, it is indisputable that Defendant was

          properly and personally served on June 17, 2024 with copies of the Complaint, Summons, Civil

          Case Information Sheet, proposed TRO, Memorandum in Support ofTRO, Exhibits, and

          Certificate of Notice Regarding the TRO. Thus, there is no basis for dismissal based upon

          Defendant's claim of insufficient service.

                C. Ohana's Complaint Sufficiently Plead All Facts and Entitlement to Relief

                     In the Motion to Dismiss papers Defendant suggests that the Complaint failed to state any

          claims upon which relief can be granted. Even if there was any merit to those suggestions,

          Defendant waived that argument by failing to file the Motion in a timely fashion . As evidenced

          by the Order of Default, Defendant has effectively admitted all the operative factual allegations

          set forth in the Complaint. In granting Ohana 's Motions for Temporary Restraining Order and

          Preliminary Injunction the Court has not only established that the Complaint asserts claims upon

          which relief can be granted, but that Ohana is likely to succeed on the merits of those claims.

          Ohana incorporates the entirety of its Memorandum in Support of Motion for Temporary

          Restraining Order and Preliminary Injunction against Defendant filed with the Court on June 14,



                                                             5
           I I 94471000004\4864-l 9&3-2286.v3



M&S Attachments                                         Page# 5 of8                                   Exhibit 165-0909
             Case 1:24-cv-03744-BAH              Document 16-15       Filed 01/03/25       Page 86 of 151




          2024, in which Ohana detailed not only why its claims are viable, but also why Ohana is likely to

          succeed on their merits. Defendant has not raised any substantive argument as to why an of the

          three counts asserted in the Complaint fail to state a claim.

                     WHEREFORE, for the foregoing reasons, Ohana requests entry of an Order denying the

          Defendant's Motion to Dismiss, and granting such further relief as this Court deems appropriate .



          September 9, 2024                                               Respectfully submitted,


                                                                Isl Robert S. Brennen
                                                                Robert S. Brennen (ATS# 87120 I 0068)
                                                                e-mail: RBrennen@milesstockbridge.com
                                                                Stephen D. Frenkil (AIS # 7712010110)
                                                                e-mail: SFrenkil@milesstockbridge.com
                                                                Victoria K. Hoffberger (AIS # l 912170195)
                                                                e-mail: vhoffberger@milesstockbridge.com
                                                                Jessica L. Duvall (AIS # 1812110110)
                                                                e-mail : jduvall@milesstockbridge.com
                                                                MILES & STOCKBRIDGE P.C.
                                                                 100 Light Street
                                                                Baltimore, Maryland 21202
                                                                Telephone:      (410) 727-6464
                                                                Facsimile:      (410) 385-3 700

                                                                 Counsel.for Plaint[[/ Ohana Growth
                                                                 Partners, U ,C




                                                            6
           l 194471000004\4864- l 983-2286 .v3



M&S Attachments                                        Page # 6 of8                                   Exhibit 165-0909
             Case 1:24-cv-03744-BAH                    Document 16-15        Filed 01/03/25      Page 87 of 151




                                                    CERTIFICATE OF SERVICE
                     I HEREBY CERTIFY that on September 9, 2024, a copy of the foregoing was sent via

          email to ryan@mxt3 .com and served on via first-class mail , postage prepaid on :

                                           Ryan Dillon-Capps
                                           1334 Maple Avenue
                                           Essex, Mary land 21221
                                                                         Isl Robert S. Brennen
                                                                        Robert S. Brennen (AIS # 8712010068)




                                                                    7
           l 19447\000004\4864- l 983-22 86.v3



M&S Attachments                                               Page # 7 of8                                Exhibit 165-0909
             Case 1:24-cv-03744-BAH                        Document 16-15       Filed 01/03/25     Page 88 of 151




            OHANA GROWTH PARTNERS, LLC                                 IN THE

                                             Plaintiff;                CIRCUIT COURT

            vs.                                                        FOR

            RY AN DILLON-CAPPS                                         BALTIMORE COUNTY

                                             Def endant.               CASE NO.: C-03-CV-24-002264


                                                           [PROPOSED]
                                                 ORDER DENYING MOTION TO DISMISS

                     Upon consideration of Defendant Ryan Dillon-Capps ' Motion to Dismiss (the "Motion")

          and Plaintiff Ohana Growth Partners, LLC ' s Opposition thereto, it is this __ day of

          _ _ _ _ _ , 2024, hereby:

                     ORDERED that the Motion be, and hereby is DENIED.


                                                                          Judge, Circuit Court for Baltimore County




           l 19447\000004\488 6-345 8-0962.v l



M&S Attachments                                                 Page# 8 of 8                                  Exhibit 165-0909
             Case 1:24-cv-03744-BAH                        Document 16-15      Filed 01/03/25   Page 89 of 151




            OHANA GROWTH PARTNERS, LLC                                IN THE

                                              Plaintiff,              CIRCUIT COURT

            vs .                                                      FOR

            RYAN DILLON-CAPPS                                         BALTIMORE COUNTY

                                              Defendant.              FILE NO.: C-03-CV-24-002264


               OPPOSITION TO DEFENDANT'S MOTION TO VACATE ORDER OF DEF AULT

                     Plaintiff, Ohana Growth Partners, LLC. ("Plaintiff' or the "Ohana"), by its undersigned

          attorneys, hereby responds in opposition to the Motion to Vacate Order of Default (the

          "Motion") filed by Defendant Ryan Dillon-Capps ("Defendant") and states as follows :

                I.         THE ORDER OF DEFAULT WAS TIMELY REQUESTED AND ENTERED

                      1.         Ohana filed its Complaint against Defendant on Friday, June 14, 2024.

                     2.          The Clerk issued the Summons at approximately 1 p.m. on June 14, 2024.

                     3.          On Monday, June 17, 2024, at 11 :24 AM, Ohana' s process server personally

          served Defendant with copies of the Complaint, Summons, Civil Case Information Sheet, along

          with filings pertaining to Ohana's Motion for a Temporary Restraining Order and Preliminary

          Injunction. The affidavit of service filed with the Court on July 18, 2024, which Defendant has

          never contested, recites that Defendant was personally served at Defendant's home address . The

          Summons stated that Defendant is "summoned to file a written response by pleading or motion,

          within 30 days after service of this summons upon you, in this court, to the attached complaint

          filed by [Ohana]" and that " [f]ailure to file a response within the time allowed may result in a

          judgment by default or the granting of the relief sought against you."




           I I 9447\000004\4856-34 70-9224 .v I



M&S Attachments                                                 Page# 1 of6                               Exhibit 165-0923
             Case 1:24-cv-03744-BAH                 Document 16-15         Filed 01/03/25       Page 90 of 151




                       4.       Because the Complaint and Summons was personally served on Defendant on

          June 17, 2024, Defendant had until July 17, 2024 to file a response to the Complaint and avoid

          default.

                       5.       On August 20, 2024, more than sixty (60) days after Defendant was personally

          served with the Complaint and Summons, and more than thirty (30) days after the deadline for

          Defendant to file a response to the Complaint, Ohana filed its Request for Entry of Default

          against Defendant. The Court entered an Order of Default against Defendant that same day.

          Thus, neither Ohana' s Request nor the Court ' s Order of Default were untimely.

                II.         DEFENDANT'S MOTION FAILS TO STATE ANY VALID REASON FOR
                            DEFENDANT'S FAILURE TO PLEAD PRIOR TO THE ENTRY OF
                            DEFAULT.

                       1.       Without any explanation or basis Defendant' s Motion states that the justification

          for Defendant's failure to file an answer within the pleading deadline is "Defendant is still within

          the timeframe to file an answer. " As set forth above, that timeframe expired on July 17, 2024.

          Thus , Defendant has failed to state a valid reason for Defendant's failure to plead by July 17,

          2024, or, for that matter, by August 20, 2024 when the Request for Default was filed .

                       2.       As the docket in this matter reflects, while Defendant has failed to make any

          filing in which Defendant has attempted to respond to any of the factual allegations or raise any

          defense to the legal causes of action set forth in the Complaint, Defendant has made numerous

          filings since June 18, 2024.

                III.        DEFENDANT'S MOTION FAILS TO STATE ANY FACTUAL OR LEGAL
                            BASIS FOR ANY DEFENSE TO THE CLAIMS IN THE COMPLAINT

                       1.       Among other facts , the Complaint avers:

                       a. On January 9, 2020 Ohana and Defendant executed an Employment and Non-
                          Disclosure Agreement (the "Dillon-Capps Employment Agreement"). Cmp ,i 11 .



                                                                 2
           l 194471000004\48 56- 3470-9224.v l



M&S Attachments                                             Page# 2 of6                                     Exhibit 165-0923
             Case 1:24-cv-03744-BAH                 Document 16-15         Filed 01/03/25      Page 91 of 151




                      b. Since February 10, 2020, Defendant has been employed by Ohana as its Vice
                         President of Information Technology. Cmp 111 .

                      c. Section 1 of the Dillon-Capps Employment Agreement required Defendant to
                         "faithfully and diligently perform .. . duties as may be assigned by management
                         from time to time." Cmp 122

                      d. On May 20, 2024, without authorization from Defendant's supervisor or other senior
                         Ohana executives, Defendant severed and discontinued all administrative access to
                         Ghana's Microsoft 365 Account that had been held by Ohana employees other than
                         Defendant, as well as the Global Admin rights provided to an IT consultant hired by
                         Ohana. Cmp 114.

                      e. On at least seven occasions from May 21 , 2024 through June 13 , 2024 Defendant's
                         supervisor and other senior Ohana executives expressly directed Defendant to use
                         Defendant 's administrative rights to grant administrative rights to Ghana's Microsoft
                         365 Account to other Ohana employees and IT consultants hired by Ohana.
                         Defendant failed to comply with those requests. Cmp ~ 14-18.

                      f.    Defendant's refusal to provide Ohana with administrative control over Ghana 's
                            Microsoft 365 account, which controls a full suite of software applications used by
                            Ghana' s employees (including Microsoft Exchange for company email, Microsoft
                            OneDrive and SharePoint for document management and storage, Microsoft Teams
                            for videoconferencing), caused Ohana to incur significant expense in the form of
                            otherwise unnecessary consulting fees and attorneys ' fees . Cmp 11 9, 23 , 27.

                     2.         On the basis of those and other factual averments the Complaint asserts three

          legal causes of action against Defendant:

                      a. Breach of Contract (the Dillon-Capps Employment Agreement)(Count I) Cmp 1121-
                         24;

                      b. Breach of Defendant' s duty of loyalty as Ghana' s employee (Count II) Cmp 11 25-
                         28; and

                      c. Violation of MD. CODE ANN. , CRJM. LAW., §7-302(c), for which, pursuant to MD.
                         CODE ANN. , CRIM. LAW., §7-302(g), Ohana is entitled to bring a civil action against
                         Defendant to recover Ghana' s actual damages and reasonable attorneys ' fees and
                         court costs. Cmp 1129-32.

                     3.         While Defendant's Motion to Vacate flatly asserts that "Defendant has a

          substantial defense against the complaint," neither the Motion to Vacate, nor any of Defendant 's

          numerous previous filings has ever identified, let alone stated a factual or legal basis for, any

                                                                 3
           I I 9447\000004\4856-34 70-9224.v I



M&S Attachments                                             Page# 3 of6                                    Exhibit 165-0923
             Case 1:24-cv-03744-BAH           Document 16-15           Filed 01/03/25       Page 92 of 151
     •


          defense to any of Ohana's three legal causes of action, or denied of any of Ohana's factual

          averments . To the contrary, starting with Defendant' s June 18, 2024 letter to the Court and

          continuing with Defendant's sworn testimony during hearings conducted on June 26 and 27,

          2024, Defendant has repeatedly admitted that Defendant refused comply with directives from

          Defendant's supervisor and other senior Ohana executives that Defendant grant administrative

          rights to Ohana's Microsoft 365 Account to other Ohana employees and IT consultants hired by

          Ohana.

                     WHEREFORE, because, for the reasons set forth above, Defendant' s Motion does not

          state a substantial and sufficient basis for an actual controversy as to the merits of any of the

          claims asserted in the Complaint, nor establish any equitable excuse for Defendant's failure to

          plead, Defendant's Motion to Vacate the August 20, 2024 Order of Default should be denied.

           September 23 , 2024                                   Respectfully submitted,


                                                                 Isl Robert S. Brennen
                                                                 Robert S. Brennen (AIS # 8712010068)
                                                                 e-mail: RBrennen@milesstockbridge.com
                                                                 Stephen D. Frenkil (AIS # 7712010110)
                                                                 e-mail : SFrenkil@milesstockbridge.com
                                                                 Victoria K. Hoftberger (AIS # 1912170195)
                                                                 e-mai 1: VH oflberger@m ilesstockbri dge.com
                                                                 Jessica L. Duvall (AIS # 1812110110)
                                                                 e-mail : JDuvall@milesstockbridge.com
                                                                 MILES & STOCKBRIDGE P.C.
                                                                 100 Light Street
                                                                 Baltimore, Maryland 21202
                                                                 Telephone:      (410) 727-6464
                                                                 Facsimile:      (410) 385-3700

                                                                 Counsel for Plaintif.fOhana Growth
                                                                 Partners, f,l,('




                                                            4
           119447\000004\4856-3470-9224.v l



M&S Attachments                                        Page# 4 of 6                                     Exhibit 165-0923
            Case 1:24-cv-03744-BAH                     Document 16-15        Filed 01/03/25      Page 93 of 151
     .

                                                    CERTIFICATE OF SERVICE
                     I HEREBY CERTIFY that on September 23 , 2024, a copy of the foregoing was sent via

          email to ryan@mxt3 .com and served on via first-class mail , postage prepaid on :

                                            Ryan Dillon-Capps
                                            1334 Maple Avenue
                                            Essex, Maryland 21221
                                                                         Isl Robert S. Brennen
                                                                        Robert S. Brennen (AIS # 8712010068)




                                                                    5
           I I 9447\000004\4856- 3470-9224 .v I



M&S Attachments                                               Page# 5 of6                                 Exhibit 165-0923
            Case 1:24-cv-03744-BAH                           Document 16-15      Filed 01/03/25     Page 94 of 151




            OHANA GROWTH PARTNERS, LLC                                   IN THE

                                               Plaintiff,                CIRCUIT COURT

            vs .                                                         FOR

            RYAN DILLON-CAPPS                                            BALTIMORE COUNTY

                                               Def endant.               CASE NO.: C-03-CV-24-002264


                                              [PROPOSED]
                            ORDER DENYING MOTION TO VACATE ORDER OF DEFAULT

                      Upon consideration of Defendant Ryan Dillon-Capps ' Motion to Vacate Order of Default

          and Plaintiff Ohana Growth Partners, LLC ' s Opposition thereto, it is this __ day of

          _ _ __ _ , 2024, hereby :

                      ORDERED that Defendant's Motion to Vacate Order of Default be, and hereby 1s

          DENIED.


                                                                            Judge, Circuit Court for Baltimore County




           I I 9447100000414896-23 I 6-4648 .v l



M&S Attachments                                                    Page# 6 of6                                  Exhibit 165-0923
             Case 1:24-cv-03744-BAH                      Document 16-15     Filed 01/03/25      Page 95 of 151




            OHANA GROWTH PARTNERS, LLC                              IN THE

                                            Plaintiff,              CIRCUIT COURT

            vs.                                                     FOR

            RYAN DILLON-CAPPS                                       BALTIMORE COUNTY

                                            Defendant.              FILE NO.: C-03-CV-24-002264


           OPPOSITION TO DEFENDANT'S MOTION TO STRIKE PLAINTIFF'S OPPOSITION
                  TO DEFENDANT'S MOTION TO VACATE ORDER OF DEFAULT

                     Plaintiff, Ohana Growth Partners, LLC . ("Plaintiff' or the "Ohana"), by its undersigned

          attorneys, hereby responds in opposition to the Motion to Strike Plaintiffs Opposition to Motion

          to Vacate Order of Default (the "Motion to Strike Opposition") filed by Defendant Ryan Dillon-

          Capps ("Defendant") and states as follows:

                     l.         Defendant's primary basis for seeking to strike Plaintiffs Opposition to

          Defendant's Motion to Vacate Order of Default is Defendant 's misreading of Maryland Rules 2-

           321 and 2-322 and misapplication of those Rules to the procedural history of this matter.

                     2.         As its terms reflect, Maryland Rule 2-322(e) only contemplates, references and

          relates to motion strike pleadings or portions of pleadings.

                     3.         The only filings recognized by Maryland Rules as pleadings are complaints,

          counterclaim, cross-claims, third-party complaints and answers to complaints, counterclaims,

          cross-claims and third-party complaints. Maryland Rule 2-302.

                     4.         The only pleading that has been filed in this matter is Plaintiffs Complaint.

                     5.         While Defendant filed a number of unsuccessful motions to strike in this matter,

          none of them were directed at Plaintiffs ' Complaint. Thus, none of those motions, including

          Defendant's Motion to Strike Opposition, has legitimately been filed pursuant to Rule 2-322(e).




           l l 94471000004\4893-5348-2729.v I



M&S Attachments                                               Page# 1 of4                                   Exhibit 165-0926
             Case 1:24-cv-03744-BAH               Document 16-15         Filed 01/03/25      Page 96 of 151




          Thus, contrary Defendant's mistaken belief, none of Defendant ' s motions to strike triggered an

          automatic extension, pursuant to Maryland Rule 2-321 (c), of time within which Defendant was

          required to file a response to the Complaint: July 17, 2024.

                    6.         Defendant ' s unsuccessful Motion to Dismiss the Complaint was not filed until

          August 26, 2024, well more than 30 days after the passing of the deadline for Defendant to file a

          response to the Complaint, and six days after the Order of Default had been entered. An untimely

          effort to file a motion pursuant to Maryland Rule 2-322(a) or (b) cannot extend a response

          deadline that has already expired.

                    WHEREFORE, for the reasons set forth above, Defendant's Motion to Strike Plaintiff's

          Opposition to Defendant's Motion to Vacate should be denied.

          September 26, 2024                                       Respectfully submitted,


                                                                   Isl Robert S. Brennen
                                                                   Robert S. Brennen (AI S # 87120 l 0068)
                                                                   e-mail: RBrennen@milesstockbridge.com
                                                                   Stephen D. Frenkil (AIS # 7712010110)
                                                                   e-mail: SFrenkil@milesstockbridge .com
                                                                   Victoria K. Hoffberger (AIS # 1912170195)
                                                                   e-mail: VHoffberger@milesstockbridge.com
                                                                   Jessica L. Duvall (ATS# 1812110110)
                                                                   e-mai I: JDuvall@milesstockbridge.com
                                                                   MILES & STOCKBRIDGE P.C.
                                                                   l 00 Light Street
                                                                   Baltimore, Maryland 21202
                                                                   Telephone:      (4 10) 727-6464
                                                                   Facsimile:      (410) 385-3 700

                                                                   Coun:sel for Plaintiff Ohana Growth
                                                                   Partners, LLC




                                                               2
           l 194471000004\4893-5348-2729.vl



M&S Attachments                                           Page# 2 of4                                    Exhibit 165-0926
             Case 1:24-cv-03744-BAH                  Document 16-15        Filed 01/03/25     Page 97 of 151




                                                  CERTIFICATE OF SERVICE
                     I HEREBY CERTIFY that on September 26, 2024, a copy of the foregoing was sent via

          email to ryan@mxt3 .com and served on via first-class mail, postage prepaid on:

                                          Ryan Dillon-Capps
                                          1334 Maple Avenue
                                          Essex, Maryland 21221
                                                                      Isl Robert S. Brennen
                                                                      Robert S. Brennen (AIS # 8712010068)




                                                                  3
           I 19447100000414893-5348-2729.v l



M&S Attachments                                             Page# 3 of 4                               Exhibit 165-0926
            Case 1:24-cv-03744-BAH                      Document 16-15      Filed 01/03/25     Page 98 of 151




            OHANA GROWTH PARTNERS, LLC                              IN THE

                                           Plaintiff,               CIRCUIT COURT

            vs.                                                     FOR

            RY AN DILLON-CAPPS                                      BALTIMORE COUNTY

                                           Defendant.               CASE NO.: C-03-CV-24-002264


                                       [PROPOSED]
               ORDER DENYING MOTION STRIKE OPPOSITION TO MOTION TO VACATE
                                   ORDER OF DEFAULT

                     Upon consideration of Defendant Ryan Dillon-Capps ' Motion to Strike Plaintiffs

          Opposition to Defendant' s Motion to Vacate Order of Default and Plaintiff Ohana Growth

          Partners, LLC ' s Opposition thereto, it is this __ day of _ _ ___ , 2024, hereby:

                    ORDERED that Defendant 's Motion to Strike Opposition to Motion to Vacate Order of

          Default be, and hereby is DENIED.


                                                                       Judge, Circuit Court for Baltimore County




           l 19447100000414878-6889-5977.v l



M&S Attachments                                              Page # 4 of4                                  Exhibit 165-0926
            Case 1:24-cv-03744-BAH             Document 16-15         Filed 01/03/25       Page 99 of 151




            OHANA GROWTH PARTNERS, LLC                       IN THE

                                  Plaintiff,                 CIRCUIT COURT

            vs.                                              FOR

            RY AN DILLON-CAPPS                               BALTIMORE COUNTY

                                  Defendant.                 FILE NO.: C-03-CV-24-002264


                                      OPPOSITION TO DEFENDANT'S
                                   MOTION TO ADD COUNSEL OF RECORD

                  Plaintiff, Ohana Growth Partners, LLC. ("Plaintiff' or the "Ohana"), by its undersigned

          attorneys, hereby responds in opposition to Defendant Ryan Dillon-Capps ' ("Defendant" or

          "Dillon-Capps") Motion to Add Counsel of Record and states as follows :


                  1.     Ohana incorporates and adopts by reference herein the factual averments and

          arguments contained in its Opposition to Defendant 's Motion to Assert Rights and Request

          Immediate Rulings . See Md. Rule 2-303(d) ("Statements in a pleading or other paper of record

          may be adopted by reference in a different part of the same pleading or paper ofrecord or in another

          pleading or paper ofrecord.").


                  WHEREFORE, for the reasons set forth above, Plaintiff respectfully requests that Order:

                  A. Denying Defendant 's "Motion to Assert Rights and Request for Immediate Rulings;"

                  B. Denying Defendant's "Motion to Add Counsel of Record ;"

                  C. Denying Defendant's ''Motion to Compel;" and

                  D. Granting to Plaintiff such other and further relief as justice and equity may require.




M&S Attachments                                       Page# 1 of 15                                   Exhibit 165-1011
            Case 1:24-cv-03744-BAH          Document 16-15          Filed 01/03/25       Page 100 of 151




          October 11 , 2024                                   Respectfully submitted,


                                                              Isl Robert S. Brennen
                                                              Robert S. Brennen (AIS # 8712010068)
                                                              e-mail: RBrennen@milesstockbridge.com
                                                              Steven D. Frenkil (AIS # 77120101 IO)
                                                              e-mail: SFrenkil@milesstockbridge .com
                                                              Victoria K. Hoffberger (AIS # 1912170195)
                                                              e-mail : VHoftberger@milesstockbridge.com
                                                              Jessica L. Duvall (AIS # 1812110110)
                                                              e-mail : JDuvall @milesstockbridge.com
                                                              MILES & STOCKBRIDGE P.C .
                                                               I 00 Light Street
                                                              Baltimore, Maryland 21202
                                                              Telephone:       (410) 727-6464
                                                              Facsimile:       (410) 385-3 700

                                                              Counsel for PlaintijfOhana Growth
                                                              Partners, LL('



                                          CERTIFICATE OF SERVICE
                  I HEREBY CERTIFY that on October 11 , 2024, a copy of the foregoing was sent via

          email to ryan@mxt3 .com and served via first-class mail, postage prepaid on:

                                Ryan Dillon-Capps
                                1334 Maple Avenue
                                Essex, Maryland 21221

                                                              Isl Robert S. Brennen
                                                              Robert S. Brennen (AIS # 871 2010068)




                                                         2

M&S Attachments                                     Page# 2 of 15                                 Exhibit 165-1011
           Case 1:24-cv-03744-BAH             Document 16-15         Filed 01/03/25     Page 101 of 151




           OHANA GROWTH PARTNERS, LLC                       IN THE

                                 Plaintiff,                 CIRCUIT COURT

           vs.                                              FOR

           RY AN DILLON-CAPPS                               BALTIMORE COUNTY

                                 Defendant.                 FILE NO.: C-03-CV-24-002264


                                OPPOSITION TO DEFENDANT'S
                  MOTION TO ASSERT RIGHTS AND REQUEST IMMEDIATE RULINGS

                  Plaintiff, Ohana Growth Partners, LLC. ("Plaintiff' or the "Ohana"), by its undersigned

          attorneys, hereby responds in opposition to Defendant Ryan Dillon-Capps ' ("Defendant" or

          "Dillon-Capps"): (1) Motion to Assert Rights and Request Immediate Rulings . This Opposition

          also addresses Dilan-Capps ' (2) Motion to Add Counsel of Record, and (3) Motion to Compel

          (collectively "Defendants ' Motions"). Ohana will separately file opposition papers to the (2)

          Motion to Add Counsel of Record, and (3) Motion to Compel, which will incorporate and adopt

          by reference the arguments contained in this Opposition. Ohana states as follows in support of its

          Opposition:

                  I.     Each of Defendant's Motions is substantively and procedurally flawed and does not

          seek any relief permitted under any provision of the Maryland Rules, Maryland statutes or common

          law.

                  2.     Defendant's rambling 42-page "Motion to Assert Rights and Request for

          Immediate Rulings" simply rehashes arguments from Dillon-Capps ' Motion to Vacate Order of

          Default and Motion for Sanctions. Generously viewed, Dillon-Capps seems to be asking this Court

          to reconsider its order granting Ghana's Motion for Preliminary Injunction by repeating already

          rejected, and unsupported, assertions. Indeed, the only relief Dillon-Capps request is a demand




M&S Attachments                                      Page# 3 of 15                                  Exhibit 165-1011
           Case 1:24-cv-03744-BAH            Document 16-15            Filed 01/03/25      Page 102 of 151




          that the "court promptly correct these violations and protect the public' s trust in a judicial system

          that adheres to fairness, ethical conduct and the rule of law."

                  3.     Defendant's similarly rambling 24-page "Motion to Add Counsel of Record"

          seeks an order from this Court compelling Plaintiff to add Steven Frenkil , Esq. and Holly

          Drumheller Butler, Esq. as counsel of record on behalf of Ohana in this matter. Defendant has no

          right or standing to mandate Ohana ' s counsel of record and this Court lacks the authority under

          Maryland law to compel Ohana to do so

                  4.     Like Dillon-Capps' Motion to Assert Rights and Request for Immediate Rulings,

          the 45-page "Motion to Compel" attempts to collaterally attack the Court' s rulings on Ghana 's

          Motion for Temporary Restraining Order and Preliminary Injunction. But it goes further, accusing

          seven Judges of this Court of acting with gross negligence, exceeding their discretion in connection

          with various other rulings, and conspiring to defraud Dillon-Capps, and each of the remaining

          Judges of this Court of dereliction of duty . Dillon-Capps repeats (and repeats) his complaint about

          perceived delays in the Court's ruling on mis many (many) motions, and accuses the Court of

          acting as an accessory to false imprisonment, human trafficking, and obstruction of justice. As

          relief Defendant asks that every Judge of this Court "be joined as Plaintiffs to accurately reflect

          their involvement in the fraudulent actions that have obstructed proper judicial review." To the

          extent that Dillon-Capps may be asking that the entire bench of the Circuit Court for Baltimore

          County be recused from hearing this case, Dillon-Capps has fallen far short of the affirmative

          showing of bias or prejudice necessary to require any of the judges to recuse his or herself, and no

          single judge has the authority to disqualify the entire bench. See Perlstein v. Maryland Deposit

          Insurance Fund, 78 Md. App. 8, 20-22 ( 1989).




                                                            2


M&S Attachments                                        Page# 4 of 15                                    Exhibit 165-1011
           Case 1:24-cv-03744-BAH            Document 16-15           Filed 01/03/25      Page 103 of 151




                  5.     Because each of Defendant 's Motions are both procedurally and substantively

          improper, they should be denied.

                  WHEREFORE, for the reasons set forth above, Plaintiff respectfully requests that Order:

                  A. Denying Defendant' s "Motion to Assert Rights and Request for Immediate Rulings ;"

                  B. Denying Defendant's "Motion to Add Counsel of Record;"

                  C. Denying Defendant's "Motion to Compel;" and

                  D. Granting to Plaintiff such other and further relief as justice and equity may require.

          October 11 , 2024                                     Respectfully submitted,


                                                                Isl Robert S. Brennen
                                                                Robert S. Brennen (AIS # 87120 I 0068)
                                                                e-mail: RBrennen@milesstockbridge.com
                                                                Steven D. Frenkil (AIS # 7712010110)
                                                                e-mail: SFrenkil@milesstockbridge.com
                                                                Victoria K. Hoffberger (AIS # 1912170195)
                                                                e-mail: VHoffberger@milesstockbridge.com
                                                                Jessica L. Duvall (AIS # 1812110110)
                                                                e-mail: JDuvall@milesstockbridge.com
                                                                MILES & STOCKBRIDGE P.C.
                                                                 100 Light Street
                                                                Baltimore, Maryland 21202
                                                                Telephone:      (410) 72 7-6464
                                                                Facsimile:      (4 I 0) 385-3700

                                                                Counsel for Plaintiff Ghana Growth
                                                                Partners, LLC

                                           CERTIFICATE OF SERVICE
                  I HEREBY CERTIFY that on October 11 , 2024, a copy of the foregoing was sent via

          email to ryan@rnxt3 .com and served via first-class mail, postage prepaid on:

                                 Ryan Dillon-Capps
                                 1334 Maple Avenue
                                 Essex, Maryland 21221
                                                                Isl Robert S. Brennen
                                                                Robert S. Brennen (AlS # 8712010068)



                                                            3


M&S Attachments                                       Page# 5 of 15                                    Exhibit 165-1011
            Case 1:24-cv-03744-BAH              Document 16-15        Filed 01/03/25      Page 104 of 151




            OHANA GROWTH PARTNERS, LLC                        IN THE

                                   Plainliff,                 CIRCUIT COURT

            vs.                                               FOR

            RYAN DILLON-CAPPS                                 BAL TIM ORE COUNTY

                                   Defendant.                 FILE NO.: C-03-CV-24-002264


                                         OPPOSITION TO DEFENDANT'S
                                            MOTION TO COMPEL

                  Plaintiff, Ohana Growth Partners, LLC. ("Plaintiff' or the "Ohana"), by its undersigned

           attorneys, hereby responds in opposition to Defendant Ryan Dillon-Capps ' ("Defendant" or

          "Dillon-Capps") Motion to Compel and states as follows :


                  I.      Ohana incorporates and adopts by reference herein the factual averments and

          arguments contained in its Opposition to Defendant's Motion to Assert Rights and Request

          Immediate Rulings . See Md. Rule 2-303(d) ("Statements in a pleading or other paper of record

           may be adopted by reference in a different part of the same pleading or paper ofrecord or in another

          pleading or paper ofrecord.").


                  WHEREFORE, for the reasons set forth above, Plaintiff respectfully requests that Order:

                  A. Denying Defendant's "Motion to Assert Rights and Request for Immediate Rulings;"

                  B. Denying Defendant 's "Motion to Add Counsel of Record ;"

                  C. Denying Defendant 's "Motion to Compel;" and

                  D. Granting to Plaintiff such other and further relief as justice and equity may require.




M&S Attachments                                       Page# 6 of 15                                    Exhibit 165-1011
           Case 1:24-cv-03744-BAH           Document 16-15          Filed 01/03/25       Page 105 of 151




          October 11, 2024                                    Respectfully submitted,


                                                              Isl Robert S. Brennen
                                                              Robert S. Brennen (AIS # 8712010068)
                                                              e-mail: RBrennen@milesstockbridge.com
                                                              Steven D. Frenkil (AlS # 7712010110)
                                                              e-mail: SFrenkil@milesstockbridge.com
                                                              Victoria K. Hoftberger (AIS # 1912170195)
                                                              e-mai 1: VH offberger@m i1esstock bridge.com
                                                              Jessica L. Duvall (AIS # 1812110110)
                                                              e-mai 1: JDuvall@milesstockbridge.com
                                                              MILES & STOCKBRIDGE P.C.
                                                               l 00 Light Street
                                                              Baltimore, Maryland 21202
                                                              Telephone:       (410) 727-6464
                                                              Facsimile:       (410) 385-3700

                                                              Counsel for PlaintiffOhana Growth
                                                              Partners, LLC'



                                         CERTIFICATE OF SERVICE
                  I HEREBY CERTIFY that on October 11 , 2024, a copy of the foregoing was sent via

          email to ryan@rnxt3.com and served via first-class mail, postage prepaid on:

                                Ryan Dillon-Capps
                                1334 Maple Avenue
                                Essex, Maryland 21221

                                                              Isl Robert S. Brennen
                                                              Robert S. Brennen (AIS # 8712010068)




                                                         2


M&S Attachments                                     Page# 7 of 15                                  Exhibit 165-1011
            Case 1:24-cv-03744-BAH            Document 16-15       Filed 01/03/25    Page 106 of 151




           OHANA GROWTH PARTNERS, LLC                     IN THE

                                Plaintiff,                CIRCUIT COURT

           vs.                                            FOR

           RY AN DILLON-CAPPS                             BALTIMORE COUNTY

                                 Defendant.               CASE NO.: C-03-CV-24-002264


                                        [PROPOSED]
                                      ORDER DENYING
                  MOTION TO ASSERT RIGHTS AND REQUEST IMMEDIATE RULINGS,
                             MOTION TO ADD COUNSEL OF RECORD,
                                           AND
                                    MOTION TO COMPEL

                        Upon consideration of Defendant Ryan Dillon-Capps ' Motion to Assert Ri ghts and

          Request Immediate Rulings, Motion to Add Counsel of Record, and Motion to Compel

          (collectively "Defendants ' Motions") and Plaintiff Ohana Growth Partners, LLC' s Oppositions

          thereto, it is this __ day of _ _ _ _ _ , 2024, hereby:


                  1.    ORDERED that Defendant's Motion to Assert Rights and Request for Immediate

          Rulings is hereby DENIED; and it is further

                  2.    ORDERED that Defendant' s Motion to Add Counsel of Record 1s hereby

          DENIED; and it is further

                  3.    ORDERED that Defendant's Motion to Compel is hereby DENIED .




                                                             Judge, Circuit Court fo r Baltimore County




M&S Attachments                                    Page# 8 of 15                                  Exhibit 165-1011
           Case 1:24-cv-03744-BAH                   Document 16-15        Filed 01/03/25   Page 107 of 151




           OHANA GROWTH PARTNERS, LLC                            IN THE

                                       Plaintiff,                CIRCUIT COURT

           vs.                                                   FOR

           RY AN DILLON-CAPPS                                    BALTIMORE COUNTY

                                       Def endant.               CASE NO.: C-03-CV-24-002264


                                                          [Proposed]
                                                           ORDER

                  Upon receipt and review of Plaintiff's Request for Special Assignment and review of the

          Court's file, it is this _     day of _ _ _ _ _ , 2024.

                  ORDERED, that the above captioned matter be specially assigned to Judge _ _ _ __

          for all further issues and trial:




                                                                    Judge, Circuit Court for Baltimore County




M&S Attachments                                           Page# 9 of 15                                 Exhibit 165-1011
              Case 1:24-cv-03744-BAH             Document 16-15          Filed 01/03/25     Page 108 of 151




              OHANA GROWTH PARTNERS, LLC                        IN THE

                                    Plaintiff,                  CIRCUIT COURT

              vs.                                               FOR

              RY AN DILLON-CAPPS                                BALTIMORE COUNTY

                                    Defendant.                  FILE NO.: C-03-CV-24-002264


                                      REQUEST FOR SPECIAL ASSIGNMENT

                    Plaintiff, Ohana Growth Partners, LLC. ("Plaintiff' or the "Ohana"), by its undersigned

          attorneys, hereby requests that the above captioned case be assigned to a specific judge of this

          Court for all further proceedings before this Court, and states as follows :

                    1.     Since June 14, 2024, when Ohana sued Ryan Dillon-Capps ("Defendant" or

          "Dillon-Capps"), Ohana' s former Vice President oflnformation Technology, the Defendant has

          filed , as a pro se party, more than 64 motions and other papers, with 17 filed within the last two

          weeks, alone. Many request this Court to rule on earlier filed motions or requests and nearly all

          are accompanied by numerous and repetitive exhibits.            For the reasons stated below, Ohana

          believes the efficient administration of justice would be served by assigning this case to a single

          judge for all purposes.

                    2.     Ohana sued Ryan Dillon-Capps asserting causes of action for (i) breach of contract;

          (ii) breach of common law employee ' s duty of loyalty, and (iii) under Mo . CODE ANN., CRIM.

          LAW., §7-302(g) based on Defendant' s violation of MD. CODE ANN ., CRIM. LAW. , §7-302(c). 1 All


          1
           MD. CODE ANN., CRIM. LAW., §7-302(c)(2) makes it a crime for a person to commit an act
          prohibited by §7-302(c)(l) with the intent to:

                    (i) cause the malfunction or interrupt the operation of all or any part of a computer,
                    computer network, computer control language, computer software, computer
                    system, computer service, or computer data; or




M&S Attachments                                         Page# IO of 15                                       Exhibit 165-1011
           Case 1:24-cv-03744-BAH             Document 16-15           Filed 01/03/25      Page 109 of 151




          three claims are based upon the Defendant' s locking Plaintiff out of administrative control of

          Plaintiff's Microsoft 365 software account and GoDaddy .com domain name registrations and

          refusal to comply with repeated directives to extend such administrative control to Plaintiff's

          officers and outside IT consultants. In short, Defendant had locked Plaintiff out of control over its

          email and document management systems and websites.

                  3.     On June 14, 2024, Plaintiff also filed a Motion for Temporary Restraining Order

          and Preliminary Injunction ("Motion for TRO/Pl") and Memorandum in Support of that motion.

                  4.     Defendant was served by private process with the Complaint, Summons, Motion

          for TRO/PI and Memorandum in Support on June 17, 2024.

                  5.     On June 17, 2024, this Court (Di Simone, J.) granted Plaintiff's Motion for TRO

          and entered a temporary restraining order directing Defendant to take action to extend, to Plaintiff

          and its consultants, administrative control over Plaintiff's Microsoft 365 software account and

          GoDaddy.com domain name registrations.

                  6.     On June 26, 2024, this Court (Barranco, J), after a hearing at which Defendant

          appeared,pro se, and testified, granted Plaintiff's Motion for PI and issued a preliminary injunction

          directing Defendant to take action to extend, to Plaintiff and its consultants, administrative control

          over Plaintiffs Microsoft 365 software account and GoDaddy.com domain name registrations (the

          "Preliminary Injunction").




                  (ii) alter, damage, or destroy all or any part of data or a computer program stored,
                  maintained, or produced by a computer, computer network, computer software,
                  computer system, computer service, or computer database.




                                                            2


M&S Attachments                                       Page# l l ofl5                                     Exhibit 165-1011
           Case 1:24-cv-03744-BAH            Document 16-15             Filed 01/03/25   Page 110 of 151




                  7.     On June 27, 2024, this Court (Barranco, J.), after a hearing at which Defendant

          again appeared,pro se, and testified under oath, issued an Order finding Dillon-Capps in contempt

          of the Preliminary Injunction and fining Defendant $2,500 for each ensuing day that passed

          without Defendant's compliance with the Preliminary Injunction.

                  8.     As set forth in Plaintiffs July 17, 2024, Notice of Withdrawal of Petition for

          Constructive Civil Contempt, on July 12, 2024, Plaintiff, without any cooperation by Defendant,

          and with the assistance of representatives of Microsoft Corporation, regained administrative

          control of Plaintiffs MS 365 account and, on July 17, 2024, with Defendant ' s cooperation,

          regained administrative control over Plaintiffs GoDaddy Account and internet domain name

          registrations. Plaintiff reserved its right to seek judgment against Dillon-Capps in an amount equal

          to the contempt fines accrued against him, as well as legal fees, consultant fees and other expenses

          Plaintiff incurred as a result of Defendant's breaches of contract and duty of loyalty and

          Defendant's violation of Mo. CODE ANN., CRIM. LAW. , §7-302(c), as well as the attorneys ' fees

          and expenses Plaintiff has incurred since July 17 th under MD. CODE ANN. , CRIM. LAW., §7-302(g).

                  9.     On August 20, 2024, Plaintiff filed a Request for Entry of Default, and that same

          day, this Court (Battista, J.) entered an Order of Default.

                  10.    On September 20, 2024, Defendant, acting prose, filed a Motion to Vacate the

          Order of Default, which Ohana opposed on September 23 , 2024. Defendant's Motion to Vacate

          the Order of Default and Defendant' s separate Motion to Strike Plaintiffs Opposition to

          Defendant's Motion to Vacate the Order of Default remain pending before this Court.

                  11 .   In addition to the filings referenced above, Defendant, continuing to appear pro se,

          has filed no fewer ten ( 10) requests or motions (some with hundreds of pages of exhibits and

          numerous copies of the same documents) that have been denied by the Court.




                                                            3


M&S Attachments                                       Page# 12 of 15                                  Exhibit 165-1011
              Case 1:24-cv-03744-BAH              Document 16-15           Filed 01/03/25     Page 111 of 151




                      12.     In just the last two weeks, Dillon-Capps, continuing to act prose, has filed over ten

          additional papers and motions, including:

                  •    September 27, 2024---Motion for Sanctions against Plaintiff and Plaintiffs Counsel,
                       comprising 82 pages, plus an eleven-page affidavit and 22 pages of exhibits.

                  •    September 30, 2024---Motion to Assert Rights and Request Immediate Rulings
                       comprising 42 pages.2

                  •    October 3, 2024---Motion to Add Counsel of Record, comprising 24 pages, through
                       which Defendant seeks an order adding, as counsel of record for Plaintiff, two lawyers .

                  •    October 4, 2024---Affidavit of llarm, accompanied by 690 pages of exhibits.

                  •    October 5, 2024---Notice of Hypothesis of Crayons, in which, among other things,
                       Defendant accuses the following seven (7) Judges of this Court of conspiring with
                       Plaintiff to defraud Defendant:

                            o Jan Marshall Alexander
                            o Keith R. Truffer
                            o Andrew M. Battista
                            o Stacy A. Mayer
                            o Michael S. Barranco
                            o Marc A. DeSimone, Jr.
                            o H. Patrick Stringer1

                  •    October 7, 2024---Affidavit of Financial Urgency, which included a redacted exhibit
                       whose filing the Clerk has rejected.

                  •    October 8, 2024---Motion for Urgent Hearing to Address Violation of Constitutional
                       Rights and Rule 1-201 in connection with the Clerk's rejection of Defendant 's exhibit.

                  •    October 9, 2024---Motion to Compel the Court to take action on Defendant's pending
                       motions, in which Defendant has accused every Judge of this Court of dereliction of duty
                       in failing to rule on Defendant's outstanding motions .




          2
           On October 2, 2024 Defendant purported to file a "Motion to Correct Record" via the MDEC
          system, but the document Defendant filed was another copy of Defendant 's Motion to Assert
          Rights and Request Immediate Rulings.

          3
           Exhibits attached to Defendant's Affidavit of Financial Urgency suggest that Defendant has
          attempted to contact each of these judges via emails to mdmanual@maryland.gov.


                                                                4


M&S Attachments                                           Page# 13 of 15                                   Exhibit 165-101 1
           Case 1:24-cv-03744-BAH               Document 16-15           Filed 01/03/25     Page 112 of 151




                  •    October 9, 2024---a second Request for Hearing in connection with the Clerk ' s rejection
                       of Defendant's exhibit.

                  •    October 10, 2024---a third Request for Hearing in connection with the Clerk's rejection
                       of Defendant's exhibit.

                      13.    Ohana has filed Oppositions to Defendant 's Motion to Assert Rights and Request

          for Immediate Rulings, Motion to Add Counsel of Record, and Motion to Compel noting that they

          are not countenanced by the Maryland Rules. Ohana will shortly be filing its Opposition to

          Defendant's Motion for Sanctions.

                      14.    Defendant's filings have acknowledged Defendant ' s reliance upon artificial

          intelligence (Al) and Plaintiff submits that several of Defendant's submissions reflect Defendant' s

          use of AI in drafting.

                      15.    Given the nature of the matter, Defendant' s unrestrained proclivity for filing

          lengthy and frequently improper motions and requests, and Defendants ' direct accusations of

          misconduct directed to seven (7) of the Court 's Judges and threats to join them as parties to the

          matter, Plaintiff submits that it would be in the best interests of all parties and the Court that the

          matter be specially assigned to a single judge for all purposes, including consideration of the

          pending Motion to Vacate Order of Default.

                      16.    To the extent that any of Defendants' filings could construed as a motion that the

          entire bench of the Circuit Court for Baltimore County be recused from hearing this case,

          Defendant has fallen far short of the affirmative showing of bias or prejudice necessary to require

          any of the judges to recuse his or herself, and no single judge has the authority to disqualify the

          entire bench. See Perlstein v. Maryland Deposit Insuran ce Fund, 78 Md. App. 8, 20-22 (I 989).




                                                              5


M&S Attachments                                         Page# 14 of 15                                  Exhibit 165- l O11
           Case 1:24-cv-03744-BAH           Document 16-15            Filed 01/03/25     Page 113 of 151




                  WHEREFORE, because, for the reasons set forth above, Plaintiff respectfully requests that

          the above captioned case be assigned to a specific judge of this Court for all further proceedings

          before this Court.

          October 11, 2024                                     Respectfully submitted,


                                                               Isl Robert S. Brennen
                                                               Robert S. Brennen (AIS # 8712010068)
                                                               e-mail: RBrennen@milesstockbridge.com
                                                               Steven D. Frenkil (AIS # 7712010110)
                                                               e-mail: SFrenkil@milesstockbridge.com
                                                               Victoria K. Hofiberger (AIS # 1912170195)
                                                               e-mail : VHoffberger@milesstockbridge.com
                                                               Jessica L. Duvall (AIS # 1812110110)
                                                               e-mail: JDuvall@milesstockbridge.com
                                                               MILES & STOCKBRIDGE P.C.
                                                                l 00 Light Street
                                                               Baltimore, Maryland 21202
                                                               Telephone:      (410) 727-6464
                                                               Facsimile:      (410) 385-3 700

                                                               Counsel for PlaintijfOhana Growth
                                                               Partners, LLC'



                                          CERTIFICATE OF SERVICE
                  I HEREBY CERTIFY that on October 11 , 2024, a copy of the foregoing was sent via

          email to ryan@mxt3 .com and served on via first-class mail, postage prepaid on:

                                Ryan Dillon-Capps
                                1334 Maple Avenue
                                Essex, Mary land 21221
                                                               Isl Robert S. Brennen
                                                               Robert S. Brennen (AIS # 8712010068)




                                                          6

M&S Attachments                                     Page # 15 of 15                                 Exhibit 165-1011
           Case 1:24-cv-03744-BAH            Document 16-15       Filed 01/03/25     Page 114 of 151




           OHANA GROWTH PARTNERS, LLC                     IN THE

                                Plaintiff,                CIRCUIT COURT

           vs.                                            FOR

           RYAN DILLON-CAPPS                              BALTIMORE COUNTY

                                Defendant.                CASE NO.: C-03-CV-24-002264


                                       [PROPOSED]
                      ORDER DENYING MOTION TO ADD COUNSEL OF RECORD

                  Upon consideration of Defendant Ryan Dillon-Capps ' Motion to Add Counsel of Record

          and Plaintiff Ohana Growth Partners, LLC 's Oppositions thereto, it is thi s __ day of

          _ _ _ __ , 2024, hereby:


                  ORDERED that Defendant's Motion to Add Counsel of Record is hereby DEN IED.




                                                             Judge, Circuit Court for Baltimore County




M&S Attachments                                    Page # 1 of3                                  Exhibit 165-1015
           Case 1:24-cv-03744-BAH              Document 16-15      Filed 01/03/25     Page 115 of 151




           OHANA GROWTH PARTNERS, LLC                      IN THE

                                  Plaintiff,               CIRCUIT COURT

           vs.                                             FOR

           RY AN DILLON-CAPPS                              BALTIMORE COUNTY

                                  Defendant.               CASE NO.: C-03-CV-24-002264


                                             [PROPOSED]
                                   ORDER DENYING MOTION TO COMPEL

                    Upon consideration of Defendant Ryan Dillon-Capps ' Motion to Compel and Plaintiff

          Ohana Growth Partners, LLC's Oppositions thereto, it is this __ day of _ _ _ _ _ , 2024,

          hereby:


                    ORDERED that Defendant's Motion to Compel is hereby DENIED.




                                                              Judge, Circuit Court for Baltimore County




M&S Attachments                                      Page# 2 of3                                  Exhibit 165-1015
           Case 1:24-cv-03744-BAH            Document 16-15       Filed 01/03/25     Page 116 of 151




           OHANA GROWTH PARTNERS, LLC                     IN THE

                                Plaintiff,                CIRCUIT COURT

           vs.                                            FOR

           RY AN DILLON-CAPPS                             BALTIMORE COUNTY

                                 Defendant.               CASE NO.: C-03-CV-24-002264


                                        [PROPOSED]
                                      ORDER DENYING
                  MOTION TO ASSERT RIGHTS AND REQUEST IMMEDIATE RULINGS

                        Upon consideration of Defendant Ryan Dillon-Capps' Motion to Assert Rights and

          Request Immediate Rulings and Plaintiff Ghana Growth Partners, LLC's Oppositions thereto, it is

          this __ day of _ _ _ _ _ , 2024, hereby:


                  ORDERED that Defendant's Motion to Assert Rights and Request for Immediate Rulings

          is hereby DENIED.




                                                             Judge, Circuit Court for Baltimore County




M&S Attachments                                     Page# 3 of3                                  Exhibit 165-101 5
           Case 1:24-cv-03744-BAH               Document 16-15           Filed 01/03/25   Page 117 of 151




           OHANA GROWTH PARTNERS, LLC                           IN THE

                                   Plaintiff,                   CIRCUIT COURT

           vs.                                                  FOR

           RYAN DILLON-CAPPS                                    BALTIMORE COUNTY

                                   Defe ndant.                  FILE NO.: C-03-CV-24-002264


                                               PLAINTIFF'S
                                      MOTION FOR PROTECTIVE ORDER

                  Plaintiff, Ohana Growth Partners, LLC ("Plaintiff' or "Ohana"), by its undersigned

          attorneys, pursuant to Maryland Rule 2-403 , hereby moves the Court to enter a Protective Order

          barring Defendant Ryan Dillon-Capps ("Defendant" or "Dillon-Capps") from pursuing discovery

          specifically from the Baltimore Business Journal and generally pending a scheduling conference,

          and in support thereof, states as follows :

                                                   INTRODUCTION

                  I.     The only causes of action pending before the Court in this matter are the three

          claims asserted in Ghana's Complaint, all of which arise from Dillon-Capps ' actions as Ghana 's

          employee, in violation of Dillon-Capps Employment Agreement and duties of loyalty, to lock

          Ohana out of administrative control over the software accounts through which Ohana operates its

          company email, document management and other critical systems. Dillon-Capps ' breaches began

          in May 2024 and Ohana regained administrative control over the accounts as of July 17, 2024.

          Through a procedurally deficient Notice of Deposition and a document masquerading as a

          Subpoena Duces Tecum, Dillon-Capps is seeking expedited discovery from the Baltimore

          Business Journal regarding Ohana President Justin Drummond 's October 1, 2024, inclusion into

          the publication ' s 2024 class of "40 Under 40" honorees. The requested discovery seeks




M&S Attachments                                         Page # 1 of 24                             Exhibit 165-1018
            Case 1:24-cv-03744-BAH           Document 16-15           Filed 01/03/25     Page 118 of 151




          information which has nothing whatsoever to do with any facts material to this case, and is clearly

          only intended to embarrass Mr. Drummond. Thus, not only should the discovery not be expedited,

          it should not take place at all. Moreover, in light of myriad of motions and requests filed by

          Defendant that are still pending, the Court should bar Dillon-Capps from efforts to pursue

          discovery until the Court has convened a scheduling conference.

                               FACTUAL AND PROCEDURAL BACKGROUND

                  2.     Dillon-Capps is Ohana' s former Vice President of Information Technology.

                  3.     Ohana sued Dillon-Capps on June 14, 2024, asserting causes of action for (i) breach

          of contract; (ii) breach of common law employee's duty ofloyalty, and (iii) under Mn . CODE ANN.,

          CRIM. LAW. , §7-302(g) based on Dillon-Capps ' violation of MD. CODE ANN., CRIM. L AW. , §7-

          302{c) (which include, in summary, actions causing the malfunction or interruption of computers

          or networks or computer data, and actions altering, damaging, or destroying computers, or

          networks or computer data).

                  4.     All three ofOhana's claims are based upon the Dillon-Capps ' actions to lock Ohana

          out of administrative control of its Microsoft 365 software account---which includes Ohana ' s

          company email accounts and document management system, and GoDaddy.com domain name

          registrations---which control access to and administration of Ohana ' s websites, and upon Dillon-

          Capps ' alleged refusal to comply with repeated directives to extend such administrative control to

          Ohana's officers and outside IT consultants.

                  5.     Dillon-Capps is and always has been self-represented in this matter.

                  6.     Ohana also filed a Motion for Temporary Restraining Order and Preliminary

          Injunction ("Motion for TRO/PI") along with the filing of its Complaint on June 14, 2024. Dillon-

          Capps was served with the Complaint, Summons, and Motion for TRO/PI on June 17, 2024.




                                                           2


M&S Attachments                                      Page # 2 of 24                                  Exhibit 165-1018
               Case 1:24-cv-03744-BAH         Document 16-15          Filed 01/03/25       Page 119 of 151




                   7.    The Court entered Ohana' s requested TRO on June 17, 2024, directing Dillon-

          Capps to provide Ohana and its consultants administrative control over Ohana' s Microsoft 365

          software account and GoDaddy.com domain name registrations.

                   8.     Dillon-Capps was served with the TRO . He knowingly and intentionally did not

          comply with the requirements of the TRO.

                   9.    On June 26, 2024, the Court held a hearing on Ohana's Motion for PI. Dillon-Capps

          appeared and testified at the PI hearing. After the hearing, the Court granted Ohana's Motion for

          Pl and issued a preliminary injunction. The Preliminary Injunction contained the same

          requirements as the TRO-it directed Dillon-Capps to provide Ohana and its consultants

          administrative control over Ohana' s Microsoft 365 software account and GoDaddy.com domain

          name registrations.

                   10.   Dillon-Capps again knowingly and intentionally failed to comply with the Court ' s

          orders. He did not provide Ohana or its consultants administrative control over Ohana ' s Microsoft

          365 software account and GoDaddy.com domain name registrations.

                   11.   The Court held another hearing the very next day . Dillon-Capps again appeared and

          testified at the hearing. At the conclusion of the hearing, the Court entered an order finding Dillon-

          Capps in contempt of the Preliminary Injunction and fining him $2,500 for each ensuing day that

          passed without his compliance with the Preliminary Injunction.1



           1
           The Court rejected as not credible Dillon-Capps ' sworn testimony that he was unable to access
          the Microsoft 365 and GoDaddy accounts because Dillon-Capps could not locate "key fobs "
          Dillon-Capps testified were needed for multi factor authentication in logging into the accounts. As
          explained in the later filed July 3, 2024, Affidavit of Daniel J. Levitt, after Ohana finally regained
          administrative control of the accounts Ohana confirmed that Court had correctly seen through
          Dillon-Capps' perjury: all Dillon-Capps needed to access the accounts was Dillon-Capps ' cell
          phone, which Dillon-Capps had in the courtroom on June 26 th and 27 th . Dillon-Capps could have
          complied with the Preliminary Injunction then and there, but intentionally chose to lie, under oath,
          about key fobs and be found in contempt of the Preliminary Injunction.


                                                            3


M&S Attachments                                       Page# 3 of24                                      Exhibit 165-1018
           Case 1:24-cv-03744-BAH             Document 16-15          Filed 01/03/25       Page 120 of 151




                  12.     Dillon-Capps still did not comply with the Preliminary Injunction.

                  13.     On July 12, 2024, Ohana was able to regain administrative control of its MS 365

          account with the assistance of representatives of Microsoft Corporation, even without the

          cooperation of Dillon-Capps. On July 17, 2024, Dillon-Capps cooperated with Ohana for the first

          time, and took action that allowed Ohana to regain administrative control over Ohana' s GoDaddy

          Account and internet domain name registrations.

                  14.     On July 17, 2024, Ohana therefore filed a Notice of Withdrawal of Petition for

          Constructive Civil Contempt that it had filed against Dillon-Capps. But Ohana reserved its right

          to seek judgment against Dillon-Capps in an amount equal to the contempt fines accrued against

          him, as well as the legal fees, consultant fees and other expenses relating to Ohana 's claims against

          Dillon-Capps.

                  15.     In addition to the pleadings and papers described above, Dillon-Capps has filed

          approximately 18 other motions and requests. The Court has denied each and every such motion

          or request as each became ripe for review. As of this filing there are approximately 15 pending

          requests or motions that Dillon-Capps has filed with the Court.

                  16.     All fifteen of Dillon-Capps ' motions or requests, including his Motion for

          Sanctions, have been filed since September 27 , 2024, and are not yet ripe for review. In his various

          pending motions and requests, Dillon-Capps makes unfounded allegations against Ohana, M&S,

          and even against the judges of this Court. He accuses every judge of this court of "dereliction of

          duty" for not yet ruling on his pending motions and requests, and he accuses seven judges of this

          Court of being engaged in a conspiracy with Ohana.

                  17.     Ohana has filed oppositions to Dillon-Capps ' motions and requests. Ohana has also

          requested that this matter be specially assigned to a single judge of this Court, gi ven the frequency,




                                                            4

M&S Attachments                                        Page# 4 of24                                      Exhibit 165-1018
            Case 1:24-cv-03744-BAH              Document 16-15         Filed 01/03/25       Page 121 of 151




          length, and nature of Dillon-Capps ' filings, including his accusations against the judges of this

          Court.

                   DEFENDANT'S ATTEMPTED MISUSE OF DISCOVERY PROCEDURES

                   18.      On Friday, October 11 , 2024, a private process server retained by Dillon-Capps

          served Ghana' s counsel with a "Notice of Deposition of Third Parties of Baltimore Business

          Journal" (the "Notice") in which Dillon-Capps stated that

                         Defendant seeks to depose representatives of the Baltimore Business Journal ,
                         specifically managing editor Jessica Iannetta, regarding the nomination and
                         selection of Justin Drummond, President of Ohana Growth Partners, LLC , to
                         the Journal 's "40 Under 40" list published on October l , 2024. This deposition
                         is critical to uncovering whether any external influence, particularly from the
                         Plaintiff or its legal counsel, Miles & Stockbridge, played any role in
                         Drummond' s nomination during the ongoing litigation concerning fraud ,
                         perjury and judicial delay.

          The "Notice" further asserts that the information sought "directly relates to Plaintiffs credibility

          and potential manipulation of public perception during this ongoing legal matter." The "Notice"

           indicates that the deposition "will be recorded via Microsoft Teams." There is no indication in the

          "Notice" that the proposed deposition will be conducted in accordance with Maryland Rules 2-

          4 l 4(a), 2-415(a) or 2-416(t). While its content implies that a copy of the "Notice" was also served

          upon the Baltimore Business Journal, there is no indication in the "Notice" or otherwise, that it

          was accompanied by a properly issued subpoena compelling a representati ve of the Baltimore

          Business Journal to appear on October 25 , 2024 as directed. A copy of the "Notice" is filed

          herewith as Exhibit A hereto.

                   19.      Served with the "Notice" was a 12-page document entitled "SUBPOENA DUCES

          TECUM FOR DOCUMENTS" (the "Subpoena") through which Dillon-Capps seeks "documents

          that are readily accessible and specific to Drummond' s nomination and selection for the ' 40 Under

          40 ' list. " The "Subpoena" purports to direct the Baltimore Business Journal to produce the



                                                              5


M&S Attachments                                         Page# 5 of24                                    Exhibit 165-1018
           Case 1:24-cv-03744-BAH            Document 16-15          Filed 01/03/25       Page 122 of 151




          requested documents on October 25 , 2024, or approximately half the time that would be required

          under Maryland Rule 2-412(c). However, the "Subpoena" is not on the Court 's form and was not

          issued by the Clerk or otherwise in accordance with Maryland Rule 2-51 0(b ). A copy of the

          "Subpoena" is filed herewith as Exhibit B hereto.

                  20.    Because both the "Notice" and the "Subpoena" suffer from numerous procedural

          flaws , and because the discovery sought bears no rational relationship to the issues presented in

          the matter, Ohana ' Motion for Protective Order barring Dillon-Capps from attempting to pursue

          the requested discovery, and any discovery pending a scheduling conference.

                                                     ARGUMENT

                  21 .   Pursuant to Md. Rules 2-403(a), "[F]or good cause shown, the court may enter any

          order that justice requires to protect a party or person from annoyance, embarrassment, oppression,

          or undue burden or expense, including one or more of the following : ( 1) that the discovery not be

          had, (2) that the discovery not be had until other designated discovery has been completed, a

          pretrial conference has taken place, or some other event or proceeding has occurred, (3) that the

          discovery may be had only on specified terms and conditions, including an allocation of the

          expenses or a designation of the time or place, ... (5) that certain matters not be inquired into or

          that the scope of the discovery be limited to certain matters, ..."

                  22.    "[] MD. RULE 2-403(a) is based in large part on Federal Rule of Civil Procedure

          (F.R.C.P.) 26(c) . ... [W]hen interpreting a Maryland Rule that is similar to a Federal Rule of Civil

          Procedure[, a] Court may look for guidance to federal decisions construing the corresponding

          federal rule" and " may examine the interpretation federal courts have lent to F.R.C.P. 26(c) when

          [considering] MD. RULE 2-403(a)." Tanis v. Crocker, 110 Md . App . 559, 574 ( 1996).




                                                            6

M&S Attachments                                       Page# 6 of24                                     Exhibit 165-1018
           Case 1:24-cv-03744-BAH            Document 16-15           Filed 01/03/25      Page 123 of 151




                   23.     Similar to FRCP 26(c), a person seeking a protective order under MD . Rule 2-

          403(a) "'has the burden of making a particular and specific demonstration of fact, as distinguished

          from general, conclusory statements, revealing some injustice, prejudice, or consequential harm

          that will result if protection is denied."' Forensic Advisors, Inc. v. Matrixx Initiatives, Inc., 170

          Md. App. 520, 530 (2006) (citing Tanis, 110 Md .App. at 574).

                   24.     The movant must demonstrate that the discovery sought lacks relevance "to the

          extent that the likelihood and severity of the harm or injury caused by the deposition outweighs

          any need for the information." Baron Fin. Corp. v. Natanzvn , 240 F.R.D. 200, 202 (D. Md. 2006)

          (further citations omitted). "Indeed, 'even very slight inconvenience may be unreasonable if there

           is no occasion for the inquiry and it cannot benefit the party making it."' Innovative Therapies,

          Inc. v. Meents , 302 F.R.D. 364, 377 (D. Md. 2014) (citinK Wright, Miller & Marcus, FEDERAL

          PRACTICE AND PROCEDURE: Civil 2d § 2036.

              I.         THE NOTICE AND SUBPOENA SEEK DISCOVERY OF INFORMATION
                         THAT HAS NO RELEVANCE TO THE CLAIMS IN SUIT.

                   25.     The "Subpoena" allegedly seeks documents and information from the Baltimore

          Business Journal related to the selection process for Justin Drummond's inclusion on the "40

          Under 40" list. The "Notice" similarly seeks to require the Baltimore Business Journal to present

          a designee, specifically Jessica Iannetta,2 to provide testimony regarding that selection process.

                   26.     The Defendant argues that "these documents are material to proving a scheme to

          manipulate public perception, bolstering Drummond 's credibility while undermining the

          Defendant's position in this case" but provides no rationale for why these documents are

          necessary or relevant to the case beyond stating that they are necessary for proving fraud ,



          2
          Defendant has provided no indication whether the deficient "Notice" or " Subpoena" documents
          were personally served on Ms. lannetta.


                                                            7

M&S Attachments                                       Page # 7 of24                                      Exhibit 165-1018
           Case 1:24-cv-03744-BAH            Document 16-15          Filed 01/03/25      Page 124 of 151




          misrepresentation, perjury, judicial delay, or public manipulation as part of Dillon-Capps '

          defense.

                  27.     The information sought by Dillon-Capps lacks any material, substantive relevance

          to Ohana's claims. As noted above, Ohana's lawsuit asserts three legal claims against Dillon-

          Capps: (i) breach of Dillon-Capps' employment agreement; (ii) breach of Dillon-Capps ' legal

          duties as an employee; and (iii) violation of MD. CODE ANN., CRIM. LAW., §7-302(g) based

          on Dillon-Capps' violation of MD. CODE ANN ., CRIM. LAW., §7-302(c) (which include, in

          summary, actions causing the malfunction or interruption of computers or networks or computer

          data, and actions altering, damaging, or destroying computers, or networks or computer data) .

          None of the claims relate to fraud, misrepresentation, perjury, judicial delay, or public

          manipulation.

                  28.     The information sought likewise lacks any temporal nexus to the litigation. The

          Baltimore Business Journal's "40 Under 40" list was published on October 1, 2024, almost four

          months after Ohana filed its complaint on June 14, 2024.

                  29.     Moreover, permitting Dillon-Capps to pursue frivolous discovery will result in

          harm to both Ohana and the Baltimore Business Journal by requiring them to devote time and

          expense to responding to the subpoena, producing the records, and attending a deposition when

          none of the resulting material will be relevant or admissible.

                  30.     Simply put, none of the potential grounds raised by Dillon-Capps are actually at

          issue in this matter, and thus the materials sought by Dillon-Capps are entirely irrelevant. The

          Court should not countenance such an abuse of the discovery process and should issue a Protective

          Order barring Dillon-Capps from seeking the proposed discovery from the Baltimore Business

          Journal via the deficient "Notice" and "Subpoena" documents.




                                                            8


M&S Attachments                                       Page# 8 of24                                       Exhibit 165-1018
           Case 1:24-cv-03744-BAH               Document 16-15          Filed 01/03/25     Page 125 of 151




              II.          THE NOTICE AND SUBPOENA DO NOT COMPLY WITH THE
                           MARYLAND RULES

                    31 .     Even if either the "Notice" or "Subpoena" sought information relevant to the claims

          in suit, neither document complies with the applicable Maryland Rules .

                    32.      Md. Rule 2-5 l0(a)(l)(B) states that a "subpoena is required .. . to compel a

          nonparty to attend, give testimony, and produce and permit inspection, copying, testing, or

          sampling of designated documents, electronically stored information, or tangible things at a

          deposition." (emphasis added). The Baltimore Business Journal is a nonparty and thus a valid

          subpoena is required if Dillon-Capps intends to seek discovery from it.

                    33.      The "Notice" and "Subpoena" allegedly issued by Dillon-Capps are not valid and

          do not conform with Maryland law.

                    34.      The "Notice" indicates that the deposition "will be recorded via Microsoft Teams."

          There is no indication in the "Notice" that the proposed deposition will be conducted in accordance

          with Maryland Rules 2-414(a) (requiring the deposition to be taken before an officer who is not a

          relative or employee or attorney of a party and who is not financially interested in the action) , 2-

          415(a) (requiring testimony under oath and a transcription of the recording) or 2-416(t) (setting

          forth the general procedure for conducting a deposition). While the "Notice" implies that a copy

          was also served upon the Baltimore Business Journal, there is no indication in the "Notice" or

          otherwise, that it was accompanied by a properly issued subpoena as required by Md. Rule 2-

          5 l0(a)(l)(B).

                    35 .     The "Subpoena" purports to direct the Baltimore Business Journal to produce the

          requested documents on October 25 , 2024, or approximately half the time that would be required

          under Maryland Rule 2-412(c). However, the "Subpoena" is not on the Court' s form as required

          by Maryland Rule 2-510(c) and was not issued by the Clerk or otherwise in accordance with



                                                              9

M&S Attachments                                          Page# 9 of24                                   Exhibit 165-1018
           Case 1:24-cv-03744-BAH              Document 16-15            Filed 01/03/25    Page 126 of 151




          Maryland Rule 2-510(b). Under Md. Rule 2-5I0(a)(3), the court may impose a sanction for

          attempted misuse of a subpoena for any purpose, "including an award of a reasonable attorney's

          fee and costs, the exclusion of evidence obtained as a result of the violation, and reimbursement

          of any person inconvenienced for time and expenses incurred."

                     36.     Ohana respectfully submits that the "Notice" and "Subpoena" served by Dillon-

          Capps violate the Maryland Rules and should deemed to have no effect.

              III.         DISCOVERY SHOULD BE STAYED PENDING A SCHEDULING
                           CONFERENCE AND THE ISSUANCE OF A SCHEDULING ORDER

                     37.     To avoid the annoyance, undue burden, and expense of engaging in frivolous

          discovery, Ohana requests that the court stay all discovery until a scheduling conference has been

          held and a scheduling order has been issued in accordance with Md. Rule 2-403(a)(2).

                     38.     Holding a scheduling conference will permit the parties to meet and agree on the

           length of discovery to be conducted, thus reducing the need for extensive discovery motions.

                                                     CONCLUSION

                     WHEREFORE, because, for the reasons set forth above, Ohana respectfully requests the

          Court issue an Order:

                     A. Barring Defendant Ryan Dillon-Capps from pursuing discovery from the Baltimore
                        Business Journal as contemplated by Dillon-Capps ' "Notice" and "Subpoena;"

                     B. Staying all discovery pending a scheduling conference and the issuance of a scheduling
                        order; and

                     C. Granting such further and other relief to Ohana as justice and equity warrant.




                                                             10


M&S Attachments                                        Page # IO of 24                                   Exhibit 165-1018
           Case 1:24-cv-03744-BAH          Document 16-15           Filed 01/03/25      Page 127 of 151




          October 18, 2024                                    Respectfully submitted,


                                                              Isl Robert S. Brennen
                                                              Robert S. Brennen (AIS # 8712010068)
                                                              e-mail: RBrennen@milesstockbridge.com
                                                              Steven D. Frenkil (AIS # 7712010110)
                                                              e-mail: SFrenkil@milesstockbridge.com
                                                              Victoria K. Hoftberger (AIS # 1912170195)
                                                              e-mai I: VH offberger@m iIesstock bridge. com
                                                              Jessica L. Duvall (AIS # 1812110110)
                                                              e-mail: JDuvall@milesstockbridge.com
                                                              MILES & STOCKBRIDGE P.C.
                                                               l 00 Light Street
                                                              Baltimore, Maryland 21202
                                                              Telephone:       (410) 727-6464
                                                              Facsimile:       (410) 385-3 700

                                                              Counsel for PlaintiffOhana Growth
                                                              Partners, LLC



                                         CERTIFICATE OF SERVICE

                  I HEREBY CERTIFY that on October 18, 2024, a copy of the foregoing was sent via

          email to ryan@mxt3 .com and served on via first-class mail, postage prepaid on:

                                Ryan Dillon-Capps
                                1334 Maple Avenue
                                Essex , Maryland 21221
                                                              Isl Robert S. Brennen
                                                              Robert S. Brennen (AIS # 8712010068)




                                                         11


M&S Attachments                                    Page # 11 of24                                   Exhibit 165-1018
           Case 1:24-cv-03744-BAH              Document 16-15        Filed 01/03/25      Page 128 of 151




           OHANA GROWTH PARTNERS, LLC                        IN THE

                                  Plaintiff,                 CIRCUIT COURT

           vs.                                               FOR

           RYAN DILLON-CAPPS                                 BALTIMORE COUNTY

                                  Defendant.                 FILE NO.: C-03-CV-24-002264


                                     OPPOSITION TO DEFENDANT'S
                                   MOTION FOR EXPEDITED DISCOVERY

                  Plaintiff, Ohana Growth Partners, LLC. ("Plaintiff' or the "Ohana"), by its undersigned

          attorneys, hereby responds in opposition to the Motion for Expedited Discovery (the "Motion")

          filed by Defendant Ryan Dillon-Capps ("Defendant" or "Dillon-Capps") and states as follows:

                                                  INTRODUCTION

                  I.     Since the commencement of this matter on June 14, 2024 Dillon-Capps, appearing

          pro se, has filed numerous lengthy and rambling motions and other papers reflecting both (i)

          Dillon-Capps' failure to focus on the actual substance of the matter properly before the Court; and

          (ii) Dillon-Capps' apparent frustration regarding and undisguised contempt for the Court and its

          civil procedures. The prime example is Dillon-Capps' 39-page "Notice for Hypothesis of Crayons"

          in which, flouting a misperceived power to abuse filing privileges, Dillon-Capps quips:

                  I am in a unique position where I can place this on the court record and it is nearly
                  impossible for anyone to stop it from being added.

          (See page 23 .). Dillon-Capps' Motion for Expedited Discovery is cut from the same cloth.

          In it Dillon-Capps asks the Court to grant expedited discovery into matters that have

          nothing to do with these proceedings.

                  2.      The only causes of action pending before the Court in this matter are the three

          claims asserted in Ohana's Complaint, all of which arise from Dillon-Capps ' actions as Ohana 's




M&S Attachments                                      Page# 12 of24                                        Exhibit 165-1018
           Case 1:24-cv-03744-BAH             Document 16-15              Filed 01/03/25   Page 129 of 151




          employee, in violation of Dillon-Capps Employment Agreement and duties of loyalty, to lock

          Ohana out of administrative control over the software accounts through which Ohana operates its

          company email, document management and other critical systems. Dillon-Capps ' breaches began

          in May 2024 and Ohana regained administrative control over the accounts as of July 17, 2024.

          Dillon-Capps is seeking expedited discovery from the Baltimore Business Journal regarding

          Ohana President Justin Leonard's October 1, 2024 inclusion into the publication 's 2024 class of

          "40 Under 40" honorees. The requested discovery seeks information which has nothing

          whatsoever to do with any facts material to this case. Thus, not only should the discovery not be

          expedited, it should not take place at all.

                                FACTUAL AND PROCEDURAL BACKGROUND

                  3.      Dillon-Capps is Ohana's former Vice President oflnformation Technology.

                  4.      Ohana sued Dillon-Capps on June 14, 2024, asserting causes of action for (i) breach

          of contract; (ii) breach of common law employee 's duty ofloyalty, and (iii) under Mo. CODE AN .,

          CRIM. LAW., §7-302(g) based on Dillon-Capps' violation of MD. CODE ANN. , CRIM. LAW., §7-

          302(c) (which include, in summary, actions causing the malfunction or interruption of computers

          or networks or computer data, and actions altering, damaging, or destroying computers, or

          networks or computer data).

                  5.      All three of Ohana's claims are based upon the Dillon-Capps ' actions to lock Ohana

          out of administrative control of its Microsoft 365 software account---which includes Ohana 's

          company email accounts and document management system, and GoDaddy.com domain name

          registrations---which control access to and administration of Ohana 's websites, and upon Dillon-

          Capps' alleged refusal to comply with repeated directives to extend such administrative control to

          Ohana's officers and outside IT consultants.




                                                              2


M&S Attachments                                         Page # 13 of 24                              Exhibit 165-1018
           Case 1:24-cv-03744-BAH             Document 16-15          Filed 01/03/25       Page 130 of 151




                  6.     Dillon-Capps is and always has been self-represented in this matter.

                  7.     Ohana also filed a Motion for Temporary Restraining Order and Preliminary

          Injunction ("Motion for TRO/PI") along with the filing of its Complaint on June 14, 2024. Dillon-

          Capps was served with the Complaint, Summons, and Motion for TRO/Pl on June 17, 2024.

                  8.     The Court entered Ohana' s requested TRO on June 17, 2024, directing Dillon-

          Capps to provide Ohana and its consultants administrative control over Ohana's Microsoft 365

          software account and GoDaddy.com domain name registrations.

                  9.      Dillon-Capps was served with the TRO. He knowingly and intentionally did not

          comply with the requirements of the TRO.

                  IO.    On June 26, 2024, the Court held a hearing on Ohana' s Motion for PI. Dillon-Capps

          appeared and testified at the PI hearing. After the hearing, the Court granted Ohana ' s Motion for

          PI and issued a preliminary injunction. The Preliminary Injunction contained the same

          requirements as the TRO- it directed Dillon-Capps to provide Ohana and its consultants

          administrative control over Ohana's Microsoft 365 software account and GoDaddy.com domain

          name registrations.

                  11.    Dillon-Capps again knowingly and intentionally failed to comply with the Court's

          orders. He did not provide Ohana or its consultants administrative control over Ohana 's Microsoft

          365 software account and GoDaddy.com domain name registrations.

                  12.    The Court held another hearing the very next day. Dillon-Capps again appeared and

          testified at the hearing. At the conclusion of the hearing, the Court entered an order finding Dillon-




                                                            3


M&S Attachments                                       Page# 14 of24                                     Exhibit 165-1018
           Case 1:24-cv-03744-BAH            Document 16-15           Filed 01/03/25       Page 131 of 151




          Capps in contempt of the Preliminary Injunction and fining him $2,500 for each ensuing day that

          passed without his compliance with the Preliminary Injunction. 1

                  13.     Dillon-Capps still did not comply with the Preliminary Injunction.

                  14.     On July 12, 2024, Ohana was able to regain administrative control of its MS 365

          account with the assistance of representatives of Microsoft Corporation, even without the

          cooperation of Dillon-Capps. On July 17, 2024, Dillon-Capps cooperated with Ohana for the first

          time, and took action that allowed Ohana to regain administrative control over Ghana 's GoDaddy

          Account and internet domain name registrations.

                  15.     On July 17, 2024, Ohana therefore filed a Notice of Withdrawal of Petition for

          Constructive Civil Contempt that it had filed against Dillon-Capps. But Ohana reserved its right

          to seek judgment against Dillon-Capps in an amount equal to the contempt fines accrued against

          him, as well as the legal fees, consultant fees and other expenses relating to Ghana 's claims against

          Dillon-Capps.

                  16.     In addition to the pleadings and papers described above, Dillon-Capps has filed

          approximately 18 other motions and requests.

                  17.     More than ten of Dillon-Capps' motions or requests, including his Motion for

          Sanctions, have been filed since September 27, 2024, and are not yet ripe for review . In his various

          pending motions and requests, Dillon-Capps makes unfounded allegations against Ohana, M&S ,



           1
           The Court rejected as not credible Dillon-Capps' sworn testimony that he was unable to access
          the Microsoft 365 and GoDaddy accounts because Dillon-Capps could not locate "key fobs"
          Dillon-Capps testified were needed for multifactor authentication in logging into the accounts. As
          explained in the later filed July 3, 2024, Affidavit of Daniel J. Levitt, after Ohana finally regained
          administrative control of the accounts Ohana confirmed that Court had correctly seen through
          Dillon-Capps ' perjury: all Dillon-Capps needed to access the accounts was Dillon-Capps ' cell
          phone, which Dillon-Capps had in the courtroom on June 26 th and 27 th . Dillon-Capps could have
          complied with the Preliminary Injunction then and there, but intentionally chose to lie, under oath,
          about key fobs and be found in contempt of the Preliminary Injunction.


                                                            4


M&S Attachments                                       Page# 15 of24                                     Exhibit 165-1018
           Case 1:24-cv-03744-BAH              Document 16-15          Filed 01/03/25     Page 132 of 151




          and even against the judges of this Court. He accuses every judge of this court of "dereliction of

          duty" for not yet ruling on his pending motions and requests, and he accuses seven judges of this

          Court of being engaged in a conspiracy with Ohana.

                  18.      Ohana has filed, and will continue to file when necessary, oppositions to Dillon-

          Capps' motions and requests. Ohana has also requested that this matter be specially assigned to a

          single judge of this Court, given the frequency, length, and nature of Dillon-Capps ' filings ,

          including his accusations against the judges of this Court.

                  DEFENDANT'S ATTEMPTED MISUSE OF DISCOVERY PROCEDURES

                  19.      On Friday, October 11 , 2024, a private process server retained by Dillon-Capps

          served Ohana's counsel with a "Notice of Deposition of Third Parties of Baltimore Business

          Journal" in which Dillon-Capps stated that

                        Defendant seeks to depose representatives of the Baltimore Business Journal ,
                        specifically managing editor Jessica lannetta, regarding the nomination and
                        selection of Justin Drummond, President of Ohana Growth Partners, LLC, to
                        the Journal's "40 Under 40" list published on October 1, 2024. This deposition
                        is critical to uncovering whether any external influence, particularly from the
                        Plaintiff or its legal counsel, Miles & Stockbridge, played any role in
                        Drummond's nomination during the ongoing litigation concerning fraud ,
                        perjury and judicial delay.

          The "Notice" further asserts that the information sought "directly relates to Plaintiffs

          credibility and potential manipulation of public perception during this ongoing legal

          matter." The "Notice" indicates that the deposition "will be recorded via Microsoft

          Teams." There is no indication in the "Notice" that the proposed deposition will be

          conducted in accordance with Maryland Rules 2-414(a), 2-415(a) or 2-416(f). While its

          content implies that a copy of the "Notice" was also served upon the Baltimore Business

          Journal, there is no indication in the "Notice" or otherwise, that it was accompanied by a




                                                             5

M&S Attachments                                        Page# 16 of24                                      Exhibit 165-1018
           Case 1:24-cv-03744-BAH           Document 16-15            Filed 01/03/25      Page 133 of 151




          properly issued subpoena compelling a representative of the Baltimore Business Journal to

          appear on October 25 , 2024 as directed.

                  20.    Served with the "Notice" was a 12-page document entitled "SUBPOENA DUCES

          TECUM FOR DOCUMENTS" (the "Subpoena") through which Dillon-Capps seeks "documents

          that are readily accessible and specific to Drummond 's nomination and selection for the '40 Under

          40 ' list." The "Subpoena" purports to direct the Baltimore Business Journal to produce the

          requested documents on October 25, 2024, or approximately half the time that would be required

          under Maryland Rule 2-412(c). However, the "Subpoena" is not on the Court's form and was not

          issued by the Clerk or otherwise in accordance with Maryland Rule 2-51 0(b ).

                  21 .   Because both the "Notice" and the "Subpoena" suffer from numerous procedural

          flaws , and because the discovery sought bears no rational relationship to the issues presented in

          the matter, Ohana has filed a Motion for Protective Order barring Dillon-Capps from attempting

          to pursue the requested discovery and staying all discovery pending a scheduling conference

          (which Ohana has requested) and the issuance of a Scheduling Order. Ghana' s Motion for

          Protective Order is incorporated herein by reference.

                  22.    Contemporaneous with the service of the "Notice" and "Subpoena" Dillon-Capps

          filed a Motion to Expedite the discovery they are purportedly seeking through those documents.

          As Dillon-Capps ' "Notice" is not a proper notice to take deposition and is not accompanied by a

          proper deposition subpoena, and the "Subpoena" is not a properly issued subpoena, neither

          document creates any obligation on the part of the Baltimore Business Journal to appear for a

          deposition or to produce any documents. And, especially if Ohana 's Motion for Protective Order

          is granted, there will be no discovery to be expedited. Even if Dillon-Capps had properly served




                                                           6


M&S Attachments                                      Page # 17 of24                                   Exhibit 165-1018
            Case 1:24-cv-03744-BAH              Document 16-15         Filed 01/03/25      Page 134 of 151




          legitimate discovery requests they have not established any basis for why any discovery should be

          expedited.

                                                      ARGUMENT

                  23.        Maryland Rule 2-401 sets forth general discovery guidelines and is patterned after

          Federal Rule of Civil Procedure 26. Maryland Rule 2--40l(b) specifically permits the Court to

          order that discovery be completed by a specified date or time but does not provide any test or

          measure for courts to utilize when weighing a request to expedite discovery.

                  24.        "[W]hen interpreting a Maryland Rule that is similar to a Federal Rule of Civil

          Procedure[, a] Court may look for guidance to federal decisions construing the corresponding

          federal rule[.]" Tanis v. Crocker, 110 Md. App. 559, 574 (1996).

                  25.        In the expedited discovery context, federal courts "have adopted a reasonableness

          standard, ... determining whether the request is supported by good cause, considering the totality

          of the circumstances." Brightview Grp., LP v. Teeters, Civ. No. SAG-19-2774, 2019 WL

           11660174, at *l (D. Md. Nov. 6, 2019). Relevant factors include:

                        a. the breadth of the requested expedited discovery;
                        b. the reasons the moving party is requesting expedited discovery;
                        c. the burden on the opponent to comply with the request for expedited discovery;
                        d. whether the information sought expeditiously could be obtained more efficiently
                           from some other source; and
                        e. the extent to which the discovery process would be expedited.

          Courthouse News Serv. v. Harris , No. CV ELH-22-548, 2022 WL 3577255, at *4 (D. Md. Aug.

           18, 2022) (citing Mullane v. Almon, 339 F.R.D. 659, 662 (N.D. Fla. 2021)).

                  26.        Dillon-Capps has not demonstrated how the discovery sought would ever be

          admissible in evidence in this matter. Dillon-Capps has also failed to demonstrate why the

          discovery should be obtained on an expedited, emergency basis. Dillon-Capps ' Motion for

          Expedited Discovery is unsupported by any affidavits or case law. There is no preliminary



                                                             7


M&S Attachments                                        Page# 18 of24                                   Exhibit 165-1018
           Case 1:24-cv-03744-BAH           Document 16-15          Filed 01/03/25      Page 135 of 151




          injunction, motion to dismiss, or other time-sensitive motion pending or hearing or other

          proceeding scheduled that would require the requested information on an expedited basis.

          Moreover, the burden on the Baltimore Business Journal to comply with the discovery requests is

          substantial given that Defendant is demanding that the newspaper respond to all discovery requests

          within 14 days of service.

                                                  CONCLUSION

                  WHEREFORE, because, for the reasons set forth above, Ohana respectfully requests that

          Dillon-Capps' Motion for Expedited Discovery be denied.

          October 18, 2024                                    Respectfully submitted,


                                                              Isl Robert S. Brennen
                                                              Robert S. Brennen (AIS # 8712010068)
                                                              e-mail: RBrennen@milesstockbridge.com
                                                              Steven D. Frenkil (AIS # 7712010110)
                                                              e-mail: SFrenkil@milesstockbridge.com
                                                              Victoria K. Hoffberger (AIS # 1912170195)
                                                              e-mail: VHoftberger@milesstockbridge.com
                                                              Jessica L. Duvall (AIS # 1812110110)
                                                              e-mail: JDuvall@milesstockbridge.com
                                                              MILES & STOCKBRIDGE P.C.
                                                               l 00 Light Street
                                                              Baltimore, Maryland 21202
                                                              Telephone:       (410) 727-6464
                                                              Facsimile:       (410) 385-3700

                                                              Counsel for Plaintjff Ohana Growth
                                                              Partners, LLC




                                                          8

M&S Attachments                                     Page# 19 of24                                   Exhibit 165-1018
           Case 1:24-cv-03744-BAH           Document 16-15           Filed 01/03/25    Page 136 of 151




                                          CERTIFICATE OF SERVICE

                  l HEREBY CERTIFY that on October 18, 2024, a copy of the foregoing was sent via

          email to ryan@mxt3 .com and served on via first-class mail, postage prepaid on:

                                Ryan Dillon-Capps
                                1334 Maple Avenue
                                Essex, Mary land 21221
                                                              Isl Rober! S Brennen
                                                              Robert S. Brennen (AIS # 8712010068)




                                                         9

M&S Attachments                                    Page # 20 of 24                              Exhibit 165- 1018
            Case 1:24-cv-03744-BAH                       Document 16-15       Filed 01/03/25   Page 137 of 151




            OHANA GROWTH PARTNERS, LLC                               IN THE

                                            Plaintiff,               CIRCUIT COURT

            vs.                                                      FOR

            RY AN DILLON-CAPPS                                       BALTIMORE COUNTY

                                            Defendant.               FILE NO.: C-03-CV-24-002264

                                         lPROPOSED] ORDER GRANTING PLAINTIFF'S
                                            MOTION FOR A PROTECTIVE ORDER

                     UPON CONSIDERATION of Plaintiff Ohana Growth Partners, LL C's ("Ohana"), Motion

          for Protective Order ("Motion"), and any opposition thereto, and for good cause shown, it is this

          __ day of - - - - - - - -, 2024,

                     ORDERED that the Motion be and hereby is GRANTED;

                     IT IS FURTHER ORDERED that Defendant Ryan Dillon-Capps is barred from pursuing

          discovery related to the Baltimore Business Journal 's "40 Under 40" list; and

                     IT IS FURTHER ORDERED that all discovery in this matter is hereby stayed pending a

          scheduling conference and the issuance of a scheduling order.




                                                                Judge,
                                                                Circuit Court for Baltimore County, Maryland

          Copies to:

          Ryan Dillon-Capps (via email to ryan@mxt3 .com)
          Robert S. Brennen (via MDEC and email to rbrennen@milesstockbridge.com)




           I 19447\000004\4862-0617-0865 .v I



M&S Attachments                                               Page# 21 of24                               Exhibit 165-1018
           Case 1:24-cv-03744-BAH                      Document 16-15         Filed 01/03/25   Page 138 of 151




           OHANA GROWTH PARTNERS, LLC                               IN THE

                                          Plaintiff,                CIRCUIT COURT

           vs.                                                      FOR

           RY AN DILLON-CAPPS                                       BALTIMORE COUNTY

                                           Defendant.               FILE NO.: C-03-CV-24-002264

                                       [PROPOSED] ORDER DENYING DEFENDANT'S
                                          MOTION FOR EXPEDITED DISCOVERY

                    UPON CONSIDERATION of the Motion for Expedited Discovery ("Motion") filed by

          Defendant Ryan Dillon-Capps, and the opposition thereto filed by Plaintiff Ohana Growth

          Partners, LLC, and for good cause shown, it is this __ day of _ _ _ __ _ _ , 2024,

                    ORDERED that the Motion be and hereby is DENIED.




                                                              Judge,
                                                              Circuit Court for Baltimore County, Maryland

          Copies to:

          Ryan Dillon-Capps (via email to ryan@mxt3.com)
          Robert S. Brennen (via MDEC and email to rbrennen@milesstockbridge.com)




           119447\00000414862-6069-68 l 7.v2



M&S Attachments                                             Page # 22 of 24                              Exhibit 165-1018
            Case 1:24-cv-03744-BAH                 Document 16-15            Filed 01/03/25   Page 139 of 151




            OHANA GROWTH PARTNERS, LLC                                       IN THE
                         Plaintiff,
                                                                             CIRCUIT COURT
                       vs.
                                                                             FOR
            RYAN DILLON-CAPPS
                          Defendant.                                         BALTIMORE COUNTY

                                                                             FILE NO.: C-03-CV-24-002264



                                    PLAINTIFF'S REQUEST FOR SCHEDULING CONFERENCE

                                Plaintiff, Ohana Growth Partners LLC. ("Plaintiff' or the "Ohana"), by its

          undersigned attorneys , hereby requests a scheduling conference in the above-captioned matter, and

          in connection therewith states:

                     1.         This matter was commenced with Ohana 's filing of its Complaint on June 14, 2025.

                     2.         On August 20, 2024 Ohana filed a Request for Entry of Default and the Court issued

          an Order of Default.

                     3.         On September 20, 2024 Defendant Ryan Dillon-Capps ("Defendant" or "Dillon-

          Capps" filed a Motion to Vacate the Order of Default. On October l 0, 2024 the Court granted

          Dillon-Capps' Motion to Vacate and on October 16, 2024 an Order vacating the Order of Default

          was entered on the Docket.

                     4.         Dillon-Capps, who has proceeded pro se throughout these proceedings, has filed

          numerous motions and requests, several of which are currently pending.

                     5.         Ohana believes that the parties and the Court could benefit from the Court 's

          convening a Scheduling Conference for discussion of how the matter can proceed most efficiently.

                     WHEREFORE, Plaintiff Ohana Growth Partners, LLC respectfully requests that the Court

          issue an Order setting a Scheduling Conference to take place at the Court' s earliest convenience.
                                                                      1

           11 9447100000414864-66 19-8 257.v 1




M&S Attachments                                            Page # 23 of 24                                Exhibit 165-1018
            Case 1:24-cv-03744-BAH                    Document 16-15           Filed 01/03/25   Page 140 of 151




          October 18, 2024                                     Respectfully submitted,

                                                               Isl Robert S. Brennen
                                                               Robert S. Brennen (AIS # 8712010068)
                                                               e-mail: RBrennen@milesstockbridge.com
                                                               Steven D. Frenkil (AIS # 7712010110)
                                                               e-mail: SFrenkil@milesstockbridge.com
                                                               Victoria K. Hoffberger (AIS # 1912170195)
                                                               e-mail: VHoftberger@milesstockbridge.com
                                                               Jessica L. Duvall (AIS # 1812110110)
                                                               e-mail: JDuvall@milesstockbridge.com
                                                               MILES & STOCKBRIDGE P.C.
                                                                l 00 Light Street
                                                               Baltimore, Maryland 21202
                                                               Telephone:       (410) 727-6464
                                                               Facsimile:       (410) 385-3 700

                                                                Counsel for PlaintijfOhana Growth Partners, LLC

                                                       CERTIFICATE OF SERVICE

                     I HEREBY CERTIFY that on October 18, 2024, a copy of the foregoing was sent via email

          to ryan@mxt3.com and served on via first-class mail, postage prepaid on:

                                                  Ryan Dillon-Capps
                                                  1334 Maple Avenue
                                                  Essex, Mary land 21221

                                                                Isl Robert S. Brennen
                                                                Robert S. Brennen (AIS # 8712010068)




                                                                        2

           I I 9447100000414864-66 I 9-8257.v I




M&S Attachments                                              Page # 24 of 24                               Exhibit 165-1018
           Case 1:24-cv-03744-BAH              Document 16-15        Filed 01/03/25       Page 141 of 151




           OHANA GROWTH PARTNERS, LLC                        IN THE

                                  Plaintiff,                 CIRCUIT COURT

           vs .                                              FOR

           RY AN DILLON-CAPPS                                BALTIMORE COUNTY

                                  Defendant.                 FILE NO.: C-03-CV-24-002264


                                     NOTICE OF VOLUNTARY DISMISSAL

                  Plaintiff, Ohana Growth Partners, LLC., by its undersigned attorneys , and pursuant to

          MD Rule 2-506(a), hereby gives notice of the dismissal, without prejudice, of the above-

          captioned matter.

          October 24, 2024                                      Respectfully submitted,


                                                                Isl Robert S. Brennen
                                                                Robert S. Brennen (ATS # 87120 I 0068)
                                                                e-mail : RBrennen@milesstockbridge.com
                                                                Steven D. Frenkil (AIS # 7712010110)
                                                                e-mail: SFrenkil@milesstockbridge.com
                                                                Victoria K. Hoffberger (AIS # 1912170195)
                                                                e-mail: VHoffberger@milesstockbridge.com
                                                                Jessica L. Duvall (AIS # 1812110110)
                                                                e-mail: JDuvall@milesstockbridge.com
                                                                MILES & STOCKBRIDGE P.C.
                                                                 I 00 Light Street
                                                                Baltimore, Maryland 21202
                                                                Telephone:       (410) 727-6464
                                                                Facsimile:       (410) 385-3700

                                                                Counsel for P/aintif.!Ohana Growth
                                                                Partners, LLC




M&S Attachments                                       Page # 1 of2                                   Exhibit 165-1024
           Case 1:24-cv-03744-BAH          Document 16-15          Filed 01/03/25     Page 142 of 151




                                          CERTIFICATE OF SERVICE
                  I HEREBY CERTIFY that on October 24, 2024, a copy of the foregoing was sent via

          email to ryan@mxt3.com and served on via first-class mail , postage prepaid on:

                                Ryan Dillon-Capps
                                1334 Maple Avenue
                                Essex, Maryland 21221
                                                              Isl Robert S. Brennen
                                                              Robert S. Brennen (AIS # 8712010068)




                                                         2


M&S Attachments                                      Page# 2 of2                                Exhibit 165-1024
           Case 1:24-cv-03744-BAH                Document 16-15         Filed 01/03/25     Page 143 of 151




            OHANA GROWTH PARTNERS, LLC                         IN THE

                                    Plaintiff,                 CIRCUIT COURT

            vs .                                               FOR

            RYAN DILLON-CAPPS                                  BALTIMORE COUNTY

                                    Defendant.                 FILE NO.: C-03-CV-24-002264


                                         OPPOSITION TO DEFENDANT'S
                                             MOTION TO STRIKE
                                       NOTICE OF VOLUNTARY DISMISSAL

                   Plaintiff, Ohana Growth Partners, LLC. ("Plaintiff' or the "Ohana"), by its undersigned

          attorneys, hereby responds in opposition to the Motion to Strike Plaintiffs Notice of Voluntary

          Dismissal (the "Motion") filed by Defendant Ryan Dillon-Capps ("Defendant" or "Dillon-Capps")

          and states as follows :

                   1.     Ohana commenced the above-captioned action on June 14, 2024 by filing its three-

          count Complaint against Dillon-Capps.

                   2.     Dillon-Capps has never filed an Answer to the Complaint.

                   3.     Marland Rule 2-506(a) states:

                   (a) By Notice of Dismissal or Stipulation. Except as otherwise provided in these
                       rules or by statute, a party who has filed a complaint, counterclaim, cross-claim,
                       or third-party claim may dismiss all or part of the claim without leave of court
                       by filing (1) a notice of dismissal at any time before the adverse party files an
                       answer or (2) a stipulation of dismissal signed by all parties to the claim being
                       dismissed.

          MARYLAND RULE 2-506(a).

                   4.     On October 24, 2024, and prior to Dillon-Capps filing an Answer, Ohana filed a

          Notice of Voluntary Dismissal of the above-captioned action.




M&S Attachments                                         Page # 1 of 5                                   Exhibit 165-1025
            Case 1:24-cv-03744-BAH               Document 16-15          Filed 01/03/25       Page 144 of 151




                      5.     Dillon-Capps does not identify any statute or rule, nor do they cite to any

           controlling or persuasive authority in their 30-page Motion, his 24-page Affidavit or the 671 pages

           of exhibits filed therewith, that limits or restricts Ohana 's unqualified right under Rule 2-506(a) to

          voluntarily dismiss this action.

                      6.     The primary authorities that Dillon-Capps cites to support their Motion are either

           grossly mischaracterized or invented by Dillon-Capps out of thin air:

                  •   At pages 14 and 18 of the Motion, Dillon-Capps cites the then Court of Special Appeals'
                      opinion in Unger v. Berger, 214 Md. App. 426 (2013) as having "emphasized the need for
                      judicial oversight to ensure that dismissals are not utilized to evade the consequences of
                      bad faith litigation." While the procedural history recounted by the Court did include
                      reference to a voluntary dismissal of a petition filed in the Probate Court for Dekalb
                      County, Georgia, the Court did not comment on or analyze that dismissal, nor make any
                      comment on, let alone emphasize, judicial oversight of voluntary dismissals . The words
                      "oversight," "evade," "consequences," "bad," "litigation," "misuse," "integrity,"
                      "judicial," "process," and "mechanisms" simply do not appear anywhere in the opinion.

                  •   At pages 15 and 16 of the Motion, Dillon-Capps cites the then Court of Appeals' opinion
                      in F,/lerin v. Fairfax Sav., F. S.B. , 337 Md. 216 (1995) as "emphasizing that courts have
                      the authority to impose conditions on voluntary dismissals to prevent unfair prejudice or
                      manipulation of the judicial process." However, there is no reference whatsoever to
                      voluntary dismissal, and, once again, the words "voluntary," "dismissal," "unfair,"
                      "prejudice," " manipulation," "judicial," "process," "conditions," "procedural," and
                      "abuse" do not appear anywhere in the opinion.

                  •   At pages 8, 11 , 14, 15, 18 and 21 of the Motion Dillon-Capps cites to a "North Star Marin e,
                      Inc. v. M/V ANDA , 13 F. Supp. 2d 631 (D.Md. 1998) claiming that therein "the U.S.
                      District Court for the District of Maryland highlighted the Court's discretion to impose
                      conditions on voluntary dismissals as a means to prevent procedural abuses ." However,
                      there is no such opinion of the District of Maryland. There is an opinion of the U.S.
                      District Court for Northern District of Ohio in Fisher v. Ford Motor Company at 13
                      F.Supp. 2d 631 , but that matter did not involve a voluntary dismissal, nor did the words
                      "voluntary," "dismissal," "abuse," "safeguard," "improper," "evade," "accountability,"
                      "judicial," "scrutiny," "abusive," "conditions," or "manipulate." Ohana 's search on
                      Westlaw® and PACER failed to find any case styled as North Star Marine, inc. v. MIV
                      ANDA ever having been pending before the District of Maryland. In fact, a broader
                      PACER search revealed no such case as ever pending before any federal court, and that
                      neither North Star Marine nor the MN ANDA have ever been parties to any action in the
                      District of Maryland.




                                                               2


M&S Attachments                                           Page # 2 of5                                     Exhibit 165-1025
           Case 1:24-cv-03744-BAH             Document 16-15          Filed 01/03/25       Page 145 of 151




                  7.      While by no means a legitimate excuse, Ohana is willing to give Dillon-Capps the

          benefit of the doubt that such mis-citation and mischaracterization of authorities was the result of

          misuse of and unwise reliance upon hallucinating artificial intelligence tools , rather than a knowing

          and deliberate attempt on Dillon-Capps ' part to mislead the Court. In either event, Dillon-Capps

          has not identified any legally sufficient basis for the relief sought in his Motion. There is none.

                  WHEREFORE, for the reasons set forth above, Ohana respectfully requests that Court

          enter Orders:

                  A. Denying Dillon-Capps' Motion to Strike Notice of Voluntary Dismissal;

                  B. Denying all outstanding motions and requests as MOOT in view of the dismissal of the
                     action ; and

                  C. Directing the Clerk to designate the Court's file on this matter closed and disable the
                     use of the MDEC system for further filings.


          October 25 , 2024                                      Respectfully submitted,


                                                                Isl Robert S. Brennen
                                                                Robert S. Brennen (AIS # 8712010068)
                                                                e-mail: RBrennen@milesstockbridge.com
                                                                Steven D. Frenkil (AIS # 7712010110)
                                                                e-mail: SFrenkil@milesstockbridge.com
                                                                Victoria K. Hoffberger (AIS # 1912170195)
                                                                e-mail: VHoffberger@milesstockbridge.com
                                                                Jessica L. Duvall (AIS # 1812110110)
                                                                e-mail: JDuvall@milesstockbridge.com
                                                                MILES & STOCKBRJDGE P.C.
                                                                 l 00 Light Street
                                                                Baltimore, Maryland 21202
                                                                Telephone:       (410) 727-6464
                                                                Facsimile:       (4 I 0) 385-3 700

                                                                Counsel for Plaintiff Ghana Growth
                                                                Partners, LLC




                                                            3

M&S Attachments                                        Page# 3 of5                                      Exhibit 165-1025
            Case 1:24-cv-03744-BAH          Document 16-15        Filed 01/03/25      Page 146 of 151




                                         CERTIFICATE OF SERVICE

                  I HEREBY CERTIFY that on October 25, 2024, a copy of the foregoing was sent via

          email to ryan@mxt3 .com and served on via first-class mail, postage prepaid on:

                                Ryan Dillon-Capps
                                1334 Maple Avenue
                                Essex, Mary land 21221
                                                             Isl Robert S. Rrennen
                                                             Robert S. Brennen (AIS # 8712010068)




                                                         4

M&S Attachments                                     Page# 4 of5                                Exhibit 165-1025
            Case 1:24-cv-03744-BAH                       Document 16-15      Filed 01/03/25     Page 147 of 151
.

            OHANA GROWTH PARTNERS, LLC                               IN THE

                                            Plaintiff,               CIRCUIT COURT

            vs .                                                     FOR

            RY AN DILLON-CAPPS                                       BALTIMORE COUNTY

                                            Defendant.               CASE NO.: C-03-CV-24-002264


                                               (PROPOSED]
                                             ORDER DENYING
                             MOTION TO STRIKE NOTICE OF VOLUNTARY DISMISSAL

                     Upon consideration of Defendant Ryan Dillon-Capps ' Motion to Strike Notice of

          Voluntary Dismissal, and Plaintiff Ohana Growth Partners, LLC ' s Oppositions thereto, it is this

          __ day of - - - - -, 2024, hereby :


                     ORDERED that Defendant's Motion to Strike be, and is hereby DENIED; and it is further


                     ORDERED that, in light of the dismissal of the above-captioned matter, all outstanding

          motions and requests in the matter be, and hereby are DENIED AS MOOT; and it is further


                     ORDERED that, in light of the dismissal of the above-captioned matter, the Clerk shall

          designate the Court' s file on this matter closed and shall disable the use of the MDEC system for

          further filings.




                                                                        Judge, Circuit Court for Baltimore County




           l l 94471000004\4893-4060-389 1.v 1



M&S Attachments                                                Page# 5 of5                                  Exhibit 165-1025
           Case 1:24-cv-03744-BAH              Document 16-15        Filed 01/03/25      Page 148 of 151
      ◄




           OHANA GROWTH PARTNERS, LLC                        IN THE

                                  Plaintiff,                 CIRCUIT COURT

           vs.                                               FOR

           RY AN DILLON-CAPPS                                BALTIMORE COUNTY

                                  Def endant.                FILE NO.: C-03-CV-24-002264


                                    PLAINTIFF'S OPPOSITION
                                              TO
                       DEFENDANT'S OCTOBER 25, 2024 MOTION FOR SANCTIONS

                  Plaintiff, Ohana Growth Partners, LLC. ("Plaintiff' or the "Ohana"), by its undersigned

          attorneys, hereby responds in opposition to the Motion for Sanctions filed on October 25, 2024

          (the "Motion") by Defendant Ryan Dillon-Capps ("Defendant" or "Dillon-Capps") and states as

          follows :

                  1.     Dillon-Capps once again has filed a Motion for Sanctions against Ohana and its

          counsel Miles & Stockbridge P.C. ("M&S"), again seeking, inter alia, monetary sanctions against

          Ohana and M&S, referral of M&S to the Attorney Grievance Commission, referral of Ohana and

          M&S to the Maryland Attorney General, and disqualification of M&S as Ohana 's counsel. Like

          his earlier filed (and denied) Motion, Dillon-Capps cannot meet his burden to establish he is

          entitled to this extraordinary remedy, which should be exercised in only rare and exceptional cases.

          See Garcia v. Folger Pratt Development, Inc., 155 Md. App. 634, 678 (2004).

                  2.     According to Paragraph 4, the filings that are the subjects of the Motion are:

                         a. Ohana' s Opposition to Defendant's Motion to Strike Notice -of Voluntary
                            Dismissal filed on October 25 , 2024; and

                         b. Ohana's Proposed Order Denying Defendant's Motion to Strike Notice of
                            Voluntary Dismissal, also filed on October 25 , 2024.




M&S Attachments                                       Page# 1 of 4                                    Exhibit 165-1031
           Case 1:24-cv-03744-BAH             Document 16-15          Filed 01/03/25       Page 149 of 151




          In that same Paragraph 4 Dillon-Capps asserts that "[t]hese documents, individually and

          collectively, constitute improper filings, bad faith litigation, or otherwise violate legal and ethical

          standards." That bald, conclusory, and completely baseless statement is the only statement directed

          at Ohana' s Opposition and Proposed Order in the entire 17-page Motion.

                  3.     The balance of the Motion is an incomprehensible mishmash of (a) Dillon-Capps'

          pending Motion to Strike Ohana' s Notice of Voluntary Dismissal1; and (b) Dillon-Capps ' prior

          Motion for Sanctions filed on September 27, 2024 and denied by Order of this Court on October

          21 , 2204.

                  4.     Like Dillon-Capps' earlier Motion for Sanctions that the Court denied, the October

          25 , 2024 Motion states no basis whatsoever for sanctions to be ordered against Ohana or M&S.

          The Motion is entirely without merit and should be denied.

                  5.     Ohana incorporates by reference herein (a) Ohana' s Opposition, filed October 14,

          2024, to Dillon-Capps ' September 27, 2024 Motion for Sanctions: and (b) Ohana' s Opposition,

          filed October 25 , 2024, to Dillon-Capps ' October 24, 2024 Motion to Strike Notice of Voluntary

          Dismissal.

                  WHEREFORE, for the reasons set forth above, Ohana respectfully requests that Dillon-

          Capps ' October 25 , 2024 Motion for Sanctions be denied.




           1
            In addition to arguments Dillon-Capps asserted in the Motion to Strike, Dillon-Capps continues
          to cite the Court to the non-existent opinion in the non-existent case of "North Star Marine, In c. v.
          MIV ANDA, 13 F. Supp. 2d 631 (D. Md. 1998)." See page 6, Paragraph 21 , page 9, Paragraph 35,
          and page 10, Paragraph 7. This time Dillon-Capps' effort to mislead the Court is clearly knowing
          and intentional.

                                                            2


M&S Attachments                                        Page# 2 of4                                       Exhibit 165-1031
            Case 1:24-cv-03744-BAH                Document 16-15         Filed 01/03/25       Page 150 of 151




           October 31, 2024                                         Respectfully submitted,


                                                                    Isl Robert S. Brennen
                                                                    Robert S. Brennen (AIS # 87120 I0068)
                                                                    e-mail: RBrennen@milesstockbridge.com
                                                                    Steven D. Frenkil (AIS # 7712010110)
                                                                    e-mail: SFrenkil@milesstockbridge.com
                                                                    Victoria K. Hoffberger (AIS # 1912170195)
                                                                    e-mai I: VHoftberger@m iIesstockbri dge.com
                                                                    Jessica L. Duvall (AIS # 1812110110)
                                                                    e-mai I: ]Duval l@milesstockbridge.com
                                                                    MILES & STOCKBRIDGE P.C.
                                                                    100 Light Street
                                                                    Baltimore, Maryland 21202
                                                                    Telephone:      (410) 727-6464
                                                                    Facsimile:      (410) 385-3 700

                                                                    Counsel/or Plaintif/Ohana Growth
                                                                    Partners, LLC



                                                CERTIFICATE OF SERVICE

                    I HEREBY CERTIFY that on October 31, 2024, a copy of the foregoing was sent via

          email to ryan@mxt3.com and served on via first-class mail, postage prepaid on:

                                        Ryan Dillon-Capps
                                        1334 Maple Avenue
                                        Essex, Maryland 21221
                                                                    Isl Robert S. Brennen
                                                                    Robert S. Brennen (AIS # 8712010068)




                                                                3
           l 19447\000004\4880-6171-1347.v2



M&S Attachments                                           Page# 3 of 4                                  Exhibit 165-1031
           Case 1:24-cv-03744-BAH                       Document 16-15      Filed 01/03/25     Page 151 of 151




            OHANA GROWTH PARTNERS, LLC                              IN THE

                                           Plaintiff,               CIRCUIT COURT

            vs .                                                    FOR

            RYAN DILLON-CAPPS                                       BALTIMORE COUNTY

                                            Def endant.             CASE NO.: C-03-CV-24-002264


                                                      [PROPOSED]
                                                        ORDER
                                          DENYING DEFENDANT'S OCTOBER 25, 2024
                                                MOTION FOR SANCTIONS

                     Upon consideration of Defendant Ryan Dillon-Capps' Motion for Sanctions and Plaintiff

          Ohana Growth Partners, LLC ' s Opposition thereto, it is this _ _ day of _ _ __ _ , 2024,

          hereby:

                     ORDERED that Defendant's October 25 , 2024 Motion for Sanctions be, and hereby is

          DENIED.


                                                                       Judge, Circuit Court for Baltimore County




           11 9447100000414884-8966-l 683.v 1



M&S Attachments                                               Page# 4 of4                                  Exhibit 165-103 1
